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      Attorneys for the Debtor
 8

 9                             UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF NEVADA
10
      In re:                                 )            Case No.: 22-14422-NMC
11
                                             )
12     MUSCLEPHARM CORPORATION,              )            Chapter 11
                                             )
13                                           )
                                             )
14                               Debtor.
                                             )
15    ______________________________________ )

16           NOTICE OF ENTRY OF FINAL ORDER REGARDING EMERGENCY
      MOTION FOR INTERIM AND FINAL ORDERS PURSUANT TO 11 U.S.C. §§ 105, 361,
17    362, 363, AND 364 AND FED. R. BANKR. P. 4001(b) AND 4001(d): (I) AUTHORIZING
           THE DEBTOR TO OBTAIN POSTPETITION FINANCING, (II) GRANTING
18       SENIOR SECURED LIENS AND ADMINISTRATIVE EXPENSE CLAIMS, (III)
              DETERMINING ADEQUATE PROTECTION, (IV) MODIFYING THE
19
                 AUTOMATIC STAY, AND (V) GRANTING RELATED RELIEF
20             PLEASE TAKE NOTICE that a Final Order Regarding Emergency Motion for Interim and
21   Final Orders Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, and 364 and Fed. R. Bankr. P. 4001(b)
22   and 4001(d): (I) Authorizing the Debtor to Obtain Postpetition Financing, (II) Granting Senior
23   Secured Liens and Administrative Expense Claims, (III) Determining Adequate Protection, (IV)
24   Modifying the Automatic Stay, and (V) Granting Related Relief [ECF No. 296], has been entered
25   in the above-captioned case on March 8, 2023, a copy of which is attached hereto as Exhibit A.
26
               Dated: March 8, 2023.
27

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 1   Respectfully Submitted,
 2   SCHWARTZ LAW, PLLC

 3   By: /s/ Samuel A. Schwartz
 4   Samuel A. Schwartz, Esq.
     Attorneys for the Debtor
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                     Exhibit A
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  3
  4
      Entered on Docket
  5 March 08, 2023
__________________________________________________________________
  6
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 12

 13                                  UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF NEVADA
 14
         In re:                                               )   Case No.: 22-14422-nmc
 15                                                           )
         MUSCLEPHARM CORPORATION,                             )   Chapter 11
 16
                                                              )
 17                                                           )
                                                              )   Final Hearing Date: February 9, 2023
                                   Debtor.
 18                                                           )   Final Hearing Time: 10:30 a.m.
 19
                          FINAL ORDER REGARDING EMERGENCY MOTION
 20            FOR INTERIM AND FINAL ORDERS PURSUANT TO 11 U.S.C. §§ 105, 361, 362,
               363, AND 364 AND FED. R. BANKR. P. 4001(b) AND 4001(d): (I) AUTHORIZING
 21              THE DEBTOR TO OBTAIN POSTPETITION FINANCING, (II) GRANTING
 22             SENIOR SECURED LIENS AND ADMINISTRATIVE EXPENSE CLAIMS, (III)
                    DETERMINING ADEQUATE PROTECTION, (IV) MODIFYING THE
 23                   AUTOMATIC STAY, AND (V) GRANTING RELATED RELIEF

 24                The motion ( “Motion”)1 of MusclePharm Corporation, the Chapter 11 debtor and debtor

 25      in possession herein (“MusclePharm” or the “Debtor”) before this court (“Bankruptcy Court”)

 26

 27
         1
                   Capitalized terms not otherwise defined herein shall have those meanings ascribed to them in the
 28      Motion.
                                                              1
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 1     seeks entry of interim and final orders pursuant to Sections2 105, 361, 362, 363, and 364 of the
 2     Bankruptcy Code, Bankruptcy Rules 2002, 4001, 6004, and 9014, and Local Rule 4001 to, among
 3     other matters, authorize the Debtor to obtain emergency credit and incur debt on an interim and
 4     final basis. The Debtor negotiated and then filed a substitute term sheet (the “First Interim Term
 5     Sheet”) with the Bankruptcy Court on January 6, 2023 [ECF No. 65] between the Debtor, as
 6     borrower, and the DIP Secured Parties and DIP Factoring Parties (each as defined in the Loan
 7     Documents (defined below)) by and through the DIP Agent, Empery Tax Efficient, L.P. (“DIP
 8     Agent” or “Empery,” and collectively with the DIP Secured Parties and DIP Factoring Parties,
 9     “Lender”), as lender, in lieu of White Winston Select Asset Funds, LLC (“White Winston”), the
10     originally proposed lender in the Motion, with Lender proposing the requested financing on the
11     terms set forth in the First Interim Term Sheet. Sufficient notice of the Motion and a first interim
12     hearing (the “First Interim Hearing”) was provided under the circumstances by the Debtor; and
13     further, the Bankruptcy Court continued the First Interim Hearing from January 5, 2023, at 9:30
14     a.m. to January 6, 2023, at 9:30 a.m. to provide more time for all to review the First Interim Term
15     Sheet, and the Bankruptcy Court thereafter entered its first interim order (the “First Interim
16     Order”) on January 9, 2023 [ECF No. 74], and continued the Motion for a second interim hearing
17     (the “Second Interim Hearing” and collectively with the First Interim Hearing, the “Interim
18     Hearings”) to be held on January 13, 2023, at 9:30 a.m. On January 12, 2023, Debtor substituted
19     a revision to the First Interim Term Sheet [ECF No. 102, Ex. 1] (the “Second Interim Term
20     Sheet”). Following the Second Interim Hearing, the Bankruptcy Court approved the Second
21     Interim Term Sheet on an interim basis on January 23, 2023 [ECF No. 139] (the “Second Interim
22     Order” and together with the Second Interim Order, the “Interim Orders”) and scheduled a final
23     hearing for final approve of the Motion to occur on February 9, 2023, at 10:30 a.m. (the “Final
24     Hearing”). On February 7, 2023, Debtor substituted a revision to the Second Interim Term Sheet
25     [ECF No. 213-1, Ex. 1] (hereinafter, the “Term Sheet” and the proposed financing pursuant to the
26
       2
               Unless otherwise stated, all references to “Section” herein shall be to title 11 of the U.S. Code (the
27     “Bankruptcy Code”); all references to a “Bankruptcy Rule” shall refer to the Federal Rules of Bankruptcy
       Procedure; and all references to a “Local Rule” or “LR” shall refer to the Local Rules of Bankruptcy
28     Practice of the U.S. District Court for the District of Nevada.

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 1     terms and conditions of the Term Sheet as implemented by the Loan Documents, the, “DIP
 2     Financing”). After considering the Motion and all pleadings and papers filed with, and evidence
 3     submitted to, this Bankruptcy Court in connection with the Motion, including all formal and
 4     informal objections to the Motion, and the argument of counsel and evidence submitted at the Final
 5     Hearing; and upon the record made by the Debtor and others at the Final Hearing; the Bankruptcy
 6     Court has found and determined that, subject to the terms of this final order (the “Final Order”),
 7     the relief sought in the Motion (as amended and supplemented by the Term Sheet and the Loan
 8     Documents) on a final basis, to the extent provided below, is in the best interests of the Debtor, its
 9     bankruptcy estate (“Estate”), creditors, and all parties in interest; and after due deliberation and
10     consideration and good and sufficient cause appearing therefore,
11             the Bankruptcy Court hereby finds:3
12              A.     Debtor’s Chapter 11 Case. On December 15, 2022 (the “Petition Date”), the
13     Debtor filed its voluntary petition for relief under Chapter 11 of the Bankruptcy Code, thereby
14     commencing the above-captioned case (the “Chapter 11 Case”). The Debtor is continuing to
15     operate its business and manage its affairs as a debtor in possession pursuant to Sections 1107 and
16     1108 of the Bankruptcy Code, and no request has been made for the appointment of a trustee or
17     examiner.
18              B.     Jurisdiction; Venue. This Bankruptcy Court has subject matter jurisdiction to
19     consider and rule upon the Motion pursuant to 28 U.S.C. §§ 157 and 1334. Determination of the
20     Motion is a core proceeding pursuant to 28 U.S.C. § 157(b). The statutory predicates for the relief
21     sought by the Motion are Sections 105, 361, 362, 363, and 364 of the Bankruptcy Code, Bankruptcy
22     Rules 2002, 4001, 6004, and 9014, and Local Rule 4001. Venue of the Chapter 11 Case and the
23     Motion in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409.
24              C.     Notice. Notice of the First Interim Hearing and the relief requested in the Motion
25     was provided by the Debtor by electronic mail, overnight courier, hand delivery or electronic
26

27     3
               To the extent that the Court stated findings of fact and conclusions of law on the record at the Second
       Interim Hearing, such findings and conclusions are incorporated herein by reference in accordance with Fed.
28     R. Civ. P. 52, made applicable pursuant to Fed. R. Bankr. P. 9014.

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 1     delivery through the Bankruptcy Court’s CM/ECF system, on January 3, 2023, to: (i) the Office of
 2     the United States Trustee for the District of Nevada (“U.S. Trustee”), (ii) the Debtor’s 20 largest
 3     non-insider unsecured creditors, (iii) the Lender and counsel to the Lender, (iv) all other parties
 4     known by the Debtor to assert liens or security interests in the assets of the Debtor, and (v) all other
 5     parties entitled to notice under Bankruptcy Rule 2002. Notice of the Second Interim Hearing was
 6     provided by the Bankruptcy Court on the record in open court at the First Interim Hearing and also
 7     on the written record [See ECF No. 66]. Notice of the Final Hearing was provided by the
 8     Bankruptcy Court on the record in open court at the Second Interim Hearing and also on the written
 9     record [See ECF Nos. 105 & 146]. Under all of the circumstances, such notice of the Motion, the
10     relief requested therein, the Interim Hearings, and Final Hearing has complied with Bankruptcy
11     Rule 4001(b), (c) and (d) and the Local Rules.
12              D.     Debtor’s Need for DIP Financing. Based upon pleadings and papers filed with,
13     and evidence submitted to, this Bankruptcy Court in connection with the Motion, and the record in
14     the Chapter 11 Case, the Debtor does not have sufficient available sources of working capital and
15     financing to carry on the operation of its business and affairs without the DIP Financing and
16     authorized use of all cash, negotiable instruments, documents of title, securities, deposit accounts,
17     or other cash equivalents whenever or wherever acquired in which the Debtor and an entity other
18     than the Debtor has an interest, whether existing before or after the commencement of the Chapter
19     11 Case and inclusive of cash collateral as defined in Section 363 (“Cash Collateral.”). As a result
20     of the Debtor’s financial condition, the use of Cash Collateral alone will be insufficient to meet the
21     Debtor’s immediate postpetition liquidity needs.          The Debtor’s ability to maintain business
22     relationships with its suppliers and customers, pay for human resources, purchase materials and
23     otherwise finance its operations is essential to the Debtor’s continued viability. The Debtor’s
24     ability to finance its operations and its Chapter 11 Case is essential to preserving the going concern
25     value of the Debtor’s business and ultimately maximizing the value of the Estate for the benefit of
26     all stakeholders, and for these reasons and others, the approval of the DIP Financing is in the best
27     interests of the Debtor, the Estate, and its creditors.
28              E.     Budget for Necessary DIP Financing. Attached hereto as Exhibit A is a revised

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 1     13-week cash flow forecast setting forth all projected cash receipts and cash disbursements (by line
 2     item) for a 13-week period beginning in the week commencing January 30, 2023 and for a twelve
 3     (12) month period beginning in January 2023 (the “Budget”). The Budget may be modified or
 4     supplemented from time to time by additional budgets (covering any time period covered by a prior
 5     budget or covering additional time periods) prepared by the Debtor and consented to in writing by
 6     the Lender, without subsequent notice to or order of the Bankruptcy Court. The Debtor will deliver
 7     a copy of the Budget to the Committee and Prestige Capital Finance, LLC’s (“Prestige”). The
 8     Budget is an integral part of this Final Order and has been relied upon by the Lender in consenting
 9     to this Final Order and to provide the DIP Financing. The Budget includes and contains the
10     Debtor’s best current estimate of all operational receipts, and the Budget accounts for operational
11     disbursements, fees, costs and other expenses that were anticipated to be payable, incurred and/or
12     accrued by the Debtor during the period covered by the Budget to be timely paid in the ordinary
13     course of business to the extent allowed and permitted to be paid by an order of this Bankruptcy
14     Court or pursuant to the Bankruptcy Code. Funding of the Budget is expected to allow the Debtor
15     to operate in the Chapter 11 Case and pay postpetition administrative expenses in the ordinary
16     course of business to the extent allowed and permitted to be paid by the Bankruptcy Court order or
17     pursuant to the Bankruptcy Code, subject to the terms of this Final Order.
18             F.     Financing under Section 364. Based on the pleadings and papers filed with, and
19     evidence submitted to, this Bankruptcy Court in connection with the Motion, and the record in the
20     Chapter 11 Case, the Debtor is unable to obtain sufficient financing from a source acceptable to
21     Debtor in its business judgment by means of: (i) unsecured credit allowable as an administrative
22     expense under Sections 364(b) and 503(b)(1) of the Bankruptcy Code; or (ii) secured credit under
23     Sections 364(c)(1), 364(c)(2), 364(c)(3) and 364(d) for the purposes set forth in the Term Sheet
24     and the Loan Documents without granting a superpriority priming lien.
25             G.     Good Faith Lender and Lending and Good Cause. The Lender agreed to provide
26     postpetition financing secured, subject to the priorities described in Exhibit B hereto, by: (i)
27     continuing, valid, binding, enforceable, non-avoidable, and automatically and properly perfected
28     co-priority senior liens on and security interests in the DIP Collateral (defined below) (collectively,

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 1     the “DIP Liens”), with the same priority as the Prepetition Secured Parties’ (as defined in the Loan
 2     Documents) current prepetition liens on Debtor’s prepetition assets and senior to all other liens
 3     existing on and after the Petition Date with the exception of Prestige’s prepetition liens and security
 4     interests in its prepetition collateral as provided in the prepetition intercreditor agreement
 5     (“Prestige Intercreditor Agreement”) between Prestige, the Debtor and the Prepetition Secured
 6     Parties; (ii) superpriority claims under Section 364(c)(1); (iii) automatically perfected liens under
 7     Sections 364(c)(1), 364(c)(2), 364(c)(3) and 364(d); and (iii) the other protections set forth in the
 8     Motion and the Term Sheet and the Loan Documents, in each case limited only by this Final Order.
 9     As of the Final Hearing, the Lender is prepared to advance secured financing to the Debtor in
10     accordance with the Term Sheet and the Loan Documents to the extent provided in this Final Order
11     and the Budget. After considering all of its alternatives, including alternative sources of debtor in
12     possession financing, the Debtor has concluded, in an exercise of its sound business judgment, that
13     the DIP Financing provided by Lender represents the best proposed financing available to the
14     Debtor under Debtor’s circumstances. Based on the pleadings and papers filed with, and evidence
15     submitted to, this Bankruptcy Court in connection with the Motion, and the record in the Chapter
16     11 Case, the terms and conditions of the DIP Financing are fair and reasonable, reflect the Debtor’s
17     exercise of prudent business judgment, and are supported by reasonably equivalent value and fair
18     consideration. Absent granting the relief sought by this Final Order, the Debtor’s business,
19     properties and the Estate will be immediately and irreparably harmed. Accordingly, good cause
20     has been shown that entry of this Final Order is in the best interest of the Debtor and its Estate,
21     employees, creditors, and other parties in interest and that the implementation and consummation
22     of the DIP Financing and authorization of the use of the DIP Collateral (including the Cash
23     Collateral as further provided below) in accordance with this Final Order and the Loan Documents
24     is in the best interests of the Estate and consistent with the Debtor’s fiduciary duties. Based on the
25     pleadings and papers filed with, and evidence submitted to, this Bankruptcy Court in connection
26     with the Motion, and the record in the Chapter 11 Case, (i) the DIP Financing has been negotiated
27     in good faith and at arm’s length among the Debtor and the Lender, and (ii) any credit extended,
28     loans made, and other financial accommodations extended pursuant to this Final Order to the

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 1   Debtor by the Lender have been extended, issued or made, as the case may be, in “good faith”
 2   within the meaning of Section 364(e) of the Bankruptcy Code.
 3           H.     Use of Cash Collateral. An immediate and critical need exists for the Debtor to
 4   use the Cash Collateral (in addition to the DIP Financing) in accordance with the Budget to continue
 5   to operate its business, pay wages, maintain business relationships with members, suppliers and
 6   customers, make capital expenditures, generally conduct its business affairs so as to avoid
 7   immediate and irreparable harm to the Estate and the value of its assets, and afford the Debtor
 8   adequate time to effectively reorganize.
 9           I.     Final Approval of the Motion. Based upon the Motion, all pleadings and papers
10   filed with and evidence submitted to this Bankruptcy Court in connection with the Motion, and the
11   record made at the Interim Hearings and Final Hearing, all objections being withdrawn,
12   consensually resolved on the record, or overruled by the Bankruptcy Court, the Bankruptcy Court
13   has determined to grant the Motion on a final basis and approve the Debtor’s entry into and
14   performance under the DIP Financing under the Loan Documents, as further provided herein,
15   thereby authorizing postpetition financing of (i) up to $4,500,000 (excluding the Roll-Up amounts
16   (defined below) and the DIP Inventory Acquisition Line of Credit) under the DIP Note Facility (as
17   defined in the Loan Documents), (ii) up to $10,000,000 under the DIP Factoring Facility to factor
18   DIP Accounts (as those terms are defined in the Loan Documents), and (iii) up to $1,000,000 under
19   the DIP Inventory Acquisition Line of Credit (as defined in the Loan Documents), and related relief,
20   as provided in the Loan Documents and this Final Order.
21          Based on the foregoing, and upon the record made before this Bankruptcy Court at the
22   Interim Hearings and Final Hearing, and good and sufficient cause appearing therefor,
23          IT IS HEREBY ORDERED, ADJUDGED AND DECREED:
24          1.      Final Approval. The DIP Financing pursuant to the DIP Facilities (as that term is
25   defined in the Loan Documents) is approved on a final basis and the Debtor is authorized to obtain
26   postpetition financing of (i) up to $4,500,000 (excluding the Roll-Up amounts and the DIP
27   Inventory Acquisition Line of Credit) under the DIP Note Facility, (ii) up to $10,000,000 under the
28   DIP Factoring Facility, and (iii) up to $1,000,000 under the DIP Inventory Acquisition Line of

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 1   Credit on a final basis as provided in the Loan Documents and this Final Order.
 2          2.      Budget. Beginning on January 30, 2023 and continuing until the repayment in full
 3   in cash of the obligations under the DIP Facilities, the Debtor shall perform in accordance with the
 4   Budget, subject to the following with respect to any Review Period (defined below): (i) the Debtor’s
 5   actual cash receipts shall not be less than 90% of the projected amounts set forth in the Budget on
 6   a cumulative basis; and (ii) the Debtor’s actual cash disbursements shall not be greater than 110%
 7   of the projected amounts therefor set forth in the Budget on a cumulative basis (such variance, the
 8   “Permitted Variances”). During any Review Period occurring prior to March 15, 2023, the DIP
 9   Note Purchasers and DIP Factoring Purchasers (as those terms are defined in the Loan Documents)
10   waive all defaults of the Debtor for failing to comply with the Budget, including the Permitted
11   Variances, solely with respect to (i) Total Receipts and (ii) Total COGS Including Shipping (as
12   those terms are defined in the Budget). Debtor shall file with the Bankruptcy Court a final Budget
13   agreed to by the DIP Agent on or before March 15, 2023. Compliance with the Budget shall be
14   reviewed on Monday of every other week on a bi-weekly basis, with such reviews to be conducted
15   on the Monday following each of the second and fourth weeks of the Budget (each, a “Weekly
16   Review Period”) and thereafter on a rolling 4-week basis (the “Cumulative Review Period” and
17   together with the Weekly Review Period, the “Review Periods”). Beginning on the second
18   Monday following the Second Interim DIP Order and every other Monday thereafter, the Debtor
19   shall deliver to the DIP Factoring Agent (as defined in the Loan Documents) and the Committee of
20   Unsecured Creditors (the “Committee”), not later than 4:00 p.m. Pacific time on each Monday
21   (commencing with the Monday after the one-week anniversary of the Second Interim DIP Order),
22   a weekly line-by-line variance report (the “Variance Report”), which Variance Report shall
23   compare actual cash receipts and disbursements of the Debtor with corresponding amounts
24   provided for in the Budget on a line-by-line basis for the prior week and the applicable Review
25   Period (or such shorter period as may have elapsed from the Petition Date), including written
26   descriptions in reasonable detail explaining any material positive or negative variances, and
27   otherwise in form and substance reasonably acceptable to the DIP Note Agent (as defined in the
28   Loan Documents).

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 1          3.      Final Approval of the Loan Documents.            The Debtor-In-Possession Notes
 2   Purchase and Security Agreement (as subsequently amended and supplemented and executed by
 3   the Debtor and the counterparties thereto (“DIP Note Agreement”) and Debtor-In-Possession
 4   Factoring Purchase and Security Agreement (as subsequently amended and supplemented
 5   consistent with this Final Order and executed by the Debtor and the counterparties thereto (“DIP
 6   Factoring Agreement,” and collectively with the DIP Note Agreement, and any other documents
 7   or agreements, if any, intercreditor agreements, and amendments, schedules, and exhibits to the
 8   foregoing delivered or filed pursuant to or in connection with or necessary to implement the DIP
 9   Financing, the “Loan Documents”), attached hereto as Exhibit C and Exhibit D, respectively, and
10   all the Lender protections provided therein and herein are approved for all postpetition lending by
11   Lender to Debtor made pursuant to this Final Order.         The Debtor is expressly authorized,
12   empowered, and directed to perform all of its direct and indirect obligations under the Loan
13   Documents from and after December 15, 2022 (“Petition Date”), including the execution of such
14   additional documents, instruments and agreements reasonably required or requested by the Lender
15   to implement the terms or effectuate the purposes of the Loan Documents and this Final Order,
16   except as limited hereby (collectively, the “DIP Obligations”). In furtherance of the foregoing and
17   without further approval of this Bankruptcy Court, the Debtor is authorized, and the automatic stay
18   imposed by Section 362 of the Bankruptcy Code is modified to the extent necessary, to perform all
19   acts and to make, execute and deliver all instruments and documents and to pay all reasonable fees
20   (when applicable), that may be reasonably required or necessary for the Debtor’s performance of
21   its obligations under the Loan Documents and this Final Order, and for Lender’s exercise of
22   remedies set forth in the Loan Documents upon a default.
23          4.      Approval of the Challenge Periods. The Committee shall have until April 10,
24   2023 (such period, the “Committee Challenge Period”) to investigate and challenge and otherwise
25   object to the allowance of the Allowed Claim (defined below). The Releases (included in this Final
26   Order and which are included in the Loan Documents) are not a defense to a claim objection brought
27   by the Committee during the Committee Challenge Period. White Winston shall have until March
28   9, 2023 (such period, “White Winston Challenge Period,” and together with the Committee

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 1    Challenge Period, the “Challenge Periods”) to investigate, challenge and otherwise object to the
 2    allowance of the Allowed Claim (other than challenges and objections based upon the Debtor’s or
 3    the Estate’s claims). If an objection to the Prepetition Secured Parties’ prepetition claim is timely
 4    filed during the required Challenge Period in the Bankruptcy Court, then: (i) the Prepetition Secured
 5    Parties’ prepetition claim shall not be deemed an “allowed claim” to the extent objected to in such
 6    objection absent the Prepetition Collateral Agent (as defined in the Loan Documents) obtaining a
 7    further order of the Bankruptcy Court, unless the objection is withdrawn; (ii) the Prepetition
 8    Collateral Agent shall not be entitled to the Prepetition Collateral Agent Credit Bid Obligations (as
 9    defined in the Loan Documents) unless the Prepetition Collateral Agent obtains a further order of
10    the Bankruptcy Court, unless the objection is withdrawn; (iii) if a sale of Debtor’s assets occurs
11    before such claim objection is resolved, such sale proceeds will be held by the Estate to the extent
12    of the objection unless the Prepetition Collateral Agent obtains a further order of the Bankruptcy
13    Court, unless the objection is withdrawn; and (iv) the Releases (included in this Final Order and
14    which are included in the Loan Documents) are not a defense to such claim objection brought by
15    White Winston. The Prepetition Collateral Agent’s rights to respond on behalf of Prepetition
16    Collateral Agent and the Prepetition Secured Parties to any challenges raised by the Committee or
17    White Winston (or any party) are preserved.
18           5.      Committee Challenge Budget. The Committee may use up to $50,000 of the fees
19    and costs of the Committee in the Budget in connection with a Challenge.
20           6.      Approval of the Roll-Up. Pursuant to this Final Order, except to the extent
21    successfully challenged in a challenge brought in the applicable Challenge Period, the Bankruptcy
22    Court hereby approves the Roll-Up, which provides that for each dollar of principal amount drawn
23    under the DIP Note Facility (excluding the DIP Inventory Acquisition Line of Credit), one dollar
24    of principal due under the Prepetition Notes shall roll-up and convert on a cashless basis into the
25    DIP Notes (the “Roll-Up”), provided further, however, to the extent the principal amount of the
26    Allowed Claim is timely challenged during the applicable Challenge Period and such challenge is
27    successful (meaning as determined by final order of the Bankruptcy Court) (such successfully
28    challenged principal amount, the “Disallowed Principal Amount”) such that the allowed principal

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 1    amount of the Allowed Claim (“Allowed Principal Amount”) is less than the Roll-Up amount,
 2    then the Roll-Up amount shall be reduced to the Allowed Principal Amount.
 3           7.      Approval of the Allowed Claim. Pursuant to this Final Order, the (i) Lender shall
 4    have an allowed claim equal to the obligations under the DIP Facilities and post-petition attorneys’
 5    fees and expenses, and (ii) except to the extent successfully challenged in a challenge brought in
 6    the applicable Challenge Period, Prepetition Secured Parties shall have an allowed claim in an
 7    amount not less than $12.84 Million (the “Allowed Claim”), which is the principal amount of the
 8    Prepetition Notes, including the original issue discount. For the avoidance of doubt, the rights of
 9    the Debtor or Committee to object or otherwise contest the Prepetition Secured Parties’ prepetition
10    claims in excess of $12.84 Million is not limited by the Challenge Periods and are reserved.
11           8.      Credit Bidding. The DIP Agent may submit a credit bid of the obligations under
12    the DIP Facilities in connection with the sale of any asset of the Debtor (in whole or in part),
13    including without limitation, sales occurring pursuant to Section 363 or included as part of any
14    restructuring plan subject to confirmation under Section 1129(b)(2)(A)(ii)-(iii) (“DIP Agent
15    Credit Bid Obligations”). Subject to the express limitations contained in Paragraph numbered 4
16    above in this Final Order, the Prepetition Collateral Agent may submit a credit bid of an amount
17    not less than the Allowed Claim, or such greater amount as allowed by the Bankruptcy Court, in
18    connection with the sale of any asset of the Debtor (in whole or in part), including without
19    limitation, sales occurring pursuant to Section 363 or included as part of any restructuring plan
20    subject to confirmation under Section 1129(b)(2)(A)(ii)-(iii) (“Prepetition Collateral Agent
21    Credit Bid Obligations”). Any motion filed by the Debtor seeking approval of bid procedures
22    shall contain (i) a request for approval of the right of the DIP Agent to credit bid the DIP Agent
23    Credit Bid Obligations and (ii) unless a timely challenge made within the applicable Challenge
24    Period is pending (and the Bankruptcy Court has not entered an order otherwise allowing the
25    Prepetition Collateral Agent Credit Bid Obligations to be credit bid), a request for approval of the
26    right of the Prepetition Collateral Agent to credit bid the Prepetition Collateral Agent Credit Bid
27    Obligations.
28           9.      Approval of the Releases.        For good and valuable consideration, including

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 1    facilitation of the DIP Financing, the Note Parties’ (as defined in the Loan Documents), on behalf
 2    of themselves, and Debtor, on behalf of the Estate (the Estate collectively with the Note Parties,
 3    “Releasors”), hereby release any and all claims, obligations, rights, suits, damages, causes of
 4    action, remedies and liabilities whatsoever, including any derivative claims asserted or which could
 5    be asserted on behalf of the Releasors, whether known or unknown, foreseen or unforeseen, existing
 6    in law, equity or otherwise, that the Releasors would have been legally entitled to assert in their
 7    own right (whether individually or collectively), including claims based on or relating to, or in any
 8    manner arising from, in whole or in part, the Chapter 11 Case restructuring, the Chapter 11 Case,
 9    the purchase, sale or rescission of the purchase or sale of any security of the Note Parties, the subject
10    matter of, or the transactions or events giving rise to, any claim or equity security, or any other act
11    or omission, transaction, agreement, event or other occurrence relating to the Debtor, the
12    Prepetition Notes or the Prepetition Liens (as defined in the Loan Documents), taking place on or
13    before the entry of this Final Order against (i) the DIP Agent in its capacity as such, (ii) the DIP
14    Note Purchasers in their capacities as such, (iii) the DIP Factoring Purchasers in their capacities as
15    such, (iv) except to the extent successfully challenged in a challenge brought in the applicable
16    Challenge Period, the Prepetition Collateral Agent in its capacity as such, and (v) except to the
17    extent successfully challenged in a challenge brought in the applicable Challenge Period, the
18    Prepetition Purchasers (as defined in the Loan Documents) in their capacities as such (collectively,
19    “Releasees”), and such Releases are hereby approved and effective upon entry of this Final Order.
20    The Releases (which shall be included in the Loan Documents) are not a defense to an objection to
21    the prepetition claims of the Prepetition Collateral Agent in its capacity as such and the Prepetition
22    Purchasers in their capacity as such brought in the Bankruptcy Court (if such objection is brought
23    during the applicable Challenge Period). Any claims arising out of the breach of the Loan
24    Documents by any party thereto are excluded from the releases provided in this paragraph, and, in
25    the event of any such breach, the non-breaching party shall be entitled to pursue any and all rights,
26    claims and damages that it may have against the other party as a result of such breach.
27            10.     Authorization to Borrow/Use of Cash Collateral. Pursuant to this Final Order,
28    the Debtor is immediately authorized to (a) (i) borrow from the Lender up to an aggregate amount

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 1    of $4,500,000 (excluding the Roll-Up) under the DIP Note Facility and up to $1,000,000 under the
 2    DIP Inventory Acquisition Line of Credit, and (ii) factor DIP Accounts (as defined in the Loan
 3    Documents) up to $10,000,000 from the Lender under the DIP Factoring Facility, all subject to and
 4    in accordance with the terms of this Final Order and the Loan Documents, and (b) use the proceeds
 5    of the DIP Financing and the DIP Collateral (including the Cash Collateral) in accordance with the
 6    terms of the Loan Documents, this Final Order and the Budget.
 7           11.     DIP Inventory Acquisition Line of Credit. Pursuant to this Final Order, the
 8    Debtor is immediately authorized to borrow under the DIP Inventory Acquisition Line of Credit
 9    (“DIP Inventory Acquisition Line of Credit”). The DIP Inventory Acquisition Line of Credit is
10    a $1.0 Million credit line under the DIP Note Facility available solely to fund Debtor’s acquisition
11    of inventory in accordance with the Budget on an as needed basis. The amounts advanced under
12    this inventory line of credit shall not be included for purposes of calculating the Roll-Up amount.
13    The DIP Inventory Acquisition Line of Credit shall be a revolving facility. To secure the payment
14    and performance in full of the DIP Inventory Acquisition Line of Credit, and without limiting any
15    other security interest granted herein, Debtor hereby grants to the DIP Note Agent, as collateral
16    agent for the DIP Inventory Acquisition Line of Credit Purchasers, a continuing first priority
17    security interest in, and pledge to, all DIP Inventory Acquisition Line of Credit Purchasers financed
18    inventory (“DIP Inventory Acquisition Line of Credit Purchasers Financed Inventory”),
19    wherever located, whether now owned or hereafter acquired or arising, and all proceeds and
20    products thereof. Debtor represents, warrants, and covenants that the security interest granted
21    herein is and shall at all times continue to be a first priority perfected security interest in the DIP
22    Inventory Acquisition Line of Credit Purchasers Financed Inventory (subject only to the lien
23    priority set forth on Exhibit B attached hereto). Upon payment in full of the DIP Inventory
24    Acquisition Line of Credit (other than indemnification obligations for which no claim has been
25    made) and at such time as DIP Inventory Acquisition Line of Credit Purchasers obligation to
26    purchase DIP Notes under and fund the DIP Inventory Acquisition Line of Credit has terminated,
27    DIP Note Agent shall release and terminate its liens and security interests in the DIP Inventory
28    Acquisition Line of Credit Purchasers Financed Inventory.

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 1           12.     Certain Rights Upon Liquidation of Inventory. In the event of a cessation of the
 2    Debtor’s business whereby Debtor is no longer actively pursuing ongoing sales, DIP Note Agent,
 3    on behalf of the DIP Inventory Acquisition Line of Credit Purchasers, shall have the right, without
 4    further order of the Bankruptcy Court, after ten (10) days prior written notice to the Debtor and
 5    Committee (the “DIP Inventory Acquisition Line of Credit Purchasers Financed Inventory
 6    Sale Notice Period”), to sell the DIP Inventory Acquisition Line of Credit Purchasers Financed
 7    Inventory at a cost determined by DIP Note Agent in its sole discretion but in accordance with the
 8    requirements of Article 9 of the Uniform Commercial Code. DIP Note Agent, on behalf of the DIP
 9    Inventory Acquisition Line of Credit Purchasers, shall have the right, without further order of the
10    Bankruptcy Court, after providing written notice to the Debtor and the expiration of the applicable
11    DIP Inventory Acquisition Line of Credit Purchasers Financed Inventory Sale Notice Period, to
12    sell such DIP Inventory Acquisition Line of Credit Purchasers Financed Inventory pursuant to
13    Article 9 of the Uniform Commercial Code. DIP Note Agent may use the Debtor’s brand name(s),
14    trademark(s), or trade name(s) and the like, directly and only related to the liquidation of such DIP
15    Inventory Acquisition Line of Credit Purchasers Financed Inventory unless, within such DIP
16    Inventory Acquisition Line of Credit Purchasers Financed Inventory Sale Notice Period, the Debtor
17    notifies the DIP Note Agent in writing that the Debtor will pay off and satisfy in full the outstanding
18    principal balance, together with all accrued and unpaid interest thereon, of the DIP Inventory
19    Acquisition Line of Credit (the “Borrower DIP Inventory Acquisition Line of Credit Payoff
20    Notice”). Debtor shall pay as the DIP Note Agent directs the outstanding principal balance of the
21    DIP Inventory Acquisition Line of Credit, together with all accrued and unpaid interest thereon,
22    within five (5) Business Days after delivery of the Borrower DIP Inventory Acquisition Line of
23    Credit Payoff Notice. If Debtor fails to make such payment, the DIP Note Agent, on behalf of the
24    DIP Inventory Acquisition Line of Credit Purchasers, may proceed to sell such DIP Inventory
25    Acquisition Line of Credit Purchasers Financed Inventory pursuant to Article 9 of the Uniform
26    Commercial Code.
27           13.     Use of Cash Collateral. The Debtor may use the Cash Collateral to pay postpetition
28    ordinary course of business expenses to the extent allowed and permitted to be paid herein, by other

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 1    Bankruptcy Court order or pursuant to the Bankruptcy Code, and in accordance with, the Budget,
 2    subject to: (i) the rights of the Lender and Prestige upon the occurrence of an Event of Default (as
 3    defined in the Loan Documents); and (ii) the rights of the Lender and Prestige otherwise available
 4    to the Lender and Prestige under this Final Order and the Bankruptcy Code. The Debtor will not,
 5    without the prior written consent of Lender, engage in the use of the Cash Collateral of the Lender
 6    other than to pay ordinary and necessary business and administrative expenses as set forth in, and
 7    limited by, the Budget and consistent with this Final Order or other order of the Bankruptcy Court.
 8    The priority of Lender and Prestige’s liens in Cash Collateral is set forth in Exhibit B hereto, and
 9    any diminution in value of any prepetition collateral, including Cash Collateral of the Prepetition
10    Secured Parties and Prestige shall by secured by postpetition replacement liens under Section 552
11    of the Bankruptcy Code, with such liens not being subject to the “equities of the case” limitations.
12           14.     Maturity and Termination. The maturity date of the DIP Financing shall be the
13    earliest of (a) December 31, 2023, (b) the date all DIP Notes become due and payable under the
14    Loan Documents, whether by acceleration after an Event of Default or otherwise, (c) the date of
15    the closing of a Sale Transaction (as defined in the Loan Documents) or any other sale(s) of all or
16    substantially all of the Debtor’s assets, including pursuant to Section 363 of the Bankruptcy Code,
17    and (d) the filing of a Chapter 11 plan that is not an Acceptable Plan (as defined in the Loan
18    Documents) (the “Maturity Date”). Debtor’s authority to use the DIP Financing or any DIP
19    Collateral, including Cash Collateral, and the Lender’s commitment to make additional advances
20    under the DIP Financing, shall each terminate upon five (5) days after the date the Lender delivers
21    a written notice of Event of Default to the Debtor, and the U.S. Trustee, unless any such event is
22    waived, cured or extended with the written consent of the Lender.
23           15.     Interest on DIP Financing. The rate of interest to be charged on advances under
24    the DIP Financing shall be: (i) the prime rate as set in the Wall Street Journal as of the date of the
25    entry of this Final Order, plus two percent (2%) for the DIP Note Facility; (ii) the prime rate as set
26    in the Wall Street Journal as of the date of the entry of this Final Order, plus two percent (2%) for
27    the DIP Factoring Facility; and (iii) the prime rate as set in the Wall Street Journal as of the date of
28    the entry of this Final Order, plus two percent (2%) for the DIP Inventory Acquisition Line of

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 1    Credit.
 2              16.   Payment of DIP Fees and Expenses. The Debtor is authorized to pay all costs,
 3    expenses and any other fees or other amounts payable under the terms of the Loan Documents and
 4    all other reasonable, documented, out-of-pocket costs and expenses of the Lender in accordance
 5    with the terms of the Loan Documents (including, without limitation, the costs and expenses of
 6    legal counsel). None of such fees, costs and expenses shall be subject to Bankruptcy Court approval
 7    or U.S. Trustee guidelines, and no recipient of any such payment shall be required to file with
 8    respect thereto any interim or final fee application with this Bankruptcy Court. Copies of the first
 9    page of invoices (in summary form and redacted, as necessary, for privileged, confidential or
10    otherwise sensitive information) with respect to such fees, expenses and costs shall be provided to
11    the U.S. Trustee, counsel for the Debtor, and counsel to the Committee, and each such party shall
12    have ten (10) days from the date of such notice within which to object in writing to such payment.
13              17.   Validity of Loan Documents. The Loan Documents have been properly authorized
14    and entered into by Debtor and the other Note Parties, and as may be modified shall constitute, and
15    are hereby deemed on a final basis to be, the legal, valid and binding obligations of the Debtor and
16    the other Note Parties, enforceable against the Debtor and the other Note Parties in accordance with
17    the terms of the Loan Documents for all purposes: (i) during this Chapter 11 Case; (ii) in any
18    subsequently converted Chapter 11 Case of the Debtor under chapter 7 of the Bankruptcy Code;
19    and (iii) after dismissal of this Chapter 11 Case. None of the legality, validity, perfection, priority,
20    extent or enforceability of the DIP Obligations, the DIP Liens or the Loan Documents shall be
21    subject to any challenge, including, without limitation, an effort to equitably subordinate or avoid
22    the DIP Liens, by or on behalf of any Debtor or the Estate, any other Note Party, or any party in
23    interest in any proceeding, whether in Bankruptcy Court, federal court, state court, or any other
24    proceeding. Proceeds of the DIP Financing and the Cash Collateral shall be applied only to fund
25    allowed postpetition administrative expenses, the Debtor’s working capital, and such other amounts
26    as are required or permitted to be paid pursuant to the Loan Documents, this Final Order and any
27    other orders of this Court, all subject to, limited by, and in accordance with, the Budget. No
28    obligation, payment, transfer or grant of security under the Loan Documents or this Final Order

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 1    shall be stayed, restrained, voided, voidable or recoverable under the Bankruptcy Code or under
 2    any applicable non-bankruptcy law, or subject to any defense, reduction, setoff, recoupment or
 3    counterclaim. The rights to invoke the “equities of the case” exception to Section 552(b) of the
 4    Bankruptcy Code, the right to surcharge the DIP Collateral and the Prepetition Secured Parties and
 5    the collateral securing the Prepetition Notes, including under Section 506(c) of the Bankruptcy
 6    Code and the right to invoke the equitable doctrine of “marshaling” with respect to the DIP
 7    Collateral and the collateral securing the Prepetition Notes has been waived and challenges
 8    proscribed by this paragraph include any challenge to such waivers.
 9           18.     Superpriority Claim. In accordance with Section 364(c)(1), and subject to the
10    Carve-Out, the Lender shall have a superpriority administrative expense claim under Section
11    364(c)(1) (the “Superpriority Claim”) for the DIP Obligations against the Debtor, with priority
12    as set forth on Exhibit B hereto in payment over any and all administrative expenses, adequate
13    protection claims, diminution claims and all other claims against the Debtor, now existing or
14    hereafter arising, of any kind whatsoever, including, without limitation, any and all administrative
15    expenses or other claims of the kinds specified or ordered pursuant to any provision of the
16    Bankruptcy Code, including pursuant to Sections 105, 326, 328, 330, 331, 364, 503(b), 506(c),
17    507(a), 507(b), 546, 726, 1113 and 1114 or otherwise, including those resulting from the conversion
18    of this case pursuant to Section 1112, whether or not such expenses or claims may become secured
19    by a judgment lien or other non-consensual lien, levy or attachment; provided however, for
20    purposes of Section 1129(a)(9)(A), the Superpriority Claim shall be considered an administrative
21    expense allowed under Section 503(b) against the Debtor, and shall be payable from and have
22    recourse to all prepetition and postpetition property of the Debtor. Except as set forth in this Final
23    Order, no other superpriority claims shall be granted or allowed in the Chapter 11 Case.
24           19.     DIP Collateral. As security for all DIP Obligations pursuant to this Final Order,
25    the Lender is hereby granted (without the necessity of the execution by the Debtor or the filing or
26    recordation of liens, security agreements, lock box or control agreements, financing statements, or
27    any other instruments or otherwise), the DIP Liens, priority of which is set forth on Exhibit B
28    hereto, on all present and after acquired property (whether tangible, intangible, real, personal or

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 1    mixed) of the Note Parties, wherever located, including, without limitation, all accounts, inventory,
 2    equipment, capital stock in subsidiaries of the Note Parties, including, for the avoidance of doubt,
 3    any equity or other interests in the Note Parties’ non-Debtor and/or jointly-owned subsidiaries (if
 4    any), investment property, instruments, chattel paper, real estate, leasehold interests, contracts,
 5    patents, copyrights, trademarks and other general intangibles, including all causes of action under
 6    Section 541 of the Bankruptcy Code (including commercial tort claims), and all additional and
 7    accessions thereto and all substitutions and replacements thereof, and all products, accounts and
 8    proceeds thereof, including without limitation, all proceeds and accounts from the sale or transfer
 9    of the DIP Collateral and of insurance covering the same and of any tort claims in connection
10    therewith, excluding any causes of action under Sections 502(d), 544, 545, 547, 548, 549, 550 or
11    553, including the proceeds thereof (collectively, the “DIP Collateral”). All of the DIP Liens shall
12    be created on terms, and pursuant to documentation, satisfactory to the DIP Agent, in its sole
13    discretion. Proceeds of the DIP Collateral constituting Section 541 causes of action owned by
14    Debtor shall be used to the extent necessary to (i) satisfy the Bankruptcy Court approved,
15    reasonable and documented fees and costs of professionals employed by Debtor and the Committee,
16    respectively, not to exceed the amounts of such professionals, respectively, set forth in the budget,
17    to the extent not otherwise satisfied by the Carve-Out and (ii) any unpaid portion of the DIP
18    Facilities, including the DIP Inventory Acquisition Line of Credit and DIP Factoring Facility, with
19    the balance being paid to the Estate. The DIP Liens will not be subject to challenge. Upon entry
20    of this Final Order, the DIP Liens shall be deemed to be automatically perfected as of the Petition
21    Date, without the need for further action of any kind; provided however, that if the Lender
22    determines, in its sole discretion, to file any financing statements, notice of liens, mortgages or any
23    other similar instruments, the Debtor will cooperate and assist in such filings and the automatic stay
24    shall be lifted without the need for further order of this Bankruptcy Court to allow such filings.
25            20.     Rights of Prestige. The liens granted postpetition by the Debtor to Lender and the
26    Prepetition Secured Parties pursuant to this Final Order shall not impair nor have any priority over,
27    and are subject to, the prepetition liens of Prestige that are senior to those prepetition liens of Lender
28    and the Prepetition Secured Parties pursuant to the Prestige Intercreditor Agreement. To the extent

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 1    this Final Order grants any other rights postpetition to Lender (including but not limited to the
 2    superpriority administrative expense status), those rights shall not impair nor have any priority over,
 3    and are subject to, the prepetition liens of Prestige. Notwithstanding anything contained in this
 4    Order, as additional adequate protection, (i) the automatic stay of Section 362(a) is modified under
 5    Section 362(d)(1) to allow Prestige to collect, and apply in partial satisfaction of its prepetition
 6    claims, Debtor’s prepetition Factored Accounts and any other Prepetition Accounts (as those terms
 7    are defined in the Prestige Intercreditor Agreement) from the non-debtor obligors on such Factored
 8    Accounts and any other Prepetition Accounts subject to Section 552(a), and apply any reserves in
 9    partial satisfaction of it prepetition claims, and (ii) Prestige shall be entitled to reasonable and
10    documented postpetition fees (including attorneys fees) and out-of-pocket expenses as part of its
11    claim in accordance with its loan documents and payable subject to the value of the related
12    collateral.
13            21.    Carve Out. The DIP Liens and Superpriority Claim granted under this Final Order
14    shall be subject to the prior payment of the (collectively, the “Carve Out”) of up to $250,000 for
15    unpaid reasonable and documented (and approved on a final basis by the Bankruptcy Court when
16    approval is necessary) postpetition fees and expenses incurred by professionals employed by
17    Debtor and by the Committee, respectively, but in no event shall such carve-out exceed the unpaid
18    Budget amounts (on a line by line basis) for the Debtor’s and the Committee’s professionals,
19    respectively, prorated up to the date in the Budget coinciding with an Event of Default. In the
20    absence of a Sale Transaction Notice (as defined in the Loan Documents), there shall be a separate,
21    post Event of Default carve-out, of $125,000 for Debtor’s professionals and $65,000 for the
22    Committee’s professionals for post Event of Default unpaid, reasonable, and documented fees and
23    expenses (approved on a final basis by the Bankruptcy Court when approval is necessary). In the
24    event of a Sale Transaction Notice, the aggregate amount of any unpaid fees, costs and expenses,
25    incurred after the delivery of a Sale Transaction Notice, will be paid when allowed and the Sale
26    Transaction is completed from the $190,000 in funds expressly earmarked to fund professional fees
27    and costs in connection with a Sale Transaction.
28            22.    Restrictions on Granting Postpetition Liens. Except as otherwise provided in this

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 1    Final Order and the Loan Documents, no claim having a priority superior or pari passu with those
 2    granted by the Interim Orders and this Final Order to the Lender shall be granted or permitted
 3    without further order of this Bankruptcy Court entered in the Chapter 11 Case, while any portion
 4    of the DIP Financing (or refinancing thereof) or any other DIP Obligations are outstanding without
 5    the prior written consent of the Lender. Except as expressly permitted by the Final Order and the
 6    Loan Documents, the Debtor will not, at any time during the Chapter 11 Case, grant liens or security
 7    interests in the DIP Collateral to any other parties pursuant to Section 364 of the Bankruptcy Code
 8    or otherwise without either (i) first obtaining the prior written consent of the Lender or (ii)
 9    irrevocably satisfying the DIP Obligations in full in immediately available funds as a condition to
10    the granting of such liens. Unless all DIP Obligations shall have indefeasibly been paid in full in
11    immediately available funds (or as otherwise provided in this Final Order and the Loan
12    Documents), it shall constitute an Event of Default and terminate the right of the Debtor to use the
13    DIP Financing and Cash Collateral, if the Debtor seeks, or if there is entered, any modification or
14    extension of this Final Order, without the prior written consent of the Lender.
15           23.     Automatic Effectiveness of Liens. The DIP Liens shall not be subject to challenge
16    and shall attach and become valid, perfected, enforceable, non-avoidable and effective by operation
17    of law as of the Petition Date without any further action by the Debtor or Lender without the
18    necessity of execution by the Debtor, or the filing or recordation, of any financing statements,
19    security agreements, or other documents or the taking of any other actions. The DIP Collateral
20    shall be free and clear of other liens, claims and encumbrances, except as provided in the Loan
21    Documents and this Final Order for so long as any portion of the DIP Financing (or refinancing
22    thereof) is outstanding. The Debtor is hereby authorized and directed to execute and deliver to the
23    Lender such financing statements, security agreements, mortgages, collateral assignments,
24    instruments, and documents as the Lender requests, and the Lender is hereby authorized to file or
25    record such documents in their respective discretion without seeking modification of the automatic
26    stay under Section 362, in which event all such documents shall be deemed to have been filed or
27    recorded at the time and on the date of entry of the Final Order.
28           24.     Automatic Stay and Remedies. As provided herein, subject only to the provisions

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 1    of the Loan Documents, the provisions of Section 362 are vacated and modified to the extent
 2    necessary to permit the Lender, following an Event of Default and during the continuance of any
 3    Event of Default thereafter, all rights and remedies provided for in the Loan Documents and this
 4    Final Order without further order of this Bankruptcy Court.
 5           25.     Board of Directors; Independent Director. In accordance with the Term Sheet
 6    and Loan Documents, the Bankruptcy Court approves on a final basis the appointment of Eric
 7    Hillman, Paul Karr, and the independent board member, Nicholas Rubin, to comprise Debtor’s
 8    three (3) member board of directors. The independent director, Nicholas Rubin (the “Independent
 9    Director”), is approved on a final basis and shall have sole and exclusive responsibility with respect
10    to the Debtor for: (i) protecting and recovering the assets of the Debtor, including to determine
11    whether it is in the best interest of the Debtor to reorganize under Section 1129 of the Bankruptcy
12    Code, or sell its assets in accordance with Section 363 of the Bankruptcy Code; (ii) reviewing and
13    approving the ultimate debtor-in-possession financing incurred by the Estate, as negotiated by the
14    Debtor’s restructuring professionals; (iii) the investigation and determination of which Estate
15    causes of action, if any, should be pursued, prosecuted, or settled; and (iv) the maximization of
16    value for all stakeholders.
17           26.     Consent to Limited Inventory Financing by JW Nutritional LLC. Unsecured
18    creditor and inventory supplier JW Nutritional LLC (“JW”) shall have the right to, at its own cost
19    and expense, after the entry of the Final Order, create inventory for the Debtor’s business,
20    operations and sale, which inventory shall be held and deemed owned by JW until purchased by
21    Debtor (the “JW Financed Inventory”). In the event of a cessation of the Debtor’s business
22    whereby Debtor is no longer actively pursuing ongoing sales, JW shall have the right, without
23    further order of the Bankruptcy Court, after ten (10) days prior written notice to the Debtor,
24    Committee and DIP Note Agent (the “JW Financed Inventory Sale Notice Period”), to sell the
25    JW Financed Inventory pursuant to Section 2(c)(iii) of the DIP Note Agreement unless, within the
26    JW Financed Inventory Sale Notice Period, Debtor or the DIP Note Agent notifies JW in writing
27    that Debtor or the DIP Note Purchasers will purchase such inventory at the JW Financed Inventory
28    Cost (defined below). For JW Financed Inventory that was produced by JW at the request of the

                                                       21
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 1    Debtor that has been held by JW in excess of four (4) months, JW shall have the right, without
 2    further order of the Bankruptcy Court, after providing written notice to the Debtor and the DIP
 3    Note Agent and the expiration of the applicable JW Financed Inventory Sale Notice Period, to sell
 4    such JW Financed Inventory pursuant to Section 2(c)(iii) of the DIP Note Agreement unless, within
 5    the JW Financed Inventory Sale Notice Period, Debtor or the DIP Note Agent notifies JW in writing
 6    that Debtor or the DIP Note Purchasers will purchase such inventory at the JW Financed Inventory
 7    Cost. JW may use the Debtor’s brand name(s), trademark(s), or trade name(s) and the like, directly
 8    and only related to the liquidation of such JW Financed Inventory pursuant to Section 2(c)(iii) of
 9    the DIP Note Agreement. For purposes of this Final Order, the term “JW Financed Inventory
10    Cost” shall mean JW’s fully loaded cost, including cost of storing product, based on the current
11    pricing to the Borrower as of the most recent quarterly quoted price between JW and the Debtor.
12    In the event of a Sale Transaction, the purchaser shall either (1) buy the JW Financed Inventory
13    from JW at the JW Financed Inventory Cost, or (2) allow JW to sell the JW Financed Inventory on
14    the terms set forth in Section 2(c)(iii) of the DIP Note Agreement.
15           27.     Indemnification. The “Expense and Indemnification” provisions set forth in the
16    Loan Documents are approved, provided however, such indemnification shall exclude out-of-
17    pocket costs and expenses (including but not limited to reasonable and documented legal fees and
18    expenses) arising out of post-petition litigation between the DIP Agent, on the one hand, and White
19    Winston and/or Ryan Drexler, on the other hand, regarding the Prepetition Notes (as defined in the
20    Loan Documents) or claims between those parties, including any claims that may be prosecuted in
21    the Chapter 11 Case, that are not Debtor or Estate claims. For the avoidance of doubt, the excluded
22    out-of-pocket costs and expenses are intended to be inclusive of discovery concerning claims
23    related to the Prepetition Notes of the DIP Agent, on the one hand, and White Winston and/or Ryan
24    Drexler, on the other hand, conducted by 2004 examination,
25           28.     Factoring and Other Reporting. Debtor, or another party designated by Debtor
26    and the DIP Factoring Agent, shall provide a weekly factoring report to the DIP Agents and the
27    Committee identifying each DIP account (“DIP Account”) purchased, the purchase amount of such
28    DIP Account, the date the DIP Account is due and the days overdue of any overdue DIP Account,

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 1    the amount of the DIP Account due, and any payments received. The DIP Agents shall confirm
 2    whether or not DIP Agents agree with the information in each weekly factoring report. Further,
 3    the Debtor shall deliver to the DIP Note Agent and the Committee copies of all non-privileged
 4    reports of the financial and restructuring advisors of the Debtor as reasonably requested by the DIP
 5    Note Agent, including but not limited to: (i) any analysis of cash flows, forecasts, and potential cost
 6    savings initiatives; (ii) transaction marketing material (CIMs / MPs); (iii) investor outreach list; (iv)
 7    sale process updates; and (v) proposed sources and uses of funds at emergence from bankruptcy.
 8            29.     Forensic Accountant. At the request of the DIP Agent and approval of the Board
 9    of Directors, the Debtor shall retain a forensic accountant reasonably acceptable to the DIP Agent
10    (the “Forensic Accountant”) to review and analyze all Debtor’s bank statements for three (3) or
11    more years prior to the Petition Date and any other documents and information necessary to
12    investigate payments and transfers from Debtor to determine whether they are avoidable under
13    federal and state law. The DIP Agent will increase the DIP Facility in the amount necessary to pay
14    for the forensic accounting in an amount agreed to be the DIP Agent and the Debtor.
15            30.     No Creation or Evidence of Liability to Third Parties or Alter Ego
16    Relationship. The Lender shall not be found or deemed to be an alter ego of any of the Debtor, in
17    a partnership of any kind with any of the Debtor, in a principal-agent relationship with the Debtor
18    or otherwise liable for any liabilities of any of the Debtor, and the Debtor shall not be found or
19    deemed to be a mere instrumentality of the Lender as a result of the Lender deciding to advance
20    the DIP Financing to the Debtor, negotiating and entering into the Loan Documents and this Final
21    Order, administering the DIP Financing, consenting to the Budget, or taking any other actions
22    permitted by the Final Order or the Loan Documents, and no such action (or conduct taken in
23    furtherance of or comprising an integral part of any such action) shall be admissible in any
24    proceeding as evidence that the Lender is the alter ego, partner, principal of, or otherwise liable for
25    any liability of the Debtor.
26            31.     Binding Effect. The provisions of this Final Order shall be binding upon and inure
27    to the benefit of the Lender, the Debtor, and all parties in interest, and their respective successors
28    and assigns (including any Chapter 7 or Chapter 11 trustee hereinafter appointed or elected, an

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 1    examiner appointed pursuant to Section 1104 of the Bankruptcy Code or any other fiduciary
 2    appointed as a legal representative of the Debtor or with respect to the property of the Estate). To
 3    the extent permitted by applicable law, this Final Order shall bind any trustee hereafter appointed
 4    for the Estate, whether in this Chapter 11 Case or in the event of the conversion to a liquidation
 5    under Chapter 7 of the Bankruptcy Code. Such binding effect is an integral part of this Final Order.
 6           32.     Survival. The provisions of this Final Order and any actions taken pursuant hereto
 7    shall survive the entry of any order, including an order: (a) confirming any plan of reorganization
 8    or liquidation in this Chapter 11 Case (and, to the extent not irrevocably satisfied in full in
 9    immediately available funds, the DIP Obligations shall not be discharged by the entry of any such
10    order pursuant to Section 1141(d)(4) of the Bankruptcy Code, or otherwise); (b) converting the
11    Chapter 11 Case to a Chapter 7 case; or (c) dismissing the Chapter 11 Case. The terms and
12    provisions of this Final Order, as well as the DIP Obligations and the DIP Liens granted pursuant
13    to this Final Order and the Loan Documents shall continue in full force and effect notwithstanding
14    the entry of any such order. The DIP Obligations and the DIP Liens shall maintain their priority as
15    provided by this Final Order and the Loan Documents and to the maximum extent permitted by
16    law, until all of the DIP Obligations are indefeasibly paid in full and discharged. In no event shall
17    any plan of reorganization be allowed to alter the terms of repayment of any of the DIP Obligations
18    from those set forth in the Loan Documents without the written consent of the Lender. Unless all
19    DIP Obligations shall have indefeasibly been paid in full, it shall constitute an Event of Default and
20    terminate the right of the Debtor to use Cash Collateral under this Final Order if Debtor seeks, or
21    if there is entered, (x) any modification or extension of this Final Order without the prior written
22    consent of the Lender, or (y) an order converting or dismissing the Chapter 11 Case.
23           33.     Non-Material Modifications of the Loan Documents. The Debtor and the Lender
24    are hereby authorized to implement, in accordance with the terms of the Loan Documents and this
25    Final Order, any non-material modifications of the Loan Documents without further order of this
26    Bankruptcy Court; provided that the Debtor shall provide notice of any such modifications to
27    counsel for the Committee and the U.S. Trustee.
28           34.     Protection Under Section 364(e). If any or all of the provisions of this Final Order

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 1    are hereafter reversed, modified, vacated or stayed, such reversal, modification, vacation or stay
 2    shall not affect the (i) validity of any DIP Obligations owing to the Lender incurred prior to the
 3    actual receipt by both Lender of written notice of the effective date of such reversal, modification,
 4    vacation or stay, or (ii) validity or enforceability of any claim, lien, security interest or priority
 5    authorized or created hereby or pursuant to the Loan Documents with respect to any DIP
 6    Obligations. Notwithstanding any such reversal, modification, vacation or stay, any use of Cash
 7    Collateral or the incurrence of DIP Obligations by the Debtor prior to the actual receipt by both
 8    Lender of written notice of the effective date of such reversal, modification, vacation or stay, shall
 9    be governed in all respects by the provisions of this Final Order, and the Loan Documents and any
10    paperwork issued pursuant to and in conformance therewith, and the Lender shall be entitled to all
11    of the rights, remedies, protections and benefits granted under Section 364(e) of the Bankruptcy
12    Code, this Final Order and the Loan Documents with respect to all uses of Cash Collateral and the
13    incurrence of DIP Obligations.
14           35.     Choice of Law; Jurisdiction; Standing.           The DIP Financing and the Loan
15    Documents and any paperwork issued pursuant to and in conformance therewith, (and the rights
16    and obligations of the parties thereto) shall be governed by, and construed in accordance with, the
17    laws of the State of Nevada, without regard to the conflict of law principles thereof. Each party to
18    the Loan Documents will waive the rights to trial by jury and will consent to jurisdiction of the
19    Bankruptcy Court for so long as the Chapter 11 Case remains open and, thereafter, the state and
20    federal courts set forth in the Loan Documents executed between and among the parties. The
21    Lender shall have standing, as a party-in-interest under Section 1109(b) of the Bankruptcy Code,
22    to raise and appear and be heard on any issue in the Chapter 11 Case.
23           36.     Findings of Fact and Conclusions of Law. This Final Order constitutes, where
24    applicable, findings of fact and conclusions of law and shall take effect and be fully enforceable
25    immediately upon the entry thereof. Findings of fact shall be construed as conclusions of law, and
26    conclusions of law be construed as findings of fact, pursuant to Bankruptcy Rule 7052.
27           37.     Final Order Effective.         This Final Order shall take effect immediately
28    notwithstanding anything to the contrary prescribed by applicable law.

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 1             38.   Final Order Controlling; Failure to Specify Provisions. In the event of a material
 2    conflict between this Final Order and the Loan Documents, the Final Order shall control, provided
 3    that there shall not be deemed a material conflict as a result of the Loan Documents including
 4    additional terms and provisions from this Final Order, and the failure specifically to include any
 5    particular provisions of the Loan Documents in this Final Order shall not diminish or impair the
 6    effectiveness of such provision, it being the intent of the Bankruptcy Court, and the Debtor and the
 7    Lender, that this Final Order and the Loan Documents be read together and consistent with one
 8    another, and that any paperwork issued pursuant to and in conformance therewith, are authorized
 9    and approved in their entirety with such amendments thereto as may be made by the parties in
10    accordance with this Final Order.
11             39.   Interim Orders Superseded by this Final Order; Exceptions. Except to the
12    extent that that any of the Lender’s and the DIP Agent’s rights, remedies, claims, security interests
13    and priorities granted by the Bankruptcy Court during the period from the Petition Date to the entry
14    of this Final Order would be diminished in any way, the Interim Orders are superseded by this Final
15    Order.
16             40.   Retention of Jurisdiction. The Bankruptcy Court shall retain jurisdiction to hear
17    and determine all matters arising from the implementation of this Final Order.
18             IT IS SO ORDERED.
19                                 [Counsel Signatures on Following Page]
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 1    Submitted by:
 2    SCHWARTZ LAW, PLLC
                                                       PACHULSKI STANG ZIEHL & JONES
 3                                                     LLP
      By: /s/
 4    Samuel A. Schwartz, Esq.                         By: /s/
      601 East Bridger Avenue                          John Fiero, Esq.
 5    Las Vegas, NV 89101                              Jason Rosell, Esq.
      Attorneys for the Debtor                         Attorneys for the Official Committee
 6                                                     of Unsecured Creditors
 7    Approved/Disapproved:
                                                       Approved/Disapproved:
 8    TRACY HOPE DAVIS
      UNITED STATES TRUSTEE                            MANDELBAUM BARRETT PC
 9
      By: /s/                                          By: /s/
10    Jared A. Day, Esq.                               Vincent Roldan, Esq.
      United States Department of Justice              Attorneys for Prestige Capital Finance, LLC
11    Attorney for the United States Trustee
12
      Approved/Disapproved:                            Approved/Disapproved:
13
      GARMAN TURNER GORDON                             JEFFREY D. STERNKLAR LLC
14
      By: /s/                                          By: /s/
15    Gregory Garman, Esq.                             Jeffrey D. Sternklar, Esq.
      William Noall, Esq.                              Attorneys for White Winston Select
16    Mark M. Weisenmiller, Esq.                       Asset Funds, LLC
      Attorneys for Empery Tax Efficient, L.P.
17

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 1                                        LR 9021 CERTIFICATION
 2           In accordance with LR 9021, counsel submitting this document certifies that the order
 3    accurately reflects the court’s ruling and that:
 4
                     The court has waived the requirement set forth in LR 9021(b)(1).
 5
                     No party appeared at the hearing or filed an objection to the motion.
 6
                     I have delivered a copy of this proposed order to all counsel and any unrepresented
 7           parties who appeared at the hearing, except those as to whom review was waived on the
 8           record at the hearing, and each has approved or disapproved the order, or failed to
             respond, as indicated above:
 9

10
11                  I certify that this is a case under Chapter 7 or 13, that I have served a copy of this
             order with the motion pursuant to LR 9014(g), and that no party has objected to the form
12           or content of this order.
                                                        ###
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                         EXHIBIT A




                         EXHIBIT A
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                         EXHIBIT B




                         EXHIBIT B
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 1
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 3
                                                                     EXHIBIT B
 4
          Order      DIP Collateral       DIP Collateral   DIP Collateral   DIP Collateral     Third-Party      Unencumbered       Superpriority
 5        of         Consisting of        Consisting of    Consisting of    Not Consisting     Encumbered       Assets             Claims
          Priority   Pre-Petition         Post-Petition    Post-Petition    of Factored               6
                                                                                               Assets
 6                   Factoring            Factored         DIP Inventory    Accounts or
                     Priority             Accounts         Acquisition      DIP Inventory
                               4                           Line of Credit   Acquisition
 7                   Collateral
                                                           Purchasers       Line of Credit
                                                           Financed         Purchasers
                                                                     5      Financed
 8                                                         Inventory
                                                                            Inventory
          1st        Carve-Out and        Carve-Out and    DIP Inventory    Carve-Out and      Third-Party      Carve-Out          Carve-Out and
 9                   Permitted            Permitted        Acquisition      Permitted Liens    Existing Liens                      Permitted
                           7              Liens            Line of Credit                                                          Liens
                     Liens
                                                           Purchasers
10                                                         Financed
                                                           Inventory
11                                                         Liens
          2nd                         8   DIP Factoring    Carve-Out and    DIP Note Liens     Carve-Out        DIP Note Liens,    DIP Notes
                     Prestige Liens
                                          Liens            Permitted        and Prepetition                     DIP Factoring      Superpriority
12                                                         Liens            Notes Adequate                      Liens, DIP         Claim and
                                                                            Protection Liens                    Inventory          DIP Factoring
13                                                                                                              Acquisition        Superpriority
                                                                                                                Line of Credit     Claim, DIP
                                                                                                                Purchasers         Inventory
14                                                                                                              Financed           Acquisition
                                                                                                                Inventory Liens,   Line of Credit
                                                                                                                and Prepetition    Purchasers
15                                                                                                              Notes Adequate     Financed
                                                                                                                Protection Liens   Inventory
16                                                                                                                                 Superpriority
                                                                                                                                   Claim
          3rd        DIP Note Liens,      DIP Note         DIP Note         DIP Factoring      DIP Note         Prestige           Prepetition
17                   DIP Factoring        Liens, DIP       Liens, DIP       Liens, DIP         Liens, DIP       Adequate           Notes
                     Liens, DIP           Inventory        Factoring        Inventory          Factoring        Protection         Adequate
18                   Inventory            Acquisition      Liens, and       Acquisition Line   Liens, DIP       Liens9             Protection
                     Acquisition          Line of Credit   Prepetition      of Credit          Inventory                           Claim and
                     Line of Credit       Purchasers       Notes            Purchasers         Acquisition                         Prestige
19                   Purchasers           Financed         Adequate         Financed           Line of Credit                      Adequate

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      4
                As defined in the Intercreditor Agreement, dated as of October 13, 2021 (the “Prestige Intercreditor
21    Agreement”), among Prestige, Empery, as Notes Representative on behalf of the Prepetition Noteholders and
      Prepetition Collateral Agent, and the Note Parties.
      5
22              “DIP Note Purchasers Financed Inventory” shall mean DIP Collateral made up of the specific inventory
      items financed by the DIP Inventory Acquisition Line of Credit.
      6
23              “Third-Party Encumbered Assets” shall mean DIP Collateral that was, as of the Petition Date, subject to
      valid, properly perfected, non-avoidable, and senior liens or security interests (excluding subordinated liens pursuant
24    to existing agreements) (collectively, the “Third-Party Existing Liens”) other than the liens and security interests
      granted pursuant to the Prepetition Security Agreement (the “Prepetition Notes Liens”) and the Prestige Liens (as
      defined below).
25    7
                “Permitted Liens” shall mean any liens that are senior by operation of law (including any such liens that are
      perfected subsequent to the Petition Date as permitted by section 546(b) of the Bankruptcy Code) or that were, as of
26    the Petition Date, valid, properly perfected, non-avoidable and senior in priority to the Prepetition Notes Liens and
      Prestige Liens.
27    8
                “Prestige Liens” shall mean any valid, properly perfected and non-avoidable liens on or security interests in
      the Factoring Collateral created by the Factoring Security Documents (each as defined in the Prestige Intercreditor
28    Agreement).
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 1               Financed           Inventory     Protection       Inventory Liens   Purchasers                 Protection
                 Inventory Liens,   Liens         Liens                              Financed                   Claim
                 and Prepetition                                                     Inventory
 2               Notes Adequate                                                      Liens and
                 Protection Liens                                                    Prepetition
 3                                                                                   Notes
                                                                                     Adequate
                                                                                     Protection
 4                                                                                   Liens
          4th    Prepetition        Prestige      Prepetition      Prepetition       Prestige
                 Notes Liens        Adequate      Notes Liens      Notes Liens       Adequate
 5                                  Protection                                       Protection
                                    Liens                                            Liens9
 6
          5th                       Prepetition   Prestige         Prestige
                                    Notes         Adequate         Adequate
 7                                  Adequate      Protection       Protection
                                    Protection    Liens9           Liens9
 8                                  Liens
          6th                       Prepetition   Prestige Liens   Prestige Liens
                                    Notes Liens
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                Subject to Prestige’s rights under paragraph 20 of this Order.
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   DEBTOR-IN-POSSESSION NOTES PURCHASE AND SECURITYAGREEMENT

        This DEBTOR-IN-POSSESSION NOTES PURCHASE AND SECURITY
AGREEMENT (this “Agreement”), dated as of February [Ɣ], 2023, is entered into by and among
MusclePharm Corporation, a Nevada corporation, as a debtor-in-possession (“Issuer” or
“Borrower”), Canada MusclePharm Enterprises Corporation (“Guarantor”), Empery Tax
Efficient, LP (“Empery”), in its capacity as a note purchaser, [Ɣ] (each, a “DIP Note Purchaser”,
and collectively, the “DIP Note Purchasers”), and Empery, in its capacity as collateral agent, its
successors and assigns (“DIP Note Agent”).

                                      W I T N E S S E T H:

         WHEREAS, on December 15, 2022 (the “Petition Date”), Borrower commenced
Chapter 11 Case No. 22-14422-nmc (the “Chapter 11 Case”) by filing a voluntary petition for
relief under Chapter 11 of Title 11 of the United States Code, 11 U.S.C. 101 et seq. (the
“Bankruptcy Code”), with the United States Bankruptcy Court for the District of Nevada (the
“Bankruptcy Court”). Borrower continues to operate its business and manage its assets and
liabilities as a debtor and debtor-in-possession pursuant to sections 1107(a) and 1108 of the
Bankruptcy Code.

        WHEREAS, Borrower has requested that the DIP Note Purchasers provide a multiple
issuance note facility to Borrower to fund (i) the working capital needs of the Borrower, including,
the allowed administrative costs and expenses of the Chapter 11 Case during the pendency of the
Chapter 11 Case, and (ii) the satisfaction of interest, fees and costs due under this Agreement;

       WHEREAS, Borrower is unable to obtain funds or credit on better terms;

       WHEREAS, each DIP Note Purchaser has agreed to purchase the DIP Notes (as
hereinafter defined) from Borrower on the terms and conditions hereunder on a several basis in an
amount equal to its DIP Note Purchase Commitment;

        WHEREAS, subject to Bankruptcy Court approval, Borrower has agreed to provide the
DIP Note Purchasers super-priority administrative expense claims pursuant to Section 364(c)(1)
of the Bankruptcy Code, in the Chapter 11 Case, against the Borrower for its obligations to the
DIP Note Purchasers under this Agreement, the Interim DIP Orders and the Final Order having
the priority specified in the Interim DIP Orders and the Final Order; and

        WHEREAS, subject to Bankruptcy Court approval, Borrower has agreed to secure all of
its obligations under this Agreement by granting to the DIP Note Purchasers, under and pursuant
to the Interim DIP Orders and the Final Order, a security interest in and lien upon substantially all
of their assets having the priority specified in the Interim DIP Orders and the Final Order.

        NOW, THEREFORE, in consideration of the foregoing recitals, and of the mutual
covenants, conditions and provisions hereinafter set forth, and for other valuable consideration,
the receipt and sufficiency of which are hereby acknowledged, the DIP Note Agent, each DIP Note
Purchaser and Borrower hereby agree as follows:
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        1.     Definitions. As used in this Agreement, the following terms shall have the
following meanings (such meanings to be equally applicable to both the singular and plural forms
of the terms defined):

       “Acceptable Plan” means a plan of reorganization or liquidation reasonably acceptable to
the DIP Note Agent, which shall (i) provide for repayment in full in cash of the obligations under
the DIP Note Facility, inclusive of the Roll-Up Amount, and (ii) be acceptable to the DIP Note
Agent, in its reasonable discretion, with respect to the treatment of the Prepetition Secured Parties,
DIP Note Purchasers and DIP Factoring Purchasers.

       “Additional DIP Issuance” means an amount up to Two Million Dollars ($2,000,000.00)
of the unfunded Aggregate DIP Note Purchase Commitment after funding of the Interim DIP
Issuance and the Primary DIP Issuance, to be made available on a monthly basis commencing in
June 2023 in accordance with the Authorized Budget and the terms and conditions of this
Agreement after the Final Closing Date.

     “Additional DIP Issuance Funding Date” means the fifth (5th) day of each calendar month
commencing on the Initial Additional DIP Issuance Funding Date through December 5, 2023.

         “Affiliates” of any Person is a Person that owns or controls directly or indirectly the Person,
any Person that controls or is controlled by or is under common control with the Person, and each
of that Person’s senior executive officers, directors, partners and, for any Person that is a limited
liability company, that Person’s managers and members.

       “Aggregate DIP Note Purchase Commitments” means Five Million Five Hundred
Thousand Dollars ($5,500,000), as such amount may be increased or reduced from time to time
pursuant to the terms hereof.

       “Agreement” has the meaning set forth in the preamble of this Agreement.

       “Allowed Claim” means the claim of the Prepetition Secured Parties of an amount not less
than Twelve Million Eight Hundred Forty Thousand Dollars ($12,840,000), which is the principal
amount of the Prepetition Notes, including the original issue discount, in addition to the
Obligations under the DIP Note Facility and DIP Factoring Facility, and reasonable attorneys’ fees
and expenses.

        “Authorized Budget” means any Proposed Budget for which Borrower has received written
consent from the DIP Note Agent approving such Proposed Budget; provided, that upon delivery
by Borrower and consent of the DIP Note Agent of any subsequent revised budget, such revised
budget shall thereafter constitute the Authorized Budget. The Authorized Budget as of the date
hereof is attached hereto as Exhibit A.

       “Bankruptcy Code” has the meaning set forth in the recitals of this Agreement.

       “Bankruptcy Court” has the meaning set forth in the recitals of this Agreement.

       “Bankruptcy Orders” mean, collectively, the Interim DIP Orders and the Final Order.


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       “Board of Directors” means Eric Hillman, Paul Karr and Nicolas Rubin, who replaced the
Interim Board of Directors of Borrower and serve as board of directors of Borrower upon entry of
the Second Interim DIP Order.

       “Borrower” has the meaning set forth in the preamble of this Agreement.

        “Borrower DIP Inventory Acquisition Line of Credit Payoff Notice” has the meaning set
forth in Section 2(c)(ii) of this Agreement.

      “Business Day” means any day other than a Saturday, Sunday or a day on which banks in
Las Vegas, Nevada are required or permitted to be closed.

        “Carve-Out” means the payment of (a) subject to the Authorized Budget, the aggregate
amount of any budgeted and unpaid fees, costs and expenses allowed by an order of the Bankruptcy
Court up to an aggregate amount not to exceed $250,000 that were accrued or incurred prior to the
Maturity Date by the professionals retained in the Chapter 11 Case by Borrower or on behalf of its
estate (collectively, the “Borrower Professionals”) and by the professionals retained in the Chapter
11 Case by the Creditors’ Committee (collectively, the “Creditors Committee Professionals”),
respectively, but in no event shall such carve-out exceed the unpaid Budget amounts (on a line by
line basis) for the Borrower Professionals and the Creditors Committee Professionals, respectively,
prorated up to the date in the Authorized Budget coinciding with an Event of Default, and (b) in
the absence of a Sale Transaction Notice, (i) the aggregate amount of any unpaid fees, costs and
expenses allowed by an order of the Bankruptcy Court up to an aggregate amount not to exceed
$125,000 that were incurred after an Event of Default by the Borrower Professionals, and (ii) the
aggregate amount of any unpaid fees, costs and expenses allowed by an order of the Bankruptcy
Court up to an aggregate amount not to exceed $65,000 that were incurred after an Event of Default
by the Creditors Committee Professionals, and (c) in the event of a Sale Transaction Notice, the
aggregate amount of any unpaid fees, costs and expenses, incurred after the delivery of a Sale
Transaction Notice by the Borrower Professionals and the Creditors Committee Professionals,
when allowed by an order of the Bankruptcy Court and when the Sale Transaction is completed,
from the $190,000 in funds expressly earmarked from the Sale Transaction to fund such fees, costs
and expenses of the Borrower Professionals and the Creditors Committee Professionals.

        “Cash Collateral” means all cash, negotiable instruments, documents of title, securities,
deposit accounts, or other cash equivalents whenever or wherever acquired in which the Borrower
and an entity other than the Borrower has an interest, whether existing before or after the
commencement of the Chapter 11 Case and inclusive of cash collateral as defined in Section 363
of the Bankruptcy Code.

       “Cash Management Order” means that certain Order Authorizing Maintenance of Existing
Bank Accounts and Related Relief [ECF No. 75], entered by the Bankruptcy Court in the Chapter
11 Case on January 9, 2023, and as approved on a final basis on February 9, 2023 [ECF No. __].

       “Chapter 11 Case” has the meaning set forth in the recitals of this Agreement.

        “Contingent Obligation” means as to any Person (the “guaranteeing person”), any
obligation (determined without duplication) of the guaranteeing person (or any other Person
(including any bank under any letter of credit) if the guaranteeing person has issued a
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reimbursement, counter indemnity or similar obligation in favor of such other Person)
guaranteeing or in effect guaranteeing any Indebtedness, leases, dividends or other obligations (the
“primary obligations”) of any other third Person (the “primary obligor”) in any manner, whether
directly or indirectly, including any obligation of the guaranteeing person, whether or not
contingent, (i) to purchase any such primary obligation or any property constituting direct or
indirect security therefor, (ii) to advance or supply funds (1) for the purchase or payment of any
such primary obligation or (2) to maintain working capital or equity capital of the primary obligor
or otherwise to maintain the net worth or solvency of the primary obligor, (iii) to purchase property,
securities or services primarily for the purpose of assuring the owner of any such primary
obligation of the ability of the primary obligor to make payment of such primary obligation or (iv)
otherwise to assure or hold harmless the owner of any such primary obligation against loss in
respect thereof provided, however, that the term Contingent Obligation shall not include
endorsements of instruments for deposit or collection in the ordinary course of business consistent
with past practice. The amount of any Contingent Obligation of any guaranteeing person shall be
deemed to be the lesser of the maximum stated amount of the primary obligations relating to such
Contingent Obligation (or, if less, the maximum stated liability set forth in the instrument
embodying such Contingent Obligation), or in the absence of any such stated amount or stated
liability, the amount of such Contingent Obligation shall be such guaranteeing person’s maximum
reasonably anticipated liability in respect thereof as reasonably determined by the Borrower in
good faith in accordance with GAAP.

        “Creditors’ Committee” means the Official Committee of Unsecured Creditors appointed
in the Chapter 11 Case by the U.S. Trustee pursuant to the Bankruptcy Code on January 4, 2023
[ECF No. 49].

        “Default” means any event or circumstance which, with the giving of notice, the lapse of
time, or both, would (if not cured or otherwise remedied during such time) constitute an Event of
Default.

        “Defaulting DIP Note Purchaser” means any DIP Note Purchaser which (i) has failed to
purchase all or any portion of its DIP Notes within three (3) Business Days of the date such DIP
Notes were required to be purchased hereunder unless such DIP Note Purchaser notifies the DIP
Note Agent and the other DIP Note Purchasers, in writing, that such failure is the result of such
DIP Note Purchaser’s determination that one or more conditions precedent to the purchase (each
of which conditions precedent, together with any applicable default, shall be specifically identified
in such writing) has not been satisfied or (ii) has, or has any Affiliate that has, become the subject
of an Insolvency Event.

       “DIP Agents” means, collectively, the DIP Note Agent and DIP Factoring Agent.

        “DIP Collateral” means all present and after acquired property (whether tangible,
intangible, real, personal or mixed) of the Note Parties, wherever located, including, without
limitation, all accounts, inventory, equipment, capital stock in subsidiaries of the Note Parties,
including, for the avoidance of doubt, any equity or other interests in the Note Parties’ non-
Borrower and/or jointly-owned subsidiaries (if any), investment property, instruments, chattel
paper, real estate, leasehold interests, contracts, patents, copyrights, trademarks and other general
intangibles, including all causes of action under Section 541 of the Bankruptcy Code (including

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commercial tort claims), and all additional and accessions thereto and all substitutions and
replacements thereof, and all products, accounts and proceeds thereof, including without
limitation, all proceeds and accounts from the sale or transfer of the DIP Collateral and of insurance
covering the same and of any tort claims in connection therewith, excluding any causes of action
under Bankruptcy Code Sections 502(d), 544, 545, 547, 548, 549, 550 or 553, including the
proceeds thereof.

       “DIP Consenting Secured Parties” means the DIP Note Agent and Empery, in its capacity
as a DIP Note Purchaser.

        “DIP Documents” means (i) this Agreement, (ii) the DIP Factoring Agreement, (iii) the
DIP Notes, (iv) the Guaranty, (v) the DIP Factoring Guaranty, (vi) the Bankruptcy Orders and (vii)
all other security agreements, pledge agreements, patent, trademark and copyright security
agreements, control agreements and any other instruments and documents creating or purporting
to create a Lien and/or reasonably related to the foregoing, and all amendments, restatements,
modifications or supplements thereof or thereto.

       “DIP Facilities” means, collectively, the DIP Note Facility, inclusive of the DIP Inventory
Acquisition Line of Credit, and the DIP Factoring Facility.

         “DIP Factoring Agent” means Empery Tax Efficient, LP, and its successors and assigns,
in its capacity as the sole collateral agent for the DIP Factoring Purchasers under the DIP Factoring
Agreement.

       “DIP Factoring Agreement” means that certain Debtor-in-Possession Factoring Purchase
and Security Agreement entered into by and between Borrower and the DIP Factoring Purchasers
evidencing the DIP Factoring Facility and the terms and conditions thereof.

       “DIP Factoring Facility” means that certain factoring facility entered into by and between
Borrower and the DIP Factoring Purchasers simultaneously herewith whereby the DIP Factoring
Purchasers have agreed to purchase and receive from Borrower, in an aggregate amount of up to
Ten Million Dollars ($10,000,000) all of Borrower’s right, title and interest in and to all eligible
post-petition accounts and during the Interim Period, purchase orders, arising from the sale of any
product or goods or the rendering of services by Borrower in the ordinary course of Borrower’s
business, pursuant to the terms and conditions set forth in the Debtor-in-Possession Factoring
Purchase and Sale and Security Agreement.

        “DIP Factoring Guaranty” means that certain Guaranty Agreement executed by Guarantor
in favor of the DIP Factoring Purchasers guaranteeing the DIP Factoring Facility.

       “DIP Factoring Purchasers” means Empery and [Ɣ].

        “DIP Inventory Acquisition Line Advance” means each advance of funds made available
to the Borrower under the DIP Inventory Acquisition Line of Credit, on a revolving basis, in
accordance with the Authorized Budget and the terms and conditions of this Agreement on or after
the Final Closing Date, but in no event shall the aggregate DIP Inventory Acquisition Line
Advances outstanding at any time exceed the amount of the DIP Inventory Acquisition Line of
Credit.

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       “DIP Inventory Acquisition Line of Credit” means a revolving line-of-credit in an amount
up to One Million Dollars ($1,000,000) under the DIP Note Facility, available solely to fund
Borrower’s acquisition of inventory for Borrower’s business in accordance with the Authorized
Budget on an as needed basis.

       “DIP Inventory Acquisition Line of Credit Purchasers” means Empery and [Ɣ].

        “DIP Inventory Acquisition Line of Credit Purchasers Financed Inventory” means that
certain inventory of Borrower acquired in whole or in part by funds made available to Borrower
through the DIP Inventory Acquisition Line of Credit.

        “DIP Inventory Acquisition Line of Credit Purchasers Financed Inventory Liens” means
the liens and security interests granted to secure the DIP Inventory Acquisition Line of Credit.

       “DIP Inventory Acquisition Line of Credit Purchasers Financed Inventory Proceeds”
means the proceeds of the DIP Collateral constituting the DIP Inventory Acquisition Line of Credit
Purchasers Financed Inventory.

       “DIP Inventory Acquisition Line of Credit Purchasers Financed Inventory Sale Notice
Period” has the meaning set forth in Section 2(c)(ii) of this Agreement.

       “DIP Motion” means the motion filed by Borrower with the Bankruptcy Court in the
Chapter 11 Case, together with all supplements and amendments thereto, seeking Bankruptcy
Court approval of the DIP Note Facility and the DIP Factoring Facility.

       “DIP Note Agent” means Empery Tax Efficient, LP, and its successors and assigns, in its
capacity as the sole collateral agent for the DIP Note Purchasers under this Agreement.

        “DIP Note Disbursement Account” means a debtor-in-possession deposit account of
Borrower subject to a deposit account control agreement in favor of DIP Note Agent and pursuant
to which DIP Note Agent maintains control and shall have a Lien pursuant to the Bankruptcy
Orders.

        “DIP Note Facility” means the super-priority senior secured multiple issuance note facility
in the aggregate principal amount of Five Million Five Hundred Thousand Dollars ($5,500,000),
inclusive of the DIP Inventory Acquisition Line of Credit, but excluding the Roll-Up Amount,
evidenced by, and subject to the terms and conditions of, this Agreement.

       “DIP Note Purchase Commitment” means, for each DIP Note Purchaser, the obligation of
such DIP Note Purchaser to purchase the DIP Notes from the Borrower in the aggregate amount
not exceeding the amount set forth on Schedule II hereto.

       “DIP Note Purchasers” means Empery and [Ɣ].

       “DIP Notes” means each advance, including without limitation each DIP Inventory
Acquisition Line Advance, made under that certain promissory note issued in accordance with the
terms of this Agreement and stated on the addendum to such promissory note evidencing the
amount of each such advance made.

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        “EBITDA” means earnings before interest, tax, depreciation and amortization, excluding
extraordinary costs and Professional Fees and Other Restructuring Costs (as such terms are defined
in the Authorized Budget), calculated on an accrual basis.

        “Equity Interests” means shares of capital stock, partnership interests, membership
interests in a limited liability company, beneficial interests in a trust or other equity ownership
interests in a Person, and any warrants, options or other rights entitling the holder thereof to
purchase or acquire any such equity interest.

       “Event of Default” has the meaning set forth in Section 7 of this Agreement.

       “Final Closing Date” means the date on which all conditions precedent to the Primary DIP
Issuance and DIP Inventory Acquisition Line Advance have been satisfied or waived, in DIP Note
Agents’ reasonable discretion, including, without limitation, entry of the Final Order.

         “Final Order” means, collectively, the order of the Bankruptcy Court entered in the Chapter
11 Case after a final hearing under Bankruptcy Rule 4001(c)(2) or such other procedures as
approved by the Bankruptcy Court approving the DIP Note Facility and the DIP Factoring Facility
and authorizing the execution and delivery of the DIP Documents by Borrower, the issuance of
the DIP Notes and the purchase of the accounts and purchase orders thereunder and the relief
provided for thereunder, and the Roll-Up Amount of the Prepetition Notes being converted on a
cashless basis into the DIP Notes with one dollar of principal due under the Prepetition Notes to
roll-up and convert for each dollar of principal amount drawn under the DIP Note Facility
(exclusive of any DIP Inventory Acquisition Line Advance), which order shall stipulate as to the
amount and priority of the Prepetition Note Liens and otherwise be reasonably satisfactory in form
and substance to the DIP Agents, together with all extensions, modifications and amendments
thereto, which, among other matters but not by way of limitation, authorizes Borrower to obtain
credit, incur and guaranty debt, grant Liens and provide for the super priority administrative claim
status of the DIP Note Purchasers’ claims under this Agreement; provided such order has not been
stayed or modified (without the consent of the DIP Note Agent).

       “First Interim DIP Order” means that certain First Interim Order Pursuant to Emergency
Motion For Interim and Final Orders Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, and 364 and
Fed. R. Bankr. P. 4001(B) and 4001(D): (I) Authorizing the Debtor to Obtain Post-Petition
Financing, (II) Granting Priming Liens and Administrative Expense Claims, (III) Determining
Adequate Protection, (IV) Modifying the Automatic Stay, and (V) Granting Related Relief [ECF
No. 74], entered by the Bankruptcy Court in the Chapter 11 Case on January 9, 2023, authorizing
Borrower, among other things, to borrow up to One Hundred Fifty Thousand ($150,000) from
Empery on an interim basis.

        “GAAP” is generally accepted accounting principles set forth in the opinions and
pronouncements of the Accounting Principles Board of the American Institute of Certified Public
Accountants and statements and pronouncements of the Financial Accounting Standards Board or
in such other statements by such other Person as may be approved by a significant segment of the
accounting profession, which are applicable to the circumstances as of the date of determination.




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       “Governmental Authority” means any nation or government, any state, city, province or
other political subdivision thereof, and any agency, department or other entity exercising
executive, legislative, judicial, regulatory or administrative functions of or pertaining to
government.

       “Guarantor” has the meaning set forth in the preamble of this Agreement.

      “Guaranty” means that certain Guaranty Agreement executed by Guarantor in favor of the
DIP Note Purchasers guaranteeing the DIP Note Facility.

         “Indebtedness” of any Person means, without duplication, (a) all obligations of such Person
for borrowed money or with respect to deposits or advances of any kind, (b) all obligations of such
Person evidenced by bonds, debentures, notes or similar instruments, (c) all obligations of such
Person upon which interest charges are customarily paid, (d) all obligations of such Person under
conditional sale or other title retention agreements relating to property acquired by such Person,
(e) all obligations of such Person in respect of the deferred purchase price of property or services
(excluding current accounts payable incurred in the ordinary course of business), (f) all
Indebtedness of others secured by (or for which the holder of such Indebtedness has an existing
right, contingent or otherwise, to be secured by) any Lien on property owned or acquired by such
Person, whether or not the Indebtedness secured thereby has been assumed, (g) all Contingent
Obligations of such Person, (h) all capital lease obligations of such Person, (i) all obligations,
contingent or otherwise, of such Person as an account party in respect of letters of credit, letters of
guaranty, surety bonds and similar facilities or obligations, (j) all obligations, contingent or
otherwise, of such Person in respect of bankers’ acceptances and (k) all obligations of such Person
under sale and leaseback transactions.

       “Independent Director” means Nicholas Rubin, nominated by the Interim Board of
Directors, approved by the DIP Note Agent, and approved in the Second Interim DIP Order, to
serve on the Board of Directors of Borrower.

       “Initial Additional DIP Issuance Funding Date” means June 5, 2023.

       “Initial Test Date” means May 31, 2023.

        “Insolvency Event” means, as to any Person, that such Person has (i) become the subject
of a proceeding under the Bankruptcy Code or any other liquidation, conservatorship, bankruptcy,
assignment for the benefit of creditors, moratorium, rearrangement, receivership, insolvency,
reorganization, or similar debtor relief laws of the United States or other applicable jurisdictions
from time to time which proceeding is not dismissed within sixty (60) days after the
commencement of the same, (ii) had appointed for it a receiver, custodian, conservator, trustee,
administrator, assignee for the benefit of creditors or similar Person charged with reorganization
or liquidation of its business or assets, (iii) has taken any action in furtherance of, or indicated its
consent to, approval of or acquiescence in any such proceeding or appointment, (iv) become
insolvent or been determined by any Governmental Authority having regulatory authority over
such Person or its assets, to be insolvent, or the assets or management of which has been taken
over by any Governmental Authority, (v) is generally unable to pay its debts as they become due,



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or has admitted in writing its inability to pay its debts as they become due or (vi) has made a
general assignment for the benefit of creditors.

       “Interest Rate” means nine and three-quarters of one percent (9.75%) per annum.

       “Interim Board of Directors” means Paul Karr and Eric Hillman, who replaced all members
of the Borrower’s board of directors as of the Petition Date and serve as board of directors of
Borrower through the date that the Second Interim DIP Order was entered.

       “Interim Closing Date” means January 23, 2023, the date of the Interim DIP Issuance.

       “Interim DIP Issuance” means an amount up to Seven Hundred Fifty Thousand Dollars
($750,000) of the Aggregate DIP Note Purchase Commitment, which was made available in one
or more issuances in accordance with the Authorized Budget and the terms and conditions of the
Interim DIP Orders during the Interim Period.

       “Interim DIP Orders” means, collectively, the First Interim DIP Order and the Second
Interim DIP Order.

       “Interim Period” means the period of time between the First Interim DIP Order and the
Final Order.

        “Investment” of a Person means any loan, advance, extension of credit (other than accounts
receivable arising in the ordinary course of business on terms customary in the trade), deposit
account or contribution of capital by such Person to any other Person or any investment in
(including Contingent Obligations of such Person for the benefit of or to support any obligation of
such other Person), or purchase or other acquisition of Equity Interests, notes, debentures or other
debt or equity securities of any other Person made by such Person.

       “JW” means JW Nutritional, LLC.

       “JW Financed Inventory” has the meaning set forth in Section 2(c)(iii) of this Agreement.

      “JW Financed Inventory Cost” has the meaning set forth in Section 2(c)(iii) of this
Agreement.

        “JW Financed Inventory Sale Notice Period” has the meaning set forth in Section 2(c)(iii)
of this Agreement.

        “Lien” means any mortgage, pledge, hypothecation, assignment, deposit arrangement,
encumbrance, lien (statutory or other), charge, or preference, priority or other security interest or
preferential arrangement of any kind or nature whatsoever (including, without limitation, the
interest of a vendor or lessor under any conditional sale, capitalized lease or other title retention
agreement or any financing lease having substantially the same economic effect as any of the
foregoing) and, in the case of debt, equity or similar instrument, any purchase option, call or similar
right of any Person (other than the issuer of such securities) with respect to such debt, equity or
similar instrument.


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        “Maturity Date” means the earliest of (a) December 31, 2023 (the “Scheduled Termination
Date”), (b) the date of acceleration of any of the Obligations pursuant to Section 8, (c) the date of
the closing of a Sale Transaction or any other sale of all or substantially all of Borrower’s assets,
and (d) the filing of a chapter 11 plan with respect to Borrower that is not an Acceptable Plan.

       “Milestone Requirements” shall mean each of the following:

           (a) The Bankruptcy Court shall enter the Final Order, which order shall be in form and
substance acceptable to the DIP Note Agent, approving the DIP Note Facility (including the Roll-
Up Amount) and the DIP Factoring Facility on a final basis no later than February 21, 2023 (unless
waived by the DIP Note Agent).

           (b) Borrower shall file an Acceptable Plan by no later than September 30, 2023.

           (c) The Bankruptcy Court shall approve an Acceptable Plan by December 15, 2023.

            (d) In the event that (i) Borrower fails to satisfy each of the conditions set forth in
Section 4(b) and (c) of this Agreement for the DIP Note Purchasers to make any Additional DIP
Issuance (excluding the $500,000 Additional DIP Issuance payment made in the event of a Sale
Transaction Notice, as defined below) on the Initial Additional DIP Issuance Funding Date and/or
any subsequent Additional DIP Issuance Funding Date, or (ii) Borrower fails to file an Acceptable
Plan by September 30, 2023, Borrower shall commence a Sale Transaction within fourteen (14)
days of receipt of written notice by the DIP Note Agent (the “Sale Transaction Notice”). In the
event a Sale Transaction Notice is given to Borrower, Borrower shall commence a Sale
Transaction within five (5) days of receipt of such Sale Transaction Notice. Unless otherwise
waived by the DIP Note Agent, in its sole discretion, a stalking horse for the Sale Transaction shall
be selected within twenty-five (25) days from receipt of the Sale Transaction Notice, and the Sale
Transaction shall be completed within sixty (60) days of the commencement of the Sale
Transaction. Without limiting the foregoing, the procedure and timing of a Sale Transaction shall
be satisfactory to the DIP Note Agent, in its sole discretion.

       “Note Parties” means collectively, Borrower and Guarantor.

       “Notice of Note Issuance” has the meaning set forth in Section 2(a)(iii).

        “Obligations” means all loans, advances, liabilities, obligations, covenants, duties, and
debts owing by Borrower (or any one thereof) to the DIP Note Agent and/or any DIP Note
Purchaser, arising under or pursuant to this Agreement or any of the other DIP Documents, whether
or not evidenced by any note, or other instrument or document, whether arising from an extension
of credit, acceptance, loan, guaranty, indemnification, or otherwise, whether direct or indirect,
absolute or contingent, due or to become due, primary or secondary, as principal or guarantor, and
including all principal, interest, charges, expenses, fees, attorneys’ fees, filing fees, and any other
sums chargeable to Borrower hereunder or under any of the other DIP Documents including,
without limitation, all debts, liabilities, and obligations of Borrower now or hereafter arising from
or in connection with the DIP Note Facility, including without limitation, the reasonable fees and
expenses of the DIP Note Agent and each DIP Note Purchaser incurred in connection with the DIP
Note Facility.


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       “Permitted Encumbrances” means:

              (a) Liens imposed by law for taxes, fees, assessments or other charges that are not
       yet due or are being contested in good faith;

              (b) Liens that are senior by operation of law (including any such liens that are
       perfected subsequent to the Petition Date as permitted by section 546(b) of the Bankruptcy
       Code); and

              (c) Liens that were, as of the Petition Date, valid, properly perfected, non-avoidable
       and senior in priority to the Prepetition Notes Liens and to any valid, properly perfected
       and non-avoidable liens on or security interests in collateral granted to Prestige Capital
       Finance, LLC, and its successors and assigns, in connection with its prepetition factoring
       agreement with Borrower.

provided, that the term “Permitted Encumbrances” shall not include any Lien securing
Indebtedness other than as specifically provided in (b) and (c) above.

       “Person” means any individual, sole proprietorship, partnership, joint venture, trust,
unincorporated organization, association, corporation, limited liability company, institution,
public benefit corporation, other entity or Governmental Authority.

       “Petition Date” has the meaning set forth in the recitals of this Agreement.

        “Prepetition Collateral Agent” means Empery Tax Efficient, LP, in its capacity as collateral
agent for the Prepetition Purchasers.

        “Prepetition Note Liens” means the liens and security interests granted to secure the
Prepetition Notes.

       “Prepetition Notes” means those certain Original Issue Discount Senior Secured Notes
dated as of October 13, 2021 (as amended, restated, supplemented or otherwise modified from
time to time) and Original Issue Discount Senior Secured Notes dated as of June 10, 2022 (as
amended, restated, supplemented or otherwise modified from time to time), in each case issued by
Borrower, which Prepetition Notes are described in further detail on Schedule III hereto.

        “Prepetition Purchasers” means the holders of the Prepetition Notes as described in further
detail on Schedule III hereto.

        “Prepetition Secured Parties” means collectively, the Prepetition Purchasers and the
Prepetition Collateral Agent.

       “Prestige” means Prestige Capital Finance, LLC.

       “Primary DIP Issuance” means an amount up to One Million Seven Hundred Fifty
Thousand Dollars ($1,750,000.00) of the unfunded Aggregate DIP Note Purchase Commitment,
to be made available in one or more issuances in accordance with the Authorized Budget and the
terms and conditions of this Agreement on or after the Final Closing Date.

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       “pro rata share” means, at any time for any DIP Note Purchaser, the ratio at such time that
such DIP Note Purchaser’s Commitment bears to the Aggregate DIP Note Purchase Commitment
which, as of the date hereof, is set forth on Schedule II hereto. If the DIP Note Purchase
Commitment of any DIP Note Purchaser has been terminated, the pro rata share of such DIP Note
Purchaser will be calculated with respect to the DIP Notes of such DIP Note Purchaser outstanding
immediately prior to such DIP Note Purchase Commitment termination.

        “Proposed Budget” means a thirteen-week reasonably detailed forecast of Borrower
commencing with the week in which the Petition Date occurs, setting forth on a line-item basis the
projected cash receipts and disbursements on a weekly basis and shall include separate line items
for each of the Borrower’s Professionals and the Creditors Committee’s Professionals, prepared
by the Borrower and submitted to the DIP Note Agent for its consent, and which budget shall be
updated on the one-week anniversary of the Second Interim DIP Order and every four weeks on
Wednesday (commencing with the Wednesday of the fourth full week commencing after the one-
week anniversary of the Second Interim DIP Order).

        “Restricted Payment” means any dividend or other distribution (whether in cash, securities
or other property) with respect to any Equity Interests in Borrower, or any payment (whether in
cash, securities or other property), including any distributions of cash in order to pay management
fees or taxes attributable to the income of Borrower or any of its subsidiaries, and including any
sinking fund or similar deposit, on account of the purchase, redemption, retirement, acquisition,
cancellation or termination of any such Equity Interests in Borrower or any option, warrant or
other right to acquire any such Equity Interests in Borrower.

         “Roll-Up Amount” means up to Four Million Five Hundred Thousand Dollars
($4,500,000) of principal due under the Prepetition Notes which shall be deemed to be Obligations
under the DIP Note Facility, in a principal amount equal to $1.00 of the Prepetition Notes principal
amount outstanding for each $1.00 drawn under the DIP Note Facility (exclusive of any DIP
Inventory Acquisition Line Advance), subject to a Disallowed Claim during the Challenge Period,
in which case if the Allowed Claim, after being reduced by the amount of the Disallowed Claim,
is less than the Roll-Up Amount, then the Roll-Up Amount shall be reduced such that the Roll-Up
Amount equals the Allowed Claim.

       “Sale Transaction” means a sale under Section 363 of the Bankruptcy Code.

       “Scheduled Preexisting Indebtedness” means that certain secured Indebtedness specifically
and solely to the extent as set forth on Schedule V hereto which was preexisting as of the date of
this Agreement.

        “Scheduled Preexisting Liens” means those certain Liens specifically and solely to the
extent as set forth on Schedule VI hereto which were preexisting as of the date of this Agreement.

       “Second Interim DIP Order” means the Second Interim Order Pursuant to Emergency
Motion for Interim and Final Orders Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, and 364 and
Fed. R. Bankr. P. 4001(B) and 4001(D): (I) Authorizing the Debtor to Obtain Post-Petition
Financing, (II) Granting Priming Liens and Administrative Expense Claims, (III) Determining
Adequate Protection, (IV) Modifying the Automatic Stay, and (V) Granting Related Relief [ECF

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No. 139] of the Bankruptcy Court entered in the Chapter 11 Case on January 23, 2023, approving
the terms set forth in the term sheet presented by Borrower to the Bankruptcy Court for hearing on
the DIP Note Facility and DIP Factoring Facility and authorizing up to Seven Hundred Fifty
Thousand Dollars ($750,000) to be made available in one or more issuances of the DIP Notes and
up to Ten Million Dollars ($10,000,000) under the DIP Factoring Facility, with up to Two Million
Dollars ($2,000,000) of the Ten Million Dollars ($10,000,000) available for the purchase of
purchase orders during the Interim Period and the relief provided for thereunder, together with all
extensions, modifications and amendments thereto, which, among other matters but not by way of
limitation, authorizes Borrower to obtain credit, incur and guaranty debt, grant senior Liens and
provide for the super priority administrative claim status of the DIP Note Purchasers’ claims under
this Agreement; provided such order has not been stayed or modified (without the consent of the
DIP Note Agent).

       “Section 541 Proceeds” means the proceeds of the DIP Collateral constituting causes of
action which are property of the estate under Section 541 of the Bankruptcy Code owned by
Borrower.

       “Test Date” means the last day of each calendar month commencing on the Initial Test
Date through November 30, 2023.

       2.      DIP Note Purchase Facility.

       (a)     DIP Note Purchase.

               (i)     Subject to all of the terms and conditions of this Agreement and the
       Bankruptcy Orders, each DIP Note Purchaser severally agrees to purchase from Borrower
       DIP Notes in an aggregate amount not to exceed its DIP Note Purchase Commitment.
       Upon the entry of the Second Interim DIP Order, Borrower shall be entitled, subject to the
       terms and conditions of this Agreement, to the issuance of DIP Notes in an amount at any
       time outstanding not to exceed the lesser of the amount permitted by the Second Interim
       DIP Order and the Interim DIP Issuance. Upon the entry of the Final Order, Borrower
       shall be entitled, subject to the terms and conditions of this Agreement, to the issuance of
       DIP Notes in an amount at any time outstanding not to exceed the lesser of the amount
       permitted by the Final Order and the Aggregate DIP Note Purchase Commitment. Any
       amounts repaid under the DIP Note Facility, other than the DIP Inventory Acquisition Line
       of Credit, may not be reissued or repurchased. The DIP Note Purchase Commitments to
       purchase hereunder shall expire on the Maturity Date or as otherwise provided herein.

              (ii)    The purchase of the DIP Notes shall be made ratably by the DIP Note
       Purchasers in accordance with their respective pro rata shares.

                (iii) Subject to the prior satisfaction of all other applicable conditions to the
       issuance and purchase of the DIP Notes set forth in this Agreement, to issue a DIP Note,
       Borrower shall notify the DIP Note Agent (which notice shall be irrevocable), by delivering
       to it a written notice in the form attached hereto as Exhibit B (a “Notice of Note Issuance”)
       not less than three (3) Business Days prior to the proposed date of issuance of the DIP
       Note. Immediately upon receipt of any Notice of Note Issuance, the DIP Note Agent shall

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   confirm receipt of such Notice of Note Issuance by each of the DIP Note Purchasers. DIP
   Note Purchasers will fund the purchase of the DIP Notes by wire transfer to the DIP Note
   Disbursement Account. To the extent the DIP Note Purchasers provide funds to the DIP
   Note Agent, the DIP Note Agent will make the funds so received from the DIP Note
   Purchasers available to Borrower for the DIP Note purchases by wire transfer to the DIP
   Note Disbursement Account. Notwithstanding anything in this Agreement to the contrary,
   Borrower may not issue DIP Notes other than at such times and in such amounts reflected
   in the Authorized Budget.

          (iv)    Subject to the prior satisfaction of all applicable conditions to the Additional
   DIP Issuance, including without limitation, Section 4(c), the DIP Note Purchasers shall
   purchase DIP Notes in the amount of $500,000 of the Additional DIP Issuance on the Initial
   Additional DIP Issuance Funding Date, and the DIP Note Purchasers shall purchase DIP
   Notes in the amount of $250,000 of the Additional DIP Issuance on each subsequent
   Additional DIP Issuance Funding Date. Additionally, upon receipt of a Sale Transaction
   Notice, $500,000 of the Additional DIP Issuance shall be made available to Borrower to
   fund Borrower and the Borrower Professionals through the completion of a Sale
   Transaction, with $190,000 of such $500,000 Additional DIP Issuance to be earmarked to
   pay such fees, costs and expenses of the Borrower Professionals and the Creditors
   Committee Professionals incurred after the delivery of a Sale Transaction Notice to the
   extent Borrower does not have funds to otherwise pay such fees, costs and expenses. Such
   fees, costs and expenses of the Borrower Professionals and the Creditors Committee
   Professionals shall not be paid until completion of a Sale Transaction.

           (v)   The DIP Note Agent shall record on its books the principal amount of the
   DIP Notes owing to each DIP Note Purchaser from time to time. In addition, each DIP
   Note Purchaser is authorized, at such DIP Note Purchaser’s option, to note the date and
   amount of each payment or prepayment of principal of such DIP Note Purchaser’s DIP
   Note in its books and records, including computer records, such books and records
   constituting presumptive evidence, absent manifest error, of the accuracy of the
   information contained therein.

   (b)    Interest.

           (i)    The DIP Notes (inclusive of the DIP Inventory Acquisition Line Advances)
   issued in accordance with this Agreement shall bear interest from the date of issuance until
   the date of repayment by maturity, acceleration or otherwise. Interest shall accrue on the
   principal balance of the DIP Notes from time to time outstanding hereunder at the Interest
   Rate.

           (ii)  Interest on the DIP Notes shall accrue based on a year of 360 days and actual
   days elapsed. All accrued and outstanding interest will be due and payable on the Maturity
   Date. In addition, on any partial or complete payment or prepayment of principal of the
   DIP Notes, Borrower shall pay in cash the accrued and unpaid interest on any portion of
   the DIP Notes so paid or prepaid.



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           (iii) Upon the occurrence and during the continuance of an Event of Default, the
   outstanding principal amount of the DIP Notes (and any accrued but unpaid interest) shall
   bear interest at the Interest Rate plus 2.0% per annum, computed as provided above and
   payable in immediately available funds on demand.

        (iv)    In no event shall the interest rate under this paragraph (b) exceed the
   maximum rate permitted under applicable law.

   (c)    Inventory Acquisition Financing.

            (i)    Borrower may submit a Notice of Note Issuance for each advance of funds
   requested by Borrower under the DIP Inventory Acquisition Line of Credit, with such
   request to include a list of the amounts of all inventory being purchased consistent and in
   accordance with the Authorized Budget. The DIP Notes issued under the DIP Inventory
   Acquisition Line of Credit may be reissued and repurchased, on a revolving basis, provided
   all the terms and conditions of this Agreement have been satisfied, and further provided,
   that the aggregate DIP Inventory Acquisition Line Advances outstanding at the time
   Borrower submits its Notice of Note Issuance, together with the requested amount of the
   DIP Inventory Acquisition Line Advance, does not exceed the amount of the DIP Inventory
   Acquisition Line of Credit.

            (ii)   In the event of a cessation of the Borrower’s business whereby Borrower is
   no longer actively pursuing ongoing sales, DIP Note Agent, on behalf of the DIP Inventory
   Acquisition Line of Credit Purchasers, shall have the right, without further order of the
   Bankruptcy Court, after ten (10) days prior written notice to Borrower and the Creditors’
   Committee (the “DIP Inventory Acquisition Line of Credit Purchasers Financed Inventory
   Sale Notice Period”), to sell the DIP Inventory Acquisition Line of Credit Purchasers
   Financed Inventory at a cost determined by DIP Note Agent in its sole discretion pursuant
   to this Section 2(c)(ii), but in accordance with the requirements of Article 9 of the Uniform
   Commercial Code. DIP Note Agent, on behalf of the DIP Inventory Acquisition Line of
   Credit Purchasers, shall have the right, without further order of the Bankruptcy Court, after
   providing written notice to the Borrower and the expiration of the applicable DIP Inventory
   Acquisition Line of Credit Purchasers Financed Inventory Sale Notice Period, to sell such
   DIP Inventory Acquisition Line of Credit Purchasers Financed Inventory pursuant to this
   Section 2(c)(ii) and pursuant to Article 9 of the Uniform Commercial Code. DIP Note
   Agent may use the Borrower’s brand name(s), trademark(s), or trade name(s) and the like,
   directly and only related to the liquidation of such DIP Inventory Acquisition Line of Credit
   Purchasers Financed Inventory unless, within such DIP Inventory Acquisition Line of
   Credit Purchasers Financed Inventory Sale Notice Period, the Borrower notifies the DIP
   Note Agent in writing that the Borrower will pay off and satisfy in full the outstanding
   principal balance, together with all accrued and unpaid interest thereon, of the DIP
   Inventory Acquisition Line of Credit (the “Borrower DIP Inventory Acquisition Line of
   Credit Payoff Notice”). Borrower shall pay as the DIP Note Agent directs the outstanding
   principal balance of the DIP Inventory Acquisition Line of Credit, together with all accrued
   and unpaid interest thereon, within five (5) Business Days after delivery of the Borrower
   DIP Inventory Acquisition Line of Credit Payoff Notice. If Borrower fails to make such
   payment, the DIP Note Agent, on behalf of the DIP Inventory Acquisition Line of Credit

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       Purchasers, may proceed to sell such DIP Inventory Acquisition Line of Credit Purchasers
       Financed Inventory pursuant to this Section 2(c)(ii) and Article 9 of the Uniform
       Commercial Code.

                (iii) JW, an unsecured creditor and existing inventory supplier to the Borrower,
       shall have the right to, at its own cost and expense, after the entry of the Final Order, create
       inventory for the Borrower’s business, operations and sale, which inventory shall be held
       and deemed owned by JW until purchased by Borrower (the “JW Financed Inventory”).
       In the event of a cessation of the Borrower’s business whereby Borrower is no longer
       actively pursuing ongoing sales, JW shall have the right, without further order of the
       Bankruptcy Court, after ten (10) days prior written notice to the Borrower, the Creditors’
       Committee and the DIP Note Agent (the “JW Financed Inventory Sale Notice Period”), to
       sell the JW Financed Inventory pursuant to this Section 2(c)(iii) unless, within the JW
       Financed Inventory Sale Notice Period, Borrower or the DIP Note Agent notifies JW in
       writing that Borrower or the DIP Note Purchasers will purchase such inventory at the JW
       Financed Inventory Cost. For JW Financed Inventory that was produced by JW at the
       request of the Borrower that has been held by JW in excess of four (4) months, JW shall
       have the right, without further order of the Bankruptcy Court, after providing written notice
       to the Borrower and the DIP Note Agent and the expiration of the applicable JW Financed
       Inventory Sale Notice Period, to sell such JW Financed Inventory pursuant to this Section
       2(c)(iii) unless, within the JW Financed Inventory Sale Notice Period, Borrower or the DIP
       Note Agent notifies JW in writing that Borrower or the DIP Note Purchasers will purchase
       such inventory at the JW Financed Inventory Cost. JW may use the Borrower’s brand
       name(s), trademark(s), or trade name(s) and the like, directly and only related to the
       liquidation of such JW Financed Inventory pursuant to this Section 2(c)(iii). For purposes
       of this Agreement, the term “JW Financed Inventory Cost” shall mean JW’s fully loaded
       cost, including cost of storing product, based on the current pricing to the Borrower as of
       the most recent quarterly quoted price between JW and the Borrower.

              (iv)  In the event of a Sale Transaction, the purchaser shall either (1) buy the JW
       Financed Inventory from JW at the JW Financed Inventory Cost, or (2) allow JW to sell
       the JW Financed Inventory on the terms set forth in Section 2(c)(iii).

        (d)     Defaulting DIP Note Purchaser. Notwithstanding anything to the contrary
contained in this Agreement, if any DIP Note Purchaser becomes a Defaulting DIP Note Purchaser,
then, until such time as such DIP Note Purchaser is no longer a Defaulting DIP Note Purchaser (or
to the extent permitted by applicable law):

              (i)    Such Defaulting DIP Note Purchaser shall have no right to approve or
       disapprove any amendment, waiver or consent with respect to this Agreement.

              (ii)   The remaining DIP Note Purchasers shall have the right to purchase and
       fund the Defaulting DIP Note Purchaser’s pro-rata share of any Interim DIP Issuance,
       Primary DIP Issuance, Additional DIP Issuance, or DIP Inventory Acquisition Line
       Advance, as applicable, on a pro-rata basis (the “Defaulting DIP Note Purchaser’s Pro-
       Rata Share”).


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           (iii) The payment waterfall set forth in Section 3(c) below shall be modified such
   that the Defaulting DIP Note Purchaser shall not participate in any payments received and
   the Defaulting DIP Note Purchaser’s pro-rata share of payments received from Borrower
   shall be paid on a pro-rata basis to the remaining DIP Note Purchasers who purchased and
   funded the Defaulting DIP Note Purchaser’s Pro-Rata Share. Further notwithstanding
   anything to the contrary contained in this Agreement, no Defaulting DIP Note Purchaser
   shall be entitled to participate in the receipt of payments under the payment waterfall set
   forth in Section 3(c) below, until (A) such Defaulting DIP Note Purchaser is no longer a
   Defaulting DIP Note Purchaser, and (B) the remaining DIP Note Purchasers who funded
   the Defaulting DIP Note Purchaser’s Pro-Rata Share pursuant to Section 2(d)(ii) above
   have been repaid in full, including for such funding of Defaulting DIP Note Purchaser’s
   Pro-Rata Share and repayment of their pro-rata share of the Roll-Up Amount.

   3.     Payment Generally.

   (a)    Payments.

           (i)    DIP Inventory Acquisition Line of Credit. Borrower shall repay each DIP
   Inventory Acquisition Line Advance made to Borrower, together with all outstanding
   accrued interest thereon, at such time as Borrower sells or otherwise disposes of the specific
   DIP Inventory Acquisition Line of Credit Purchasers Financed Inventory, in whole or in
   part, acquired by such DIP Inventory Acquisition Line Advance. Such payment shall be
   made by Borrower as directed by the DIP Note Agent on the date of the sale or disposition
   of the DIP Inventory Acquisition Line of Credit Purchasers Financed Inventory. Upon the
   receipt of such payment, the DIP Note Agent shall cause the release of DIP Inventory
   Acquisition Line of Credit Purchasers Financed Inventory Lien on such DIP Inventory
   Acquisition Line of Credit Purchasers Financed Inventory sold.

           (ii)   At Maturity. Borrower shall repay in full in cash on the Maturity Date the
   outstanding principal amount of the DIP Notes, together with all accrued and unpaid
   interest on such principal amount, and all other Obligations.

           (iii) Voluntary Prepayments. Borrower may, from time to time, optionally
   prepay, in full or in part, without penalty or premium, the DIP Notes upon not less than
   three (3) Business Day’s prior written notice from Borrower to the DIP Note Agent and
   the DIP Note Purchasers; provided, however, any such prepayment or repayment of the
   DIP Notes must be on a pro rata basis.

           (iv)    Mandatory Prepayments. Mandatory prepayments of the DIP Notes and a
   permanent reduction of the DIP Note Facility shall be required, without penalty or
   premium, in an amount equal to (i) 100% of the net cash proceeds of the sale or other
   disposition of any property or assets of the Note Parties or any of their respective
   subsidiaries, except for any such sales of inventory in the ordinary course of Borrower’s
   business or other de minimis sales, (ii) 100% of insurance and condemnation proceeds and
   tax refunds, in each case received by Note Parties or any of their respective subsidiaries,
   and (iii) 100% of the net cash proceeds of any Indebtedness incurred by the Note Parties
   or any of their respective subsidiaries after the Interim DIP Order (other than indebtedness

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       otherwise permitted under the DIP Documents), up to the outstanding amount of the DIP
       Note Facility, payable no later than two (2) Business Days after receipt. If the foregoing
       proceeds exceed the outstanding balance of the DIP Note Facility at the time they are
       received by Borrower, then any excess proceeds after the mandatory repayment of the DIP
       Notes is made shall be returned to Borrower. The foregoing mandatory repayments will
       result in a permanent reduction of the DIP Note Facility, and nothing herein shall constitute
       an assent to any proposed asset sale.

       (b)     Method of Payment. All payments hereunder, including without limitation all
payments of principal of and interest on the DIP Notes, shall be made in immediately available
funds, without set-off, deduction or counterclaim, by one or more wire transfer to such account or
accounts as directed by the DIP Note Agent. All payments shall be applied in the manner set forth
in Section 3(c) below. Whenever any payment hereunder becomes due on a day other than a
Business Day, such payment shall be made on the next succeeding Business Day and such
extension of time shall be included in the computation of the interest due.

       (c)     Payment Waterfall.

               (i)     All payments received from Borrower and all proceeds of DIP Collateral,
       other than the DIP Inventory Acquisition Line of Credit Purchasers Financed Inventory
       Proceeds and the Section 541 Proceeds and subject to any payments made in accordance
       with the lien priorities described in Schedule IVhereto, shall be applied as follows:

                      (A)     First, to the payment of accrued and unpaid interest on the DIP Notes
               on a pro-rata basis;

                     (B)     Second, to the payment of the principal amount outstanding on the
               DIP Notes until paid in full on a pro-rata basis; and

                      (C)    Third, to the payment of all other amounts owing to the DIP Note
               Purchasers hereunder and under the other DIP Documents on a pro rata basis.

              (ii)   All proceeds of the DIP Inventory Acquisition Line of Credit Purchasers
       Financed Inventory Proceeds shall be applied as follows:

                      (A)     First, to the payment of accrued and unpaid interest on the DIP
               Inventory Acquisition Line of Credit Advances to the DIP Inventory Acquisition
               Line of Credit Purchasers on a pro-rata basis;

                      (B)      Second, to the payment of the principal amount outstanding on the
               DIP Inventory Acquisition Line of Credit until the DIP Inventory Acquisition Line
               of Credit is paid in full, to the DIP Inventory Acquisition Line of Credit Purchasers
               on a pro-rata basis; and

                     (C)      Third, to the payment of the amounts set forth in the Authorized
               Budget.



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               (iii) All proceeds of the Section 541 Proceeds shall be applied pari-passu to (i)
       the Bankruptcy Court approved fees and costs of the Borrower’s Professionals and the
       Creditors Committee’s Professionals, respectively, not to exceed the amounts set forth in
       the Authorized Budget for each of the Borrower’s Professionals and the Creditors
       Committee’s Professionals, to the extent not otherwise satisfied by the Carve-Out, and (ii)
       the outstanding amount due under the DIP Note Facility (exclusive of the DIP Inventory
       Acquisition Line of Credit), the DIP Factoring Facility and the DIP Inventory Acquisition
       Line of Credit, respectively; with any remaining proceeds after payment in full of (i) and
       (ii) above, being paid to the Borrower’s bankruptcy estate.

       4.      Conditions.

        (a)    Conditions to Effectiveness and Interim DIP Issuance. This Agreement shall
become effective as of the date first above written upon, and the obligation of each DIP Note
Purchaser to make its pro rata share of the Interim DIP Issuance is subject to, satisfaction of each
of the following (unless otherwise waived by the DIP Note Purchasers):

              (i)     Approvals. The DIP Note Purchasers shall have received satisfactory
       evidence that Borrower has obtained all required consents and approvals of all Persons,
       including all requisite Governmental Authorities, in connection with the filing of the
       Chapter 11 Case, and there shall not be any pending or threatened litigation, governmental,
       administrative or judicial action that could reasonably be expected to restrain, prevent or
       impose burdensome conditions on the transactions contemplated hereby.

              (ii)   Second Interim DIP Order. On or prior to the date of this Agreement, the
       Second Interim DIP Order, in form and substance satisfactory to the DIP Note Agent, was
       entered by the Bankruptcy Court and shall not have been vacated, reversed, modified,
       amended or stayed in any manner adverse to the DIP Note Purchasers or DIP Factoring
       Purchasers without the written consent of the DIP Note Agent, or to the extent adversely
       and disproportionately affecting any particular DIP Note Purchaser or DIP Factoring
       Purchaser, such adversely affected DIP Note Purchaser or DIP Factoring Purchaser.

               (iii) Automatic Stay. The automatic stay shall have been modified to permit the
       creation and perfection of the DIP Note Purchasers’ Liens and security interests, as more
       fully set forth in the Second Interim DIP Order.

               (iv)   Orders. All “first day orders” and “second day orders” and any final
       versions thereof sought to be entered by any of Borrower shall be in form and substance
       satisfactory to the DIP Note Agent, including without limitation, any such orders
       permitting the payment by Issuer and its subsidiaries of any prepetition amounts then (or
       thereafter becoming) due and owing.

               (v)      Liens. Upon the entry of the Second DIP Order, the DIP Note Agent shall,
       for the benefit of the DIP Note Purchasers, have valid, binding, enforceable, non-avoidable,
       and automatically and properly perfected liens on the DIP Collateral to the extent set forth
       in the Second Interim DIP Order, subject to the priorities described in Schedule IVhereto,



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       and all filing and recording fees and taxes with respect to such liens and security interests
       that are then due and payable shall have been duly paid.

              (vi)    Deliveries. The DIP Note Agent and the DIP Note Purchasers shall have
       received the following supporting documents with respect to Borrower:

                      (A)    a copy of its articles of incorporation certified as of a date within
              thirty (30) days of the Final Closing Date, to be a true and accurate copy by the
              Secretary of State of Nevada;

                      (B)     a certificate of the Secretary of State of Nevada, dated as of a date
              within thirty (30) days of the Final Closing Date, to its existence and (if available)
              good standing;

                     (C)    a copy of its bylaws, certified by its secretary, to be a true and
              accurate copy of its bylaws in effect on the Final Closing Date;

                      (D)       true and correct copies of the corporate resolutions, duly adopted,
              approved or otherwise delivered by the directors, officers and shareholders (to the
              extent necessary and applicable), each of which is certified to have been and will
              be in full force and effect on the Interim Closing Date and the Final Closing Date,
              as applicable, authorizing the execution and delivery by the Borrower of this
              Agreement and any other DIP Documents delivered on the Interim Closing Date
              and the Final Closing Date, as applicable to which it is a party and the performance
              by it of all its obligations thereunder; and

                     (E)     such additional supporting documents and other information with
              respect to its operations and affairs as the DIP Note Agent or any DIP Note
              Purchaser may reasonably request.

              (vii) Miscellaneous. Delivery of such other DIP Documents (including a deposit
       account control agreement for the DIP Note Disbursement Account) as the DIP Note Agent
       may require evidencing the Liens on the DIP Collateral and customary closing deliverables.

       (b)     Conditions to Each Primary DIP Issuance, Additional DIP Issuance and DIP
Inventory Acquisition Line Advance. The obligation of each DIP Note Purchaser to purchase its
pro rata share of DIP Notes for the Primary DIP Issuance, Additional DIP Issuance and DIP
Inventory Acquisition Line Advance is subject to satisfaction of each of the following (unless
otherwise waived by the DIP Note Purchasers):

               (i)    Interim DIP Orders. The Interim DIP Orders shall not have been vacated,
       reversed, modified, amended or stayed in any manner adverse to the DIP Note Purchasers
       or DIP Factoring Purchasers without the written consent of the DIP Note Agent, or to the
       extent adversely and disproportionately affecting any particular DIP Note Purchaser or DIP
       Factoring Purchaser, such adversely affected DIP Note Purchaser or DIP Factoring
       Purchaser.



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               (ii)   Final Order. On or prior to February 21, 2023 (unless waived by the DIP
       Note Agent), the Final Order, in form and substance satisfactory to the DIP Note Agent
       shall have been entered by the Bankruptcy Court and shall not have been vacated, reversed,
       modified, amended or stayed in any manner adverse to the DIP Note Purchasers or DIP
       Factoring Purchasers without the written consent of the DIP Note Agent, or to the extent
       adversely and disproportionately affecting any particular DIP Note Purchaser or DIP
       Factoring Purchaser, such adversely affected DIP Note Purchaser or DIP Factoring
       Purchaser.

               (iii) Automatic Stay. The automatic stay shall have been modified to permit the
       creation and perfection of the DIP Note Purchasers’ Liens and security interests, as more
       fully set forth in the Final Order.

               (iv)   Liens. Upon the entry of the Final Order, the DIP Note Agent shall, for the
       benefit of the DIP Note Purchasers, have valid, binding, enforceable, non-avoidable, and
       automatically and properly perfected liens on the DIP Collateral to the extent set forth in
       the Final Order, subject to the priorities described in Schedule IVhereto, and all filing and
       recording fees and taxes with respect to such liens and security interests that are then due
       and payable shall have been duly paid.

              (v)     No Default. No Default or Event of Default has occurred and is continuing
       or would result after giving effect to the DIP Note Purchase.

             (vi)    Representations and Warranties. Each representation and warranty by
       Borrower set forth in this Agreement is true and correct in all respects.

               (vii) Insurance. DIP Note Agent shall be reasonably satisfied with the amount,
       types and terms and conditions of all insurance and bonding maintained by Borrower and
       its subsidiaries. DIP Note Agent shall receive endorsements naming DIP Note Agent as an
       additional insured and loss payee under all insurance policies to be maintained with respect
       to the properties of Borrower and its subsidiaries forming part of the DIP Collateral.

               (viii) Note Issuance Request. The DIP Note Agent and the DIP Note Purchasers
       shall have received a Notice of Note Issuance.

              (ix)   Authorized Budget. Following the one-week anniversary of the Second
       Interim DIP Order, all issuances of DIP Notes shall be made subject to and in accordance
       with the Authorized Budget, as updated pursuant to the terms of this Agreement.

Issuance by Borrower of any DIP Note shall be deemed to constitute a representation and warranty
by Borrower on the date thereof as to satisfaction of each of the conditions specified in this Section
4(b).

        (c)    Additional Conditions to Each Additional DIP Issuance. The obligation of each
DIP Note Purchaser to purchase its pro rata share of DIP Notes for the Additional DIP Issuance is
further subject to satisfaction of each of the additional following requirements (unless otherwise
waived by the DIP Note Agent):


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              (i)     Monthly Basis. Funding of the Additional DIP Issuance shall be made
       available on a monthly basis commencing on the Initial Additional DIP Issuance Funding
       Date in accordance with the Authorized Budget and upon satisfaction of all terms and
       conditions of this Agreement after the Final Closing Date.

               (ii)    Positive EBITDA.

                       (A)    If on the Initial Test Date, the Authorized Budget forecasts that the
               next following calendar month, June 2023, Borrower will have positive EBITDA
               in such following calendar month and in the following three (3) months, in the
               aggregate, then on the Initial Additional DIP Issuance Funding Date, the DIP Note
               Purchasers shall purchase DIP Notes in the amount of $500,000 of the Additional
               DIP Issuance.

                       (B)    If on each succeeding Test Date after the Initial Test Date, Borrower
               had a positive EBITDA for the month ending on such Test Date and the Authorized
               Budget forecasts that the next following calendar month, Borrower will have
               positive EBITDA in such following calendar month, then on each applicable
               succeeding Additional DIP Issuance Funding Date, the DIP Note Purchasers shall
               purchase DIP Notes in the amount of $250,000 of the Additional DIP Issuance.

        5.     Representations and Warranties. Borrower hereby represents and warrants to each
DIP Note Purchaser, as of the date hereof, the date of any Notice of Note Issuance and as of the
date of the purchasing of any DIP Note, that:

       (a)      Existence. Borrower is duly organized, validly existing and in good standing under
the laws of the jurisdiction of its incorporation.

       (b)     Power and Authority. Subject to the entry of the Interim DIP Orders and Final
Order, as applicable, by the Bankruptcy Court, Borrower has (i) the power and authority and (ii) all
governmental licenses, authorizations, consents and approvals to own its assets, carry on its
business and execute, deliver, and perform its obligations under this Agreement and the other DIP
Documents.

         (c)    No Conflict. Subject to the entry of the Interim DIP Orders and Final Order, as
applicable, by the Bankruptcy Court, the execution, delivery and performance by Borrower of this
Agreement and the other DIP Documents has been duly authorized by all necessary action on the
part of such Borrower, and does not and will not (i) contravene the terms of any of such Borrower’s
corporate documents, (ii) violate, conflict with or result in any material breach or contravention
of, or result in the creation of any Lien under, any indenture, agreement and other instrument
binding upon it or its property the effect of which has not been stayed by the automatic stay or the
Bankruptcy Court or (iii) violate or conflict with any law, regulation or order of any Governmental
Authority applicable to it or its property.

       (d)     Governmental Authorization. Other than the entry of the Second Interim DIP Order
and Final Order, as applicable, by the Bankruptcy Court, no approval, consent, exemption, or
authorization of, or other action by, or notice to, or filing, declaration, recording or registration


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with, any Governmental Authority is necessary or required in connection with the execution,
delivery or performance by, or enforcement against, Borrower of this Agreement.

        (e)     Due Execution; Binding Effect. Each of this Agreement and the other DIP
Documents have been (or upon execution and delivery will be) duly executed and delivered by
Borrower. Subject to the entry of the Second Interim DIP Order and Final Order, as applicable,
by the Bankruptcy Court, each of this Agreement and the other DIP Documents constitutes the
legal, valid and binding obligation of Borrower, enforceable against such Borrower in accordance
with its terms, except as enforceability may be limited by applicable bankruptcy, insolvency, or
similar laws affecting the enforcement of creditors’ rights generally or by equitable principles
relating to enforceability.

       (f)     No Default. No Default or Event of Default has occurred and is continuing.

        (g)    Budget. To the best information and belief of Borrower, the Authorized Budget
attached hereto as Exhibit A and all projected consolidated balance sheets, income statements and
cash flow statements of Borrower in connection with a Proposed Budget delivered to the DIP Note
Agent and/or the DIP Note Purchasers pursuant to Section 6(a)(ii) reasonably presents (or will
present), in all material respects, on a pro forma basis, the projected cash receipts and
disbursements of Borrower for the period specified therein and such projections, in the reasonable
view of the Independent Director of Borrower, are (or will be) reasonably achievable based upon
reasonable assumptions and other information available to Borrower as of the date hereof (or
thereof).

         (h)     Disclosure. To the best information and knowledge of Borrower, no representation
or warranty by Borrower in this Agreement or in any other DIP Document and no certificate,
schedule, exhibit, report or other document provided or to be provided by Borrower in connection
with the transactions contemplated hereby or thereby (including, without limitation, the
negotiation of and compliance with the DIP Documents) contains any untrue statement of a
material fact, or omits to state a material fact necessary to make the statements contained therein,
in light of the circumstances in which they are made, not misleading.

         (i)     Chapter 11 Case Matters. Pursuant to and to the extent permitted in the Second
Interim DIP Order and Final Order, as applicable, the Obligations will constitute allowed super-
priority administrative expense claims in the Chapter 11 Case having priority above all other
administrative expense claims (other than the Carve-Out (as defined in the Final Order)) as set
forth in the Final Order. After the entry of the Second Interim DIP Order and Final Order, as
applicable, the Obligations will be secured by a valid and perfected, enforceable and unavoidable
first priority Lien on the DIP Collateral as more fully set forth in the Second Interim DIP Order
and Final Order, as applicable. The Second Interim DIP Order and Final Order, as applicable, is
in full force and effect and has not been reversed, stayed, modified or amended without the prior
written consent of the DIP Note Agent. Subject to the Second Interim DIP Order and Final Order,
as applicable, notwithstanding the provisions of Section 362 of the Bankruptcy Code, upon the
maturity (whether by acceleration or otherwise) of any of the Obligations, the DIP Note Agent and
the DIP Note Purchasers shall be entitled to immediate payment of such Obligations and to enforce
the remedies provided for hereunder and under applicable law, without further application to or
order by the Bankruptcy Court, as more fully set forth in the Final Order.

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       (j)     Resignations. Prior to the effective date of this Agreement, Ryan Drexler resigned
from all offices of Borrower and from the board of directors of Borrower, and Eric Hillman was
appointed as the Chief Executive Officer of Borrower.

        (k)     Interim DIP Issuance Use of Proceeds. Following the First Interim Order, the initial
$150,000 of proceeds from the Interim DIP Issuance was approved for use by the Borrower to pay
for only those reasonable expenses associated with: (i) payroll; (ii) insurance; (iii) product labeling;
and (iv) other reasonable and necessary operational expenses. Pursuant to the First Interim Order,
as of January 13, 2023, the DIP Note Purchaser has advanced $131,296.31 of the Interim DIP
Issuance and as of the date of this Agreement, the DIP Note Purchaser has advanced $750,000.00
of the Interim DIP Issuance to fund the specific requests of Borrower.

       (l)     Board of Directors.

               (i)    Interim Board of Directors. The board of directors of the Borrower as of
       the Petition Date shall have resigned and the Interim Board of Directors shall have been
       appointed and shall have served as the board of directors of Borrower through the date the
       Second Interim DIP Order was entered by the Bankruptcy Court.

              (ii)    Independent Director. Upon entry of the Second Interim DIP Order by the
       Bankruptcy Court, or sooner, the Independent Director shall be Nicolas Rubin, with sole
       and exclusive responsibility for the Borrower for the following:

                     (A)       Protect and recover the assets of Borrower, including determine
               whether it is in the best interest of Borrower to reorganize under Section 1129 of
               the Bankruptcy Code, or sell its assets in accordance with Section 363 of the
               Bankruptcy Code;

                      (B)     Review and approve the ultimate debtor-in-possession financing
               incurred by the bankruptcy estate, as negotiated by the Borrower’s restructuring
               professionals, which will be approved as part of the Final Order;

                       (C)  Except as otherwise provided in this Agreement, investigate and
               determine which estate causes of action, if any, should be pursued, prosecuted, or
               settled; and

                       (D)     Maximize value for all stakeholders.

      6.       Covenants. Borrower hereby covenants and agrees that from the date hereof until
payment in full of all the Obligations and termination of all DIP Note Purchase Commitments that:

       (a)     Reporting.

              (i)     Bankruptcy Matters. Borrower shall provide to the DIP Note Agent and the
       Creditors’ Committee, copies of all projections or other information respecting Borrower’s
       business or financial condition, provided by or to the U.S. Trustee (or any monitor or
       interim receiver, if any, appointed in the Chapter 11 Cases) or any creditors’ committee, at


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   the time such document is provided by or to the U.S. Trustee (or any monitor or interim
   receiver, if any appointed in the Chapter 11 Cases) or such committee.

           (ii)    Proposed Budget. Every four weeks on Wednesday commencing with the
   Wednesday of the fourth full week commencing after the one-week anniversary of the
   Second Interim DIP Order, Borrower shall prepare and deliver to the DIP Note Agent, the
   DIP Factoring Agent and the Creditors’ Committee for review, and for DIP Note Agent’s
   consent, in DIP Note Agent’s sole but reasonable discretion, a Proposed Budget updating
   the Authorized Budget then in effect at such time. At such time that such Proposed Budget
   is consented to by the DIP Note Agent in writing it shall become the Authorized Budget.
   To the extent any updated Proposed Budget is not acceptable to the DIP Note Agent, the
   then-existing Authorized Budget will remain the Authorized Budget until replaced by an
   updated Proposed Budget that is acceptable to the DIP Note Agent. Upon request of the
   DIP Note Purchasers, Seller shall deliver the Proposed Budget to the DIP Note Purchasers
   for their review.

          (iii)   Intentionally Omitted.

           (iv)   Budget Reconciliation. Compliance with the Authorized Budget shall be
   reviewed on Monday of every other week on a bi-weekly basis, with such reviews to be
   conducted on the Monday following each of the second and fourth weeks of the Authorized
   Budget (each, a “Weekly Review Period”) and thereafter on a rolling 4-week basis (the
   “Cumulative Review Period” and together with the Weekly Review Period, the “Review
   Periods”). Beginning on the second Monday following the Second Interim DIP Order and
   every other Monday thereafter, the Borrower shall deliver to the DIP Note Agent and the
   Creditors’ Committee, not later than 4:00 p.m. Pacific time on each Monday (commencing
   with the Monday after the one-week anniversary of the Second Interim DIP Order), a
   weekly line-by-line variance report (the “Variance Report”), which Variance Report shall
   compare actual cash receipts and disbursements of the Borrower with corresponding
   amounts provided for in the Authorized Budget on a line-by-line basis for the prior week
   and the applicable Review Period (or such shorter period as may have elapsed from the
   Petition Date), including written descriptions in reasonable detail explaining any material
   positive or negative variances, and otherwise in form and substance reasonably acceptable
   to the DIP Note Agent.

           (v)    Financial and Restructuring Advisor Reports. The Note Parties shall deliver
   to the DIP Note Agent and the Creditors’ Committee copies of all non-privileged reports
   of the financial and restructuring advisors of the Note Parties as reasonably requested by
   the DIP Note Agent, including but not limited to:

                         i.      Any analysis of cash flows, forecasts, and potential cost
                                 savings initiatives;

                         ii.     Transaction marketing material (CIMs / MPs);

                         iii.    Investor outreach list;



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                              iv.       Sale process updates in accordance with the terms of this
                                        Agreement and the Bankruptcy Orders; and

                              v.        Proposed sources and uses at emergence.


               (vi)    Additional Information. Borrower shall, promptly following reasonable
       advance notice to Borrower, provide (i) the DIP Note Purchasers such additional business,
       financial, collateral and other information as the DIP Note Purchasers may from time to
       time reasonably request and (ii) participate in bi-weekly conference calls between the
       directors or other reasonably requested management representatives of Borrower and the
       DIP Note Agent during normal business hours at a time to be mutually agreed upon to
       discuss the business affairs and performance of Borrower (including the Chapter 11 Cases).

        (b)     Notice of Event of Default. Borrower shall, promptly upon obtaining knowledge
thereof, notify the DIP Note Agent and the DIP Note Purchasers of the occurrence or existence of
any Default or Event of Default.

       (c)     Existence. Borrower shall preserve and maintain in full force and effect its
organizational existence and good standing under the laws of its jurisdiction of incorporation.

        (d)    Compliance with Laws. Borrower will comply with all laws, rules, regulations and
orders of any Governmental Authority applicable to it or its property.

       (e)     Intentionally Omitted.

        (f)    Chief Restructuring Officer/Financial Advisor. Borrower may, at Borrower’s
election and subject to the approval of the Bankruptcy Court, engage a Chief Restructuring Officer
or financial advisor (the “CRO”) reasonably satisfactory to the DIP Note Agent pursuant to an
engagement letter with a scope and compensation reasonably satisfactory to the DIP Note Agent
and otherwise be in form and substance satisfactory to the DIP Note Agent. All fees and expenses
of (and otherwise relating to) the CRO shall be the sole responsibility of Borrower. The CRO shall
not be removed without order of the Bankruptcy Court. Furthermore, the CRO’s fees and costs
shall not exceed $50,000 per month, except as otherwise approved by the Board of Directors.

         (g)    Access to Information. At the request of the DIP Note Agent, the Note Parties shall
(i) arrange and cause to be held bi-weekly conference calls between representatives of the Note
Parties, the CRO, if engaged, and the DIP Note Agent (which may, to the extent practicable, be
the same bi-weekly conference that may be requested pursuant to Section 6(a)(vi) above), which
shall occur during normal business hours at a time to be mutually agreed for purposes of providing
information regarding the status of the Chapter 11 Case, Borrower’s business operations, the
preparation, filing, and confirmation of an Acceptable Plan, and a Sale Transaction process that,
if a stalking horse bidder is part of the sale process, would not be deemed to provide preferential
treatment to such bidder; provided that, for the avoidance of doubt, information regarding the
number and identity of the parties contacted and the overview of the marketing efforts undertaken
in connection with a Sale Transaction shall not be deemed to provide preferential treatment and
shall be disclosed; (ii) at all times provide the DIP Note Agent allowing potential purchasers to
evaluate a Sale Transaction; and (iii) provide the DIP Note Agent and its professional advisors
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with all materials and other communications regarding a Sale Transaction process provided and
available to all bidders at the time of distribution to any or all bidders. If at any time the stalking
horse bidder is not part of the sale process, then Borrower shall arrange and cause to be held weekly
conference calls between representatives of the Note Parties, the CRO, if engaged, and the DIP
Note Agent (which may, to the extent practicable, be the same bi-weekly conference that may be
requested pursuant to Section 6(a)(vi) above), which shall occur during normal business hours at
a time to be mutually agreed for purposes of providing full and complete information regarding a
Sale Transaction process to the DIP Note Agent.

         (h)    Use of Proceeds. Borrower shall utilize the proceeds of the DIP Note Purchases
and Cash Collateral solely to fund, and in each case solely in accordance with the Authorized
Budget, this Agreement, the Interim DIP Orders and the Final Order, (i) fees, interest, payments,
and expenses associated with this Agreement and the DIP Note Facility, and the DIP Factoring
Agreement and the DIP Factoring Facility, (ii) the ongoing working capital and capital expenditure
needs of the Note Parties during the pendency of the Chapter 11 Case, (iii) the Carve-Out, (iv) the
Forensic Accountant (if retained), and (v) approved expenses of the administration of the Chapter
11 Case (including the payment of the Borrower’s Professional Fees and the Creditor’s
Committee’s Professional Fees), and similar costs, with any unpaid amounts in this category (v)
subordinated in priority to (i)- (iv) above if the DIP Notes terminate and Borrower lacks sufficient
funds to pay in full all amounts required under (i)-(iv) above. Except as set forth in the Second
Interim DIP Order or the Final Order, the Note Parties shall not be permitted to use proceeds of
the DIP Note Purchases or Cash Collateral (i) for payment of interest or principal with respect to
any Indebtedness (other than the Obligations pursuant to this Agreement), (ii) to finance in any
way any action, suit, arbitration, proceeding, application, motion or other litigation challenging, or
to object, contest or raise any defense to, the amount, validity, perfection, priority, extent or
enforceability of, or to assert any defense, counterclaims or offset to, the Obligations or the Liens
and security interests of the DIP Note Agent and/or the DIP Note Purchasers on or in the DIP
Collateral or any amount due under, or the liens or claims granted under or in connection with the
DIP Note Facility, DIP Factoring Facility or the Prepetition Notes or the Prepetition Note Liens,
(iii) to assert any claims, counterclaims, defenses, causes of action, objections or contests
(including, without limitation, any claims or causes of action arising under chapter 5 of the
Bankruptcy Code) against the DIP Note Purchasers or the DIP Note Agent or any of their agents,
affiliates, representatives, attorneys or advisors, arising out of the Prepetition Notes or the
Prepetition Note Liens or this Agreement, (iv) to seek to modify any of the rights granted to the
DIP Note Purchasers or DIP Note Agent under this Agreement, the DIP Documents, or related
documents or (vi) to make any Restricted Payment or Investment.

       (i)    Indebtedness. The Note Parties shall not create, incur, assume or permit to exist
any Indebtedness, except the Obligations and the Scheduled Preexisting Indebtedness.

       (j)     Liens. No Note Party shall create, incur, assume or permit to exist any Lien on any
property or asset now owned or hereafter acquired by it, other than the Permitted Encumbrances
and the Scheduled Preexisting Liens.

      (k)      Restricted Payments. The Note Parties shall not declare or make, or agree to pay
or make, directly or indirectly, any Restricted Payment.


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       (l)     Investments. The Note Parties shall not make, or agree to make, any Investments.

       (m)     Cash Collateral. The Cash Collateral shall be used only in accordance with Section
6(h) hereto and in a manner consistent with the Authorized Budget.

       (n)    Cash Management. Until the indefeasible repayment of the Obligations in full in
cash and the termination of all DIP Note Purchase Commitments under this Agreement,
Borrower’s cash and cash equivalents shall only be used in accordance with Section 6(i) hereto
and the Authorized Budget.

         (o)    Dispositions. No Note Party shall sell, lease, transfer, assign or otherwise dispose
of any of its assets or properties other than in the ordinary course of such Note Party’s business
without the prior written consent of the DIP Consenting Secured Parties, and Borrower
acknowledges that any DIP Collateral that is the subject of any sale, lease transfer or assignment
that is not sold in in the ordinary course of Borrower’s business or does not receive such written
consent shall continue to be subject to all Liens of the DIP Note Agent for the benefit of the DIP
Note Purchasers.

        (p)     Forensic Accounting. At the request of the DIP Note Agent and approval of the
Board of Directors, the Borrower shall retain a forensic accountant reasonably acceptable to the
DIP Note Agent (the “Forensic Accountant”) to review and analyze all Borrower’s bank statements
for three (3) or more years prior to the Petition Date and any other documents and information
necessary to investigate payments and transfers from Borrower to render an opinion regarding
whether they are avoidable under federal and state law. The DIP Note Agent will, with the consent
of the DIP Consenting Secured Parties, increase the DIP Note Facility in the amount necessary to
pay for the forensic accounting in an amount mutually agreed to by the DIP Note Agent and the
Borrower.

         (q)    Budget Variance. Following the one-week anniversary of the Second Interim DIP
Order, the Note Parties shall perform in accordance with the Authorized Budget, subject to the
following with respect to any Review Period: (i) the Note Parties’ actual cash receipts shall not be
less than 90% of the projected amounts therefor set forth in the Authorized Budget on a cumulative
basis; and (ii) the Note Parties’ actual cash disbursements shall not be greater than 110% of the
projected amounts therefor set forth in the Authorized Budget on a cumulative basis (such
variance, the “Permitted Variances”). Notwithstanding the foregoing, during any Review Period
occurring prior to March 15, 2023, the DIP Note Purchasers waive all defaults of the Note Parties
for failing to comply with the Authorized Budget, including the Permitted Variances, solely with
respect to (i) top line gross revenue and cash receipts and (ii) all cost of goods sold, including
shipping.

        (r)     Chapter 11 Case Pleadings. Borrower shall provide DIP Note Agent as soon as is
reasonably practical in advance of filing with the Bankruptcy Court, any draft of any motions,
orders, amendments, supplements or other pleadings that Borrower proposes to file with the
Bankruptcy Court seeking approval of the DIP Facilities. Borrower shall file all pleadings with the
Bankruptcy Court as are necessary or appropriate to secure entry of the DIP Documents, shall
serve all parties entitled to notice of such pleadings under applicable provisions of the Bankruptcy
Code and all related rules and shall diligently pursue the obtaining of such orders. Borrower shall

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oppose and seek the dismissal of any appeal (including a petition for certiorari, motion for
rehearing, reargument, reconsideration or revocation) if any challenge to such DIP Documents is
filed. Borrower shall reasonably cooperate with DIP Note Agent with respect to all such filings
and incorporate any reasonable comments of DIP Note Agent and its counsel into such order,
amendment, supplement, motion or pleading. Each party hereto shall promptly notify the other
party if at any time such party becomes aware that any information provided to the Bankruptcy
Court contains any untrue statement of a material fact or omits to state a material fact required to
be stated therein or necessary to make the statements contained therein, in light of the
circumstances under which they were made, not misleading.

       (s)     Asset Sale and Unconditional Right to Credit Bid.

               (i)     Borrower shall consent to (i) the DIP Note Agent submitting a credit bid of
       the Obligations under the DIP Facilities (the “DIP Agent Credit Bid Obligations”), and (ii)
       subject to the express limitations contained in Section 10(i) of this Agreement, the
       Prepetition Collateral Agent submitting a credit bid of an amount not less than the Allowed
       Claim, which is the principal amount of the Prepetition Notes, including the original issue
       discount, or such greater amount as allowed by the Bankruptcy Court (the “Prepetition
       Collateral Agent Credit Bid Obligations” and together with the DIP Agent Credit Bid
       Obligations, the “Credit Bid Obligations”), in connection with the sale of any asset of the
       Note Parties (in whole or in part), including without limitation, sales occurring pursuant to
       Section 363 of the Bankruptcy Code or included as part of any restructuring plan subject
       to confirmation under Section 1129(b)(2)(A)(ii)-(iii) of the Bankruptcy Code and any
       motion filed by Borrower seeking approval of bid procedures shall contain a request for
       approval of the right of the DIP Note Agent and Prepetition Collateral Agent, as applicable,
       to credit bid the Credit Bid Obligations and Borrower shall not object to such a provision.

               (ii)    Without limiting the foregoing, if, pursuant to a sale order issued by the
       Bankruptcy Court, the DIP Note Agent, as collateral agent for the DIP Note Purchasers, or
       its designee, is the winning bidder, either the assets of Borrower shall be sold to the DIP
       Note Agent, as collateral agent for the DIP Note Purchasers, or its designee, pursuant to a
       Sale Transaction, which sale may or may not be a component of the Accepted Plan, for the
       consideration set forth in the winning bid or a transaction having substantially the same
       effect shall be consummated as a restructuring of Borrower pursuant to an Accepted Plan;
       provided, however, that if an Event of Default occurs under this Agreement or the DIP
       Documents, then, if the DIP Note Agent, as collateral agent for the DIP Note Purchasers,
       so elects, the assets of Borrower shall be sold to the highest and best offer pursuant to a
       sale order as a Sale Transaction outside of an Accepted Plan for the consideration set forth
       in the winning bid. Any Sale Transaction, similar transaction or an Accepted Plan having
       the same effect, shall permit the DIP Note Agent, as collateral agent for the DIP Note
       Purchasers to credit bid as set forth in subsection (s)(i) above. The DIP Note Agent, as
       collateral agent for the DIP Note Purchasers, is and shall be a qualified bidder under any
       auction or sale procedures and may participate at any auction, sale or other restructuring
       transaction.




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              (iii) No Note Party shall file or support any plan of reorganization that seeks to
       impair the DIP Note Agent’s credit bid rights or terms-out, crams-down or extends the
       Obligations under the DIP Facilities under Bankruptcy Code section 1129(b) or otherwise.

       (t)      Exclusive Period of Time to Confirm Plan of Reorganization. No Note Party may
seek extension of the exclusive periods of Borrower to confirm an Acceptable Plan without the
prior written approval of the DIP Note Agent, which approval shall not be unreasonably withheld,
conditioned, or delayed.

         (u)     Intercreditor Agreement. Upon DIP Note Agent’s request, Borrower shall fully
cooperate with DIP Note Agent and use its best efforts in assisting DIP Note Agent to obtain an
intercreditor agreement from each Prepetition Purchaser and Prestige (or its successor in interest)
with respect to the priority of the Liens and Permitted Encumbrances on the DIP Collateral, which
intercreditor agreements shall be consistent with the priority of such Liens and Permitted
Encumbrances set forth on Schedule IV and the Final Order and satisfactory to DIP Note Agent in
its sole discretion.

       (v)     Further Assurances.

                (i)    Promptly upon request by the DIP Note Agent, Borrower shall take such
       additional actions and execute such documents as the DIP Note Purchasers may reasonably
       require from time to time in order (i) to carry out more effectively the purposes of this
       Agreement, (ii) to subject to the Liens created by the Second Interim DIP Order and Final
       Order, as applicable, any of the properties, rights or interests covered by the Final Order,
       (iii) to perfect and maintain the validity, effectiveness and priority of any of the Liens
       created by the Second Interim DIP Order and Final Order, as applicable, and (iv) to better
       assure, convey, grant, assign, transfer, preserve, protect and confirm to the DIP Note Agent
       and the DIP Note Purchasers the rights granted or now or hereafter granted to the DIP Note
       Agent and the DIP Note Purchasers under this Agreement and the Interim DIP Orders and
       Final Order, as applicable. All documented expenses of the DIP Note Agent and the DIP
       Note Purchasers incurred pursuant to this Section 6(u) shall constitute Obligations under
       this Agreement.

               (ii)    Without limiting Section 6(u)(i) above, the Note Parties shall execute and
       deliver to the DIP Note Agent security agreements, pledge agreements, control agreements
       or any such other documents, instruments or agreements as the DIP Note Agent or such
       DIP Note Purchasers shall reasonably request to further evidence the Liens and security
       interests in respect of the DIP Collateral. All of the documents delivered pursuant to this
       Section 6(u)(ii) shall be in form and substance reasonably satisfactory to the DIP
       Consenting Secured Parties.

               (iii) Each of the Note Parties hereby authorizes the DIP Note Agent to prepare
       and file and/or record UCC-1 financing statements with respect to that portion of the DIP
       Collateral for which the Liens and security interests secure the Obligations can be perfected
       by such filing or recordation.




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                 (iv)   The Note Parties shall deliver to the DIP Note Agent control agreements in
        form and substance reasonably acceptable to the DIP Note Agent and the DIP Consenting
        Secured Parties, with respect to the DIP Note Disbursement Account and each account
        where such Borrower has cash and cash equivalents. Borrower shall maintain all cash and
        cash equivalents of Borrower in the DIP Note Disbursement Account or, solely to the
        extent approved by the Cash Management Order or the Final Order, other segregated
        accounts consistent with either the Cash Management Order or the Final Order and
        applicable Bankruptcy Rules and regulations. Each control agreement shall provide,
        among other things, that, upon notice from the DIP Note Agent to the applicable financial
        institution that an Event of Default exists hereunder, such financial institution shall only
        take instructions with respect to the applicable account from the DIP Note Agent and
        Borrower shall not have access to such account.

       7.      Events of Default. Each of the following events, if it occurs before all of the
Obligations have been paid in full and all of the DIP Note Purchase Commitments have been
terminated, shall be referred to herein as an “Event of Default”:

       (a)     failure of Borrower to make any payment of principal of or interest upon the DIP
Notes or any fees under the DIP Facilities when due and payable;

        (b)     (i) failure of Borrower to perform or observe any term, covenant or agreement
contained in Section 6(a)(ii), (iii) and (iv), (b), (g), (h), (i), (j), (k), (l), (m), (n), (o) or (s), or (ii)
failure of Borrower or any other Note Party to perform or observe any other term, covenant or
agreement contained in this Agreement, any other DIP Document, the Interim DIP Orders, or the
Final Order and, in the case of the foregoing clause (ii), such default shall continue unremedied
for a period of five (5) Business Days from the earlier of the date that (i) any Note Party obtains
knowledge of such breach and (ii) any Note Party receives written notice of such default from any
DIP Consenting Secured Party;

       (c)     any representation, warranty or certification by any Note Party made herein, in any
DIP Documents or in any report, certificate, financial or similar statement or other document or
instrument furnished in connection with this Agreement or the other DIP Documents shall prove
to have been incorrect or misleading in any material respect on or as of the date made or deemed
made;

        (d)    any Note Party shall have failed to receive, as and when required, any consent or
approval from any Governmental Authority necessary in order for such Note Party to perform its
obligations hereunder in accordance with all applicable laws, rules and regulations;

       (e)     the DIP Note Agent shall cease to have continuing, valid, binding, enforceable,
non-avoidable, and automatically and properly perfected senior liens on and security interests in
the DIP Collateral with the priorities described in Schedule IV hereto (other than upon a release
by reason of a transaction that is permitted under the DIP Documents);

       (f)   any Note Party or equity holder or Affiliate thereof (other than White Winston
and/or Ryan Drexler as otherwise permitted herein) (i) contesting the validity or enforceability of
any DIP Document in writing or denying in writing that it has any further liability thereunder or

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(ii) contesting the validity or perfection of the Liens and security interests securing the DIP
Facilities;

       (g)   any attempt by any Note Party or any equity holder or Affiliate thereof (other than
White Winston and/or Ryan Drexler as otherwise permitted herein) to invalidate or otherwise
impair the DIP Facilities or the Liens granted to the DIP Note Purchasers or DIP Factoring
Purchasers;

        (h)   The Independent Director shall cease to serve as a director on the board of directors
of Borrower pursuant to its corporate documents unless the resignation or removal of the
Independent Director and the selection of its successor is made in accordance with the corporate
documents of Borrower and is approved in advance by the DIP Note Agent, which approval shall
not be unreasonably withheld, conditioned or delayed;

       (i)    an “Event of Default” occurs under this Agreement, the Interim DIP Orders, Final
Order or any other DIP Documents, including without limitation, the failure by any Note Party to
comply with the Interim DIP Orders or Final Order, as applicable;

       (j)    the filing by any Note Party of any motion or proceeding, or the entry of an order
by the Bankruptcy Court, which could reasonably be expected to result in material impairment of
the DIP Note Agent’s or any DIP Note Purchaser’s rights under the DIP Documents, the Interim
DIP Orders or the Final Order;

       (k)     the failure to meet any Milestone Requirement;

       (l)     the occurrence of any of the following in any Chapter 11 Case:

               (i)      the Interim DIP Orders or the Final Order, as applicable, at any time ceases
       to be in full force and effect;

              (ii)    the entry of an order by a court of competent jurisdiction amending,
       supplementing, staying, vacating, reversing or otherwise modifying this Agreement, the
       other DIP Documents, the Interim DIP Orders, the Final Order, as applicable, without the
       express written consent of the DIP Note Agent;

               (iii) the appointment of an interim or permanent trustee or the appointment of a
       responsible person or an examiner with expanded powers to operate or manage the
       financial affairs, the business, or reorganization of Borrower (powers beyond those
       expressly set forth in section 1106(a)(3) and (4) of the Bankruptcy Code) under sections
       1104(d) and 1106(b) of the Bankruptcy Code;

              (iv)    (x) the dismissal of, or the filing of a motion by any Note Party or any equity
       holder or Affiliate thereof (other than White Winston and/or Ryan Drexler as otherwise
       permitted herein) to dismiss, the Chapter 11 Case or (y) conversion of, or the filing of a
       motion by any Note Party or any equity holder or Affiliate thereof (other than White
       Winston and/or Ryan Drexler as otherwise permitted herein) to convert, the Chapter 11
       Case from one under Chapter 11 to one under Chapter 7 of the Bankruptcy Code;


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           (v)     the entry of an order by the Bankruptcy Court granting relief from or
   modifying the automatic stay of Section 362 of the Bankruptcy Code (x) to allow any
   creditor to execute upon or enforce a Lien on any DIP Collateral, including without
   limitation, to permit foreclosure (or the granting of a deed in lieu of foreclosure or the like)
   on any such DIP Collateral having a fair market value in excess of an amount to be agreed
   in writing by the DIP Note Agent, or (y) to permit the perfection of any Lien on the DIP
   Collateral unless such Lien is or shall be junior in priority to the Liens securing the
   Obligations;

         (vi)  the entry of an order avoiding or requiring repayment of any portion of the
   payments made on account of the Obligations owing under this Agreement;

           (vii) the entry of an order granting any super-priority administrative claim (other
   than the Carve-Out) or Lien (including adequate protection Liens) which are equal or
   superior to that provided to the DIP Note Purchasers, other than with respect to the Lien
   priorities set forth on Schedule IV hereof;

          (viii) the filing of any pleading by Borrower seeking or otherwise consenting to
   or supporting any of the matters set forth in clauses (iii), (iv), (v), (vi) or (vii) of this
   Section 7(l);

           (ix)   any sale or disposition, other than the Sale Transaction, of all or a material
   portion of the DIP Collateral securing the DIP Facilities pursuant to section 363 of the
   Bankruptcy Code other than as permitted by the Bankruptcy Orders (or pursuant to a
   transaction that is permitted under the DIP Documents)

         (x)     the filing of any plan of reorganization or a plan of liquidation that is not an
   Acceptable Plan;

           (xi)   the termination or lapse of Borrower’s “exclusive period” under Section
   1121 of the Bankruptcy Code for the filing of a plan of reorganization without the prior
   written consent of the DIP Note Agent;

          (xii) the grant of any adequate protection rights to any holder of a pre-petition
   claim or interest, unless otherwise consented to by the DIP Note Agent;

           (xiii) a Note Party engages in or supports any challenge to the validity, perfection,
   priority, extent or enforceability of this Agreement or any other DIP Document or the Liens
   on or security interests in the assets of Borrower securing the Obligations;

         (xiv) the allowance of any claim or claims under section 506 or 552(b) of the
   Bankruptcy Code against or with respect to any of the DIP Collateral;

          (xv) Borrower moves the Bankruptcy Court to enter, modify or amend any
   Bankruptcy Order without the prior written consent of the DIP Note Agent to the form and
   substance of the proposed order;



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             (xvi) the entry by the Bankruptcy Court of a debtor-in-possession financing order
       or amendment thereto, the form and substance of which is not consented to by the DIP
       Note Agent;

               (xvii) Borrower shall make any payment of principal or interest on any pre-
       petition Indebtedness, except for any payments on any pre-petition Indebtedness permitted
       to be made under the Final Order;

               (xviii) termination by the Bankruptcy Court of the use of Cash Collateral; or

              (xix) the Bankruptcy Court enters an order granting relief from the automatic stay
       to any Person asserting a claim or other right against any of Borrower relating to any
       alleged pre-petition actions or omissions unless otherwise consented to by the DIP Note
       Agent.

       8.      Remedies.

         (a)     Certain Actions Following a Default. If any Event of Default shall occur and be
continuing, upon compliance with the terms and conditions of the Interim DIP Orders or Final
Order, as applicable, then the DIP Note Agent, solely with the consent of the DIP Consenting
Secured Parties, shall (i) reduce the amount of, or terminate, any or all of the Aggregate DIP Note
Purchase Commitment of the DIP Note Purchasers, (ii) declare all or any part of the unpaid balance
of the DIP Notes and other Obligations then outstanding to be immediately due and payable and
(iii) exercise any rights and remedies provided to the DIP Note Purchasers under this Agreement,
under the Interim DIP Orders, under the Final Order, under any other DIP Document or at law or
equity, including, without limitation, to seek relief from the automatic stay to foreclose on all or
any portion of the DIP Collateral, and apply the proceeds thereof to the obligations arising under
the DIP Documents.

        (b)     Cumulative Remedies. To the extent not prohibited by the provisions of applicable
law which cannot be waived, all of the DIP Note Purchasers’ rights hereunder and under any other
document between the DIP Note Purchasers and Borrower shall be cumulative. No failure to
exercise and no delay in exercising, on the part of the DIP Note Agent or any DIP Note Purchaser,
any right, remedy, power or privilege hereunder, shall operate as a waiver thereof; nor shall any
single or partial exercise of any right, remedy, power or privilege hereunder preclude any other or
further exercise thereof or the exercise of any other right, remedy, power or privilege.

        (c)      Waivers. To the extent that such waiver is not prohibited by the provisions of
applicable law that cannot be waived, Borrower hereby waives (1) all presentments, demands for
performance, notices of nonperformance (except to the extent required by this Agreement),
protests, notices of protest and notices of dishonor; (2) any requirement of diligence or promptness
on the part of the DIP Note Agent or any DIP Note Purchaser in the enforcement of its rights under
this Agreement; (3) any and all notices of every kind and description which may be required to be
given by any statute or rule of law; and (4) any defense (other than indefeasible payment in full)
which it may now or hereafter have with respect to its liability under this Agreement.

       9.      Creation of Security Interest.


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       (a)     Grant of Security Interest.

               (i)      To secure the payment and performance in full of all of the Obligations, the
       Note Parties hereby grant to the DIP Note Agent, as collateral agent for the DIP Note
       Purchasers, a continuing first priority security interest in, and pledge to Lender, the DIP
       Collateral, wherever located, whether now owned or hereafter acquired or arising, and all
       proceeds and products thereof. Each Note Party represents, warrants, and covenants that
       the security interest granted herein is and shall at all times continue to be a first priority
       perfected security interest in the DIP Collateral (subject only to the Carve-Out and the lien
       priority set forth on Schedule IV attached hereto). Upon payment in full of the Obligations
       (other than indemnification obligations for which no claim has been made) and at such
       time as DIP Note Purchasers’ obligation to purchase DIP Notes has terminated, DIP Note
       Agent shall release and terminate its liens and security interests in the DIP Collateral.

               (ii)   To secure the payment and performance in full of the DIP Inventory
       Acquisition Line of Credit, and without limiting any other security interest granted herein,
       Borrower hereby grants to the DIP Note Agent, as collateral agent for the DIP Inventory
       Acquisition Line of Credit Purchasers, a continuing first priority security interest in, and
       pledge to, all DIP Inventory Acquisition Line of Credit Purchasers Financed Inventory,
       wherever located, whether now owned or hereafter acquired or arising, and all proceeds
       and products thereof. Borrower represents, warrants, and covenants that the security
       interest granted herein is and shall at all times continue to be a first priority perfected
       security interest in the DIP Inventory Acquisition Line of Credit Purchasers Financed
       Inventory (subject only to the lien priority set forth on Schedule IV attached hereto). Upon
       payment in full of the DIP Inventory Acquisition Line of Credit (other than indemnification
       obligations for which no claim has been made) and at such time as DIP Inventory
       Acquisition Line of Credit Purchasers obligation to purchase DIP Notes under and fund
       the DIP Inventory Acquisition Line of Credit has terminated, DIP Note Agent shall release
       and terminate its liens and security interests in the DIP Inventory Acquisition Line of Credit
       Purchasers Financed Inventory.

        (b)    Subordination of Prepetition Obligations. Subject to Schedule IV and the Final
Order, all obligations judicially determined to be due and owing on account of the Prepetition
Notes, the Prepetition Note Liens and/or the prepetition factoring facility, if any, and liens granted
in the DIP Collateral shall be subject to this Agreement and shall be subordinate in all ways to the
Lender’s liens on the DIP Collateral hereunder.

        (c)    Authorization to File Financing Statements. The Note Parties hereby authorize DIP
Note Agent to file financing statements or other security documents, without notice to the Note
Parties, with all appropriate jurisdictions to perfect or protect DIP Note Agent’s and DIP Note
Purchasers’ interest or rights hereunder, including a notice that any disposition of the DIP
Collateral (other than in accordance with this Agreement or order of the Bankruptcy Court), by
either Borrower or any other Note Party, shall be deemed to violate the rights of DIP Note Agent
and DIP Note Purchasers under the Code. Without limiting the foregoing, the Note Parties hereby
authorize DIP Note Agent to file financing statements and other security documents which
describe the collateral as “all assets” and/or “all personal property” of the Note Parties or words of
similar import. Nothing in this Agreement shall limit the effectiveness of DIP Note Agent’s and

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DIP Note Purchasers’ liens and claims pursuant to the Second Interim DIP Order or the Final
Order.

       10.     Administrative Priority; Lien Priority; Adequate Protection.

        (a)     The Obligations of Borrower will, at all times, constitute allowed administrative
expenses in the Chapter 11 Case, having priority in payment over all other administrative expenses
and unsecured claims against Borrower now existing or hereafter arising, of any kind or nature
whatsoever, including without limitation all administrative expenses of the kind specified in, or
arising or ordered under, Sections 105, 326, 327, 328, 330, 503(b), 506(c), 507(a), 507(b), 546(c),
726 and 1114 of the Bankruptcy Code, except as to the Carve-Out and the co-priority and
subordination of Liens set forth on Schedule IV attached hereto and the Final Order.

        (b)    Pursuant to Section 364(d)(1) of the Bankruptcy Code, the Second Interim Order
and the Final Order, all Obligations will be secured by a perfected priming first priority Lien on
the DIP Collateral, except as to the Carve-Out and the co-priority and subordination of Liens set
forth on Schedule IV attached hereto and the Final Order.

        (c)     The Prepetition Collateral Agent, on behalf of the Prepetition Secured Parties, shall
receive, to the extent of any aggregate diminution in the value of their collateral, subject to the
Carve-Out: (a) valid, binding, enforceable, and automatically and properly perfected replacement
liens on and security interests in the DIP Collateral (the “Prepetition Notes Adequate Protection
Liens”), subject to the co-priority and subordination of Liens described in Schedule IV attached
hereto (which is reflective of existing intercreditor and subordination agreements which shall
remain binding with respect to such lien priority) and the Final Order; and (b) allowed super-
priority administrative expense claims in the Chapter 11 Case having priority over all
administrative expenses of the kind specified in, or ordered pursuant to, section 364(c)(1) of the
Bankruptcy Code (the “Prepetition Notes Adequate Protection Claims”), subject to the co-priority
and subordination of Liens described in Schedule IV attached hereto (which is reflective of
existing intercreditor and subordination agreements which shall remain binding with respect to
such lien priority) and the Final Order.

        (d)     Prestige (or its successor-in-interest) shall receive, to the extent of any aggregate
diminution in the value of its pre-petition collateral: (a) valid, binding, enforceable, and
automatically and properly perfected replacement liens on and security interests in the DIP
Collateral (the “Prestige Adequate Protection Liens”), subject to the co-priority and subordination
of Liens described in Schedule IV attached hereto (which is reflective of existing intercreditor and
subordination agreements which shall remain binding with respect to such lien priority) and the
Final Order; and (b) allowed super-priority administrative expense claims in the Chapter 11 Case
having priority over all administrative expenses of the kind specified in, or ordered pursuant to,
section 364(c)(1) of the Bankruptcy Code (the “Prestige Adequate Protection Claims”), subject to
the co-priority and subordination of Liens described in Schedule IV attached hereto (which is
reflective of existing intercreditor and subordination agreements which shall remain binding with
respect to such lien priority) and the Final Order.

       (e)    The Prepetition Collateral Agent shall be entitled to reimbursement of its
reasonable and documented fees and out- of-pocket expenses.

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       (f)     The Prepetition Collateral Agent shall be entitled to reimbursement of its respective
reasonable and documented fees and out-of-pocket expenses of one primary counsel and one local
counsel (if applicable), and one financial advisor.

        (g)     The Prepetition Collateral Agent, on behalf of itself and the Prepetition Secured
Parties, shall be entitled to performance of the Milestone Requirements.

       (h)    Interest at the default rate specified in the Prepetition Notes shall continue to accrue
under the terms of the Prepetition Notes.

        (i)    The Creditors Committee shall have until April 10, 2023 to investigate and
challenge and otherwise object to the allowance of the Allowed Claim (the “Creditors’ Committee
Challenge Period”). White Winston shall have until March 9, 2023 to investigate and challenge
and otherwise object to the allowance of the Allowed Claim (other than challenges and objections
based upon Borrower’s bankruptcy estate’s claims) (“White Winston Challenge Period” and,
together with the Creditors’ Committee Challenge Period, the “Challenge Period”). To the extent
the principal amount of the Allowed Claim is successfully challenged (such amount, the
“Disallowed Claim”) such that the Allowed Claim is less than the Roll-Up Amount, then the Roll-
Up Amount shall be reduced by the amount of the Disallowed Claim such that the Roll-Up Amount
equals the Allowed Claim. If an objection to the Prepetition Secured Parties’ prepetition claim is
timely filed during the applicable Challenge Period in the Bankruptcy Court, then: (i) the
Prepetition Secured Parties’ prepetition claim shall not be deemed an “allowed claim” to the extent
objected to in such objection absent the Prepetition Collateral Agent obtaining a further order of
the Bankruptcy Court, unless the objection is withdrawn; (ii) the Prepetition Collateral Agent shall
not be entitled to the Prepetition Collateral Agent Credit Bid Obligations unless the Prepetition
Collateral Agent obtains a further order of the Bankruptcy Court, unless the objection is
withdrawn; (iii) if a sale of Borrower’s assets occurs before such claim objection is resolved, such
sale proceeds will be held by the estate to the extent of the objection unless the Prepetition
Collateral Agent obtains a further order of the Bankruptcy Court, unless the objection is
withdrawn; and (iv) the releases set forth in Section 11(c) of this Agreement are not a defense to
such claim objection brought by White Winston in the Bankruptcy Court (if such objection is
brought during the Challenge Period). The Creditors’ Committee may use up to Fifty Thousand
Dollars ($50,000) of the fees and costs of the Creditors’ Committee in the Authorized Budget to
investigate, challenge, object to or contest the validity, security, perfection, priority, extent or
enforceability of any amount due under, or the liens under the Prepetition Notes. The DIP Note
Agent reserves its’ right to respond to any challenge raised by the Creditors’ Committee, White
Winston or any other party. For the avoidance of doubt, a challenge by either the Borrower or the
Creditors’ Committee of the Prepetition Secured Parties’ prepetition claims in excess of Twelve
Million Eight Hundred Forty Thousand Dollars ($12,840,000) is not limited by the Challenge
Period.

         (j)    Subject to the express limitations contained in Section 10(i) above, Borrower agrees
that in any sale of the DIP Collateral, the Prepetition Collateral Agent, on behalf of the Prepetition
Secured Parties, shall have the right to credit bid an amount not less than Twelve Million Eight
Hundred Forty Thousand Dollars ($12,840,000) which is the principal amount of the Prepetition
Notes, including the original issue discount, in addition to the obligations under the DIP Facilities,
or such greater amount as allowed by the Bankruptcy Court, in accordance with section 363(k) of

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the Bankruptcy Code, and that any motion filed by Borrower seeking approval of bid procedures
shall contain a request for approval of the right of the Prepetition Collateral Agent to credit bid the
obligations of the Prepetition Purchasers; provided, however, the DIP Note Agent, the Creditors’
Committee and White Winston’s rights shall be reserved with respect to the terms of this Section
10(j).

        (k)     Except to the extent of the Carve-Out, no costs or expenses of administration or
other charge, lien, assessment or claim incurred on or after the Petition Date of any Person or entity
shall be imposed against the DIP Note Purchasers, the DIP Factoring Purchaser or the DIP Note
Agent, their respective claims or the Prepetition Notes or Prepetition Note Liens under section
506(c) of the Bankruptcy Code or otherwise, and Borrower hereby irrevocably waives any and all
such rights, remedies and benefits under section 506(c) of the Bankruptcy Code.

       11.     Indemnification; Expenses; Releases; Waivers.

         (a)    Indemnification. The Note Parties agree, joint and severally, to indemnify and hold
and save harmless the DIP Agents, each DIP Note Purchaser, each DIP Factoring Purchaser, its
and their respective Affiliates and each of their respective directors, officers, employees, agents,
advisors, or representatives (collectively, “Indemnitees”) from and against any and all losses,
damages, claims, actions, demands, liabilities or out-of-pocket costs and expenses of any kind
whatsoever (including reasonable and documented attorneys’ fees and expenses) (collectively,
“Claims”) incurred by or asserted or awarded against any Indemnitee (including in connection
with any investigation, litigation or proceeding or the preparation of a defense in connection
therewith) arising in any way directly or indirectly out of the transactions contemplated by this
Agreement, the DIP Documents, and the transactions contemplated by this Agreement and the DIP
Documents and any actual or proposed use of the proceeds of any DIP Notes issued under the DIP
Note Facility, provided that no such person will be indemnified for such Claims to the extent
determined by a final, non-appealable judgment of a court of competent jurisdiction to have been
incurred solely by reason of the gross negligence or willful misconduct of such person, and further,
provided, the foregoing indemnity shall exclude out-of-pocket costs and expenses (including but
not limited to reasonable and documented legal fees and expenses) arising out of post-petition
litigation between the DIP Note Agent, on the one hand, and White Winston and/or Ryan Drexler,
on the other hand, regarding the Prepetition Notes or claims between those parties that are not the
Borrower’s or the Borrower’s bankruptcy estate’s claims, including any claims that may be
prosecuted in the Chapter 11 Case. For the avoidance of doubt, the excluded out-of-pocket costs
and expenses are intended to be inclusive of discovery concerning claims related to the Prepetition
Notes of the DIP Note Agent, on the one hand, and White Winston and/or Ryan Drexler, on the
other hand, conducted by 2004 examination. The foregoing indemnity shall be effective whether
or not such any such investigation, litigation, or other proceeding to which the indemnity applies
is brought by any Note Party, any of their respective directors, officers, managers, security holders,
creditors, an Indemnified Party or any other Person and whether or not an Indemnified Party is
otherwise a party thereto and whether or not the transactions contemplated hereby are
consummated.

       (b)     Expenses. The Note Parties shall pay, in connection with the Chapter 11 Case and
the negotiation and documentation of the DIP Facilities and restructuring matters with respect to
the Note Parties, all incurred (i) reasonable and documented legal fees and out-of-pocket expenses

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of counsel for the DIP Agents and reasonable and documented legal fees and out-of-pocket
expenses of Schulte Roth & Zabel, LLP and Garman Turner Gordon LLP, counsel for Empery, in
its capacity as a DIP Note Purchaser, DIP Factoring Purchaser, and the DIP Agents; and (ii)
reasonable and documented fees and out-of-pocket expenses of any financial advisor for the DIP
Agents. In addition, the Note Parties shall pay, in connection with workout proceedings and
enforcement costs associated with the DIP Facilities, all incurred (i) reasonable and documented
legal fees and out-of-pocket expenses of counsel for the DIP Agents and reasonable and
documented legal fees and out-of-pocket expenses legal fees and out-of-pocket expenses of
Schulte Roth & Zabel, LLP and Garman Turner Gordon LLP, counsel for Empery, in its capacity
as a DIP Note Purchaser; and (ii) reasonable and documented fees and out-of-pocket expenses of
any financial advisor for the DIP Agents. Such fees and expenses shall be part of the Obligations
and the DIP Note Purchaser, DIP Factoring Purchaser, and the DIP Agents’ claim(s).

         (c)    Releases. Pursuant to the Final Order, for good and valuable consideration,
including facilitation of the DIP Facilities, the Note Parties, on behalf of themselves, and
Borrower, on behalf of its bankruptcy estate (collectively, the “Releasors”), hereby release any and
all claims, obligations, rights, suits, damages, causes of action, remedies and liabilities whatsoever,
including any derivative claims asserted or which could be asserted on behalf of the Releasors,
whether known or unknown, foreseen or unforeseen, existing in law, equity or otherwise, that the
Releasors would have been legally entitled to assert in their own right, whether individually or
collectively, including claims based on or relating to, or in any manner arising from, in whole or
in part, the Chapter 11 Case restructuring, the Chapter 11 Case, the purchase, sale or rescission of
the purchase or sale of any security of the Note Parties, the subject matter of, or the transactions
or events giving rise to, any claim or equity security, or any other act or omission, transaction,
agreement, event or other occurrence relating to the Borrower, the Prepetition Notes or the
Prepetition Liens, taking place on or before the date of this Agreement, against the DIP Note Agent
in its capacity as such, the DIP Note Purchasers in their capacities as such, the DIP Factoring
Purchasers in their capacities as such, and, except to the extent successfully challenged in a
challenge brought in the applicable Challenge Period, the Prepetition Collateral Agent in its
capacity as such, and the Prepetition Purchasers in their capacities as such (collectively, the
“Releasees”). The foregoing releases shall not be a defense to an objection to the prepetition
claims of the Prepetition Collateral Agent in its capacity as such and the Prepetition Purchasers in
their capacity as such brought in the Bankruptcy Court, provided such objection is timely brought
during the applicable Challenge Period. Any claims arising out of the breach of this Agreement
by any party are excluded from the releases provided in this Section 11(c), and, in the event of any
such breach, the non-breaching party shall be entitled to pursue any and all rights, claims and
damages that it may have against the other party as a result of such breach.

        (d)     DIP Waivers. Pursuant to the Final Order, the Releasors hereby waive (i) any and
all claims of the Note Parties, on behalf of themselves, and Borrower, on behalf of its bankruptcy
estate, arising from or related to (A) the DIP Agents or any DIP Note Purchaser or any DIP
Factoring Purchaser, in each of their respective capacities as such, or (B) the DIP Documents;
including, without limitation, the waiver of any and all rights to challenge the validity, perfection,
priority, extent or enforceability of the claims or Liens securing the Obligations, including without
limitation seeking to equitably subordinate or avoid the Liens securing the Obligations, (ii) the
“equities of the case” exception to Section 552(b) of the Bankruptcy Code, (iii) the ability to
surcharge the DIP Collateral, and subject to entry of the Final Order, the collateral securing the

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Prepetition Notes, including under Section 506(c) of the Bankruptcy Code, and (iv) the equitable
doctrine of “marshaling” with respect to the DIP Collateral, and subject to entry of the Final Order,
the collateral securing the Prepetition Notes.

       12.     The DIP Note Agent.

        (a)      Appointment and Authorization. Each DIP Note Purchaser hereby designates and
appoints the DIP Note Agent as its DIP Note Agent and collateral agent under this Agreement and
the other DIP Documents and each DIP Note Purchaser hereby irrevocably authorizes the DIP
Note Agent to take such action on its behalf under the provisions of this Agreement and each other
DIP Document and to exercise such powers and perform such duties as are expressly delegated to
it by the terms of this Agreement or any other DIP Document, together with such powers as are
reasonably incidental thereto. The DIP Note Agent agrees to act as such on the express conditions
contained in this Section 12. The provisions of this Section 12 are solely for the benefit of the DIP
Note Agent and the DIP Note Purchasers, and no Note Party shall have any rights as a third party
beneficiary of any of the provisions contained herein. Notwithstanding any provision to the
contrary contained elsewhere in this Agreement or in any other DIP Document, the DIP Note
Agent shall not have any duties or responsibilities, except those expressly set forth herein, nor shall
the DIP Note Agent have or be deemed to have any fiduciary relationship with any DIP Note
Purchaser, and no implied covenants, functions, responsibilities, duties, obligations, or liabilities
shall be read into this Agreement or any other DIP Document or otherwise exist against the DIP
Note Agent. Instead, such term is used merely as a matter of market custom, and is intended to
create or reflect only an administrative relationship between independent contracting parties.
Except as expressly otherwise provided in this Agreement, the DIP Note Agent shall have and may
use its sole discretion with respect to exercising or refraining from exercising any discretionary
rights or taking or refraining from taking any actions which the DIP Note Agent is expressly
entitled to take or assert under this Agreement and the other DIP Documents, including the exercise
of rights and remedies pursuant to Section 8, and any action so taken or not taken shall be deemed
consented to by the DIP Note Purchasers.

        (b)    Delegation of Duties. The DIP Note Agent may execute any of its duties under this
Agreement or any other DIP Document by or through agents, sub-agents, employees, or attorneys-
in-fact and shall be entitled to advice of counsel concerning all matters pertaining to such duties.
The DIP Note Agent shall not be responsible for the negligence or misconduct of any agent, sub-
agent, employee, or attorney-in-fact that it selects as long as such selection was made without gross
negligence or willful misconduct.

        (c)     Liability of the DIP Note Agent. The DIP Note Agent shall not (x) be liable for
any action taken or omitted to be taken by it under or in connection with this Agreement or any
other DIP Document or the transactions contemplated hereby (except for its own gross negligence
or willful misconduct as determined by a final, non-appealable judgment of a court of competent
jurisdiction), or (y) be responsible in any manner to any of the DIP Note Purchasers for any recital,
statement, representation, or warranty made by Borrower contained in this Agreement or in any
other DIP Document, or in any certificate, report, statement, or other document referred to or
provided for in, or received by the DIP Note Agent under or in connection with, this Agreement
or any other DIP Document, or the validity, effectiveness, genuineness, enforceability, or
sufficiency of this Agreement or any other DIP Document, or for any failure of Borrower to

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perform its obligations hereunder or thereunder. The DIP Note Agent shall not be under any
obligation to any DIP Note Purchaser to ascertain or to inquire as to the observance or performance
of any of the agreements contained in, or conditions of, this Agreement or any other DIP
Document, or to inspect the properties, books, or records of Borrower or any affiliate of Borrower.

        Without limiting the generality of the foregoing, the DIP Note Agent: (i) shall have no duty
to take any discretionary action or exercise any discretionary powers, except discretionary rights
and powers expressly contemplated hereby or by the other DIP Documents that the DIP Note
Agent is required to exercise as directed in writing by the DIP Consenting Secured Parties;
provided that the DIP Note Agent shall not be required to take any action that, in its judgment or
the judgment of its counsel, may expose such Person to liability or that is contrary to any DIP
Document or applicable requirements of law; and (ii) shall, except as expressly set forth herein
and in the other DIP Documents, have no duty to disclose, and shall not be liable for the failure to
disclose, any information relating to Borrower or any of their affiliates that is communicated to or
obtained by the Person serving as DIP Note Agent or any of its affiliates in any capacity.

       (d)     Reliance by the DIP Note Agent.

               (i)     The DIP Note Agent shall be entitled to rely, and shall be fully protected in
       relying, upon any writing, resolution, notice, consent, certificate, affidavit, letter, e-mail,
       facsimile, telex, or telephone message, statement, or other document or conversation
       believed by it to be genuine and correct and to have been signed, sent, or made by the
       proper Person or Persons, and upon advice and statements of legal counsel (including,
       without limitation, counsel to Borrower), independent accountants, and other experts. The
       DIP Note Agent shall be fully justified in failing or refusing to take any action under this
       Agreement or any other DIP Document unless it shall first receive such advice or
       concurrence of the DIP Consenting Secured Parties as it deems appropriate and, if it so
       requests, it shall first be indemnified to its satisfaction by the DIP Note Purchasers against
       any and all liability and expense which may be incurred by it by reason of taking or
       continuing to take any such action. The DIP Note Agent shall in all cases be fully protected
       in acting, or in refraining from acting, under this Agreement or any other DIP Document
       in accordance with a request or consent of the DIP Consenting Secured Parties (or all DIP
       Note Purchasers if so required by the terms of this Agreement) and such request and any
       action taken or failure to act pursuant thereto shall be binding upon all of the DIP Note
       Purchasers.

               (ii)    For purposes of determining compliance with the conditions specified in
       Section 4, each DIP Note Purchaser that has executed this Agreement shall be deemed to
       have consented to, approved, or accepted or to be satisfied with, each document or other
       matter either sent by the DIP Note Agent to such DIP Note Purchaser for consent, approval,
       acceptance, or satisfaction, or required thereunder to be consented to or approved by or
       acceptable or satisfactory to such DIP Note Purchaser.

        (e)     Notice of Default. The DIP Note Agent shall not be deemed to have knowledge or
notice of the occurrence of any Default or Event of Default, unless the DIP Note Agent shall have
received written notice from a DIP Note Purchaser or Note Party referring to this Agreement,


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describing such Default or Event of Default and stating that such notice is a “notice of default.”
The DIP Note Agent will notify the DIP Note Purchasers of its receipt of any such notice.

        (f)     Credit Decision. Each DIP Note Purchaser acknowledges that the DIP Note Agent
has not made any representation or warranty to it, and that no act by the DIP Note Agent hereinafter
taken, including any review of the affairs of Borrower and their affiliates, shall be deemed to
constitute any representation or warranty by the DIP Note Agent to any DIP Note Purchaser. Each
DIP Note Purchaser represents to the DIP Note Agent that it has, independently and without
reliance upon the DIP Note Agent and based on such documents and information as it has deemed
appropriate, made its own appraisal of an investigation into the business, prospects, operations,
property, financial and other condition, and creditworthiness of Borrower and their affiliates and
made its own decision to enter into this Agreement and to extend credit to Borrower. Each DIP
Note Purchaser also represents that it will, independently and without reliance upon the DIP Note
Agent and based on such documents and information as it shall deem appropriate at the time,
continue to make its own credit analysis, appraisals, and decisions in taking or not taking action
under this Agreement and the other DIP Documents, and to make such investigations as it deems
necessary to inform itself as to the business, prospects, operations, property, financial and other
condition, and creditworthiness of Borrower. Except for notices, reports, and other documents
expressly herein required to be furnished to the DIP Note Purchasers by the DIP Note Agent, the
DIP Note Agent shall not have any duty or responsibility to provide any DIP Note Purchaser with
any credit or other information concerning the business, prospects, operations, property, financial
and other condition, or creditworthiness of Borrower which may come into the possession of the
DIP Note Agent.

       (g)      The DIP Note Agent in Individual Capacity. With respect to its DIP Notes, the DIP
Note Agent as a DIP Note Purchaser shall have the same rights and powers under this Agreement
as any other DIP Note Purchaser and may exercise the same as though it were not the DIP Note
Agent, and the terms “DIP Note Purchaser” and “DIP Note Purchasers” include the DIP Note
Agent in its individual capacity as a DIP Note Purchaser hereunder.

        (h)     Successor DIP Note Agent. The DIP Note Agent may resign as the DIP Note Agent
upon thirty (30) days’ notice to the DIP Note Purchasers and Borrower, such resignation to be
effective, subject to the next succeeding paragraph of this Section 12(h), upon the acceptance of a
successor agent to its appointment as DIP Note Agent. If the DIP Note Agent resigns under this
Agreement, the DIP Consenting Secured Parties shall appoint a successor agent for the DIP Note
Purchasers. Upon the acceptance of its appointment as successor agent hereunder, such successor
agent shall succeed to all the rights, powers, and duties of the retiring DIP Note Agent and the term
“DIP Note Agent” shall mean such successor agent and the retiring DIP Note Agent’s appointment,
powers, and duties as the DIP Note Agent shall be terminated. After any retiring DIP Note Agent’s
resignation hereunder as DIP Note Agent, the provisions of this Section 12(h) shall inure to its
benefit as to any actions taken or omitted to be taken by it while it was the DIP Note Agent under
this Agreement.

       If no such successor DIP Note Agent shall have been so appointed by the DIP Note
Purchasers and shall have accepted such appointment within thirty (30) days after the retiring DIP
Note Agent gives notice of its resignation then such resignation shall nonetheless become effective
in accordance with such notice and (1) the retiring DIP Note Agent shall be discharged from its

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duties and obligations hereunder and under the other DIP Documents (except that in the case of
any DIP Collateral held by the DIP Note Agent on behalf of the DIP Note Purchasers under any
of the DIP Documents, the retiring DIP Note Agent shall continue to hold such DIP Collateral as
nominee until such time as a successor DIP Note Agent is appointed) and (2) all payments,
communications and determinations provided to be made by, to or through an DIP Note Agent
shall instead be made by or to each DIP Note Purchaser directly, until such time as the DIP Note
Purchasers appoint a successor DIP Note Agent as provided for above in this Section 12(h).

              (i)     After the replaced or retiring DIP Note Agent’s replacement or resignation
       hereunder and under the other DIP Documents, the provisions of this Section 12 and
       Section 11 shall continue in effect for the benefit of such replaced or retiring DIP Note
       Agent and its sub-agents in respect of any actions taken or omitted to be taken by any of
       them while the replaced or retiring DIP Note Agent was acting as DIP Note Agent.

       (i)    Restrictions on Actions by the DIP Note Purchasers; Sharing of Payments.

              (i)      Each DIP Note Purchaser hereby waives any and all rights to set-off against
       the Obligations, any amounts owing by such DIP Note Purchaser to Borrower or any
       accounts unrelated to the DIP Notes of Borrower now or hereafter maintained with such
       DIP Note Purchaser. Each of the DIP Note Purchasers further agrees that it shall not take
       or cause to be taken any action to enforce its rights under this Agreement or against
       Borrower, including the commencement of any legal or equitable proceedings, to foreclose
       any Lien on, or otherwise enforce any security interest in, any of the DIP Collateral.

               (ii)    If at any time or times any DIP Note Purchaser shall receive (i) by payment,
       foreclosure, setoff or otherwise, any proceeds of DIP Collateral or any payments with
       respect to the Obligations owing to such DIP Note Purchaser arising under, or relating to,
       this Agreement or the other DIP Documents, except for any such proceeds or payments
       received by such DIP Note Purchaser from the DIP Note Agent pursuant to the terms of
       this Agreement, or (ii) payments from the DIP Note Agent in excess of such DIP Note
       Purchaser’s pro rata share of all such distributions by the DIP Note Agent, such DIP Note
       Purchaser shall promptly turn the same over to the DIP Note Agent, in kind, and with such
       endorsements as may be required to negotiate the same to the DIP Note Agent, or in same
       day funds, as applicable, for the account of all of the DIP Note Purchasers and for
       application to the Obligations in accordance with the applicable provisions of this
       Agreement.

        (j)    Agency for Perfection. Each DIP Note Purchaser hereby appoints each other DIP
Note Purchaser as agent for the purpose of perfecting the DIP Note Purchasers’ security interest
in assets which, in accordance with Article 9 of the UCC, can be perfected by possession. Should
any DIP Note Purchaser (other than the DIP Note Agent) obtain possession of any such DIP
Collateral, such DIP Note Purchaser shall notify the DIP Note Agent thereof, and, promptly upon
the DIP Note Agent’s request therefor shall deliver such DIP Collateral to the DIP Note Agent or
otherwise deal with such DIP Collateral in accordance with the DIP Note Agent’s instructions.

      (k)    Payments by the DIP Note Agent to the DIP Note Purchasers. All payments to be
made by the DIP Note Agent to the DIP Note Purchasers shall be made by bank wire transfer of

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immediately available funds to each DIP Note Purchaser pursuant to wire transfer instructions
delivered in writing to the DIP Note Agent on or prior to the date hereof, or pursuant to such other
wire transfer instructions as each party may designate for itself by written notice to the DIP Note
Agent. Concurrently with each such payment, the DIP Note Agent shall identify whether such
payment (or any portion thereof) represents principal, premium, or interest on the DIP Notes or
otherwise.

        (l)     Concerning the DIP Collateral and the Related DIP Documents. Each DIP Note
Purchaser authorizes and directs the DIP Note Agent to enter into this Agreement and the other
DIP Documents relating to the DIP Collateral for the benefit of the DIP Note Agent and the DIP
Note Purchasers. Each DIP Note Purchaser agrees that any action taken by the DIP Note Agent
in accordance with the terms of this Agreement or the other DIP Documents relating to the DIP
Collateral, and the exercise by the DIP Note Agent of its respective powers set forth therein or
herein, together with such other powers that are reasonably incidental thereto, shall be binding
upon all of the DIP Note Purchasers.

       13.     Miscellaneous.

       (a)     Notices.

              (i)     Any communication, notice or demand required or permitted to be given
       hereunder shall be in writing and shall be delivered by hand or overnight courier service,
       or mailed by certified or registered mail at the address set forth in Schedule I hereto.
       Notices sent by hand or overnight courier service shall be deemed to have been given one
       (1) Business Day after sent; notices mailed by certified or registered mail, shall be deemed
       to have been given three (3) Business Days after sent.

               (ii)    The DIP Note Agent, any DIP Note Purchaser or Borrower may, in its
       discretion, agree to accept notices and other communications to it hereunder by electronic
       communications pursuant to procedures approved by it; provided that approval of such
       procedures may be limited to particular notices or communications. All such notices and
       other communications sent to an e-mail address shall be deemed received upon delivery
       (provided that the sender does not receive an automated rejection notice); provided that if
       not given during the normal business hours of the recipient, such notice or communication
       shall be deemed to have been given at the opening of business on the next Business Day
       for the recipient. Empery, until further notice to the other parties hereto, requires all
       documentation hereunder to be sent via electronic mail to the email address set forth in
       Schedule I hereto with the subject line “MusclePharm Corporation DIP Facility/ and the
       topic (i.e., Notice of Note Issuance, Notice of Payment, Proposed Budget, Budget
       Reconciliation, etc. as applicable) with a copy sent to the other addresses for the DIP Note
       Purchasers pursuant to Section 13(a)(i) above.

               (iii) Any party, by notice to the other parties hereto in accordance with this
       Section 13(a), may designate additional or different addresses from those described in
       clause (i) hereof for subsequent notices or communications.




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               (iv)   Notwithstanding anything in this Agreement to the contrary, any reporting
       to be provided and delivered under Section 6(a) of this Agreement or bankruptcy pleadings
       under Section 6(r) of this Agreement may be sent via email without a copy to follow via
       another approved method pursuant to Section 13(a)(i) above.

       DIP Note Agent shall provide notice of any communication, notice or demand it receives
       from Borrower to the DIP Consenting Secured Parties within one (1) Business Day of
       receipt.

        (b)     Entire Agreement; Severability. This Agreement together with the DIP Factoring
Agreement, the other DIP Documents, the Interim DIP Order and the Final Order, sets forth the
parties' entire agreement and understanding in respect of the subject matter contained
herein. Notwithstanding the foregoing, however, the Interim DIP Order and the Final Order, as
applicable, shall continue to govern the terms and conditions of the transactions contemplated
hereby to the extent materially inconsistent with, or address matters not addressed in, this
Agreement or the other DIP Documents. It shall not be deemed a material inconsistency as a result
of this Agreement or the other DIP Documents including additional terms and provisions not
included in the Final Order and the failure specifically to include any particular provisions of this
Agreement or the other DIP Documents in the Final Order shall not diminish or impair the
effectiveness of such provision, it being the intent of the Bankruptcy Court, the Note Parties, the
DIP Note Agent and the DIP Note Purchasers that this Agreement, the DIP Documents and the
Final Order be read together and consistent with one another. If any term or provision hereof, or
its application to any Person or circumstance, shall to any extent be invalid or unenforceable, the
remainder of this Agreement, or the application of such terms to Persons or circumstances other
than those as to which it is invalid or unenforceable, shall not be affected thereby and each term
hereof shall be valid and enforceable to the fullest extent permitted by applicable law.

        (c)     Assignment. Neither this Agreement nor any of the rights, interests or obligations
of Borrower hereunder shall be assigned or otherwise transferred by such Borrower, nor may
Borrower delegate performance hereunder, except with each DIP Note Purchaser’s prior written
consent. Each DIP Note Purchaser shall be permitted to assign all or any part of its rights and
obligations hereunder to any affiliate of such DIP Note Purchaser, bank, financial institution or
other entity. Upon such assignment, such affiliate, bank, financial institution, or entity will become
a DIP Note Purchaser for all purposes under the DIP Documents. The DIP Note Purchasers also
have the right to sell participations in the DIP Notes, provided, the DIP Note Purchaser maintains
all consent rights hereunder with respect to its DIP Notes. Notwithstanding the foregoing, no
assignment shall be made or participation sold to the Issuer, any subsidiary of the Issuer or an
Affiliate of any of the foregoing.

        (d)    Amendments; Waivers. All amendments, supplements or other modifications to
this Agreement or any other DIP Document must be in writing signed by Borrower and the DIP
Consenting Secured Parties (or the DIP Note Agent solely at the direction of the DIP Consenting
Secured Parties); provided, that, no such amendment, supplement or other modification shall,
without the prior written consent of (a) each DIP Note Purchaser affected thereby, (i) change the
definition of DIP Consenting Secured Parties, (ii) increase the DIP Note Purchase Commitment of
any DIP Note Purchaser (it being understood that waivers or modifications of conditions
precedent, covenants or Defaults or Events of Default, or a waiver of a mandatory prepayment

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shall not constitute an increase in the DIP Note Purchase Commitment of any DIP Note Purchaser),
(iii) consent to the assignment by Borrower of their rights and obligations hereunder, (iv) release
Borrower from its Obligations owing to such DIP Note Purchaser or all or substantially all of the
DIP Collateral or (v) change the super-priority status of the Obligations owing to such DIP Note
Purchaser and (b) the DIP Note Agent, amend, supplement or otherwise modify Section 12 of this
Agreement.

      (e)   APPLICABLE LAW. THIS AGREEMENT SHALL BE GOVERNED BY, AND
CONSTRUED AND ENFORCED IN ACCORDANCE WITH, THE INTERNAL LAWS OF
THE STATE OF NEVADA, WITHOUT REGARD TO THE CONFLICT OF LAW PRINCIPLES
THEREOF. EACH PARTY HERETO HEREBY CONSENTS AND AGREES THAT THE SO
LONG AS THE BANKRUPTCY COURT HAS JURISDICTION OVER THE CHAPTER 11
CASE, THE BANKRUPTCY COURT SHALL HAVE EXCLUSIVE JURISDICTION TO HEAR
AND DETERMINE ANY CLAIMS OR DISPUTES BETWEEN ANY DIP NOTE PURCHASER
AND BORROWER PERTAINING TO THIS AGREEMENT OR TO ANY MATTER ARISING
OUT OF OR RELATING TO THIS AGREEMENT; PROVIDED, THAT THE DIP NOTE
PURCHASERS AND BORROWER ACKNOWLEDGE THAT ANY APPEALS FROM THE
BANKRUPTCY COURT MAY HAVE TO BE HEARD BY A COURT OTHER THAN THE
BANKRUPTCY COURT; PROVIDED FURTHER, THAT AFTER THE CHAPTER 11 CASE
IS CLOSED, THE STATE AND FEDERAL COURTS LOCATED IN THE COUNTY OF NEW
YORK, STATE OF NEW YORK SHALL HAVE EXCLUSIVE JURISDICTION TO HEAR
AND DETERMINE ANY CLAIMS OR DISPUTES BETWEEN ANY DIP NOTE PURCHASER
AND BORROWER PERTAINING TO THIS AGREEMENT OR TO ANY MATTER ARISING
OUT OF OR RELATING TO THIS AGREEMENT, AND PROVIDED FURTHER, THAT
NOTHING IN THIS AGREEMENT SHALL BE DEEMED OR OPERATE TO PRECLUDE
THE DIP NOTE AGENT OR ANY DIP NOTE PURCHASER FROM BRINGING SUIT OR
TAKING OTHER LEGAL ACTION IN ANY OTHER JURISDICTION TO REALIZE ON ANY
DIP COLLATERAL OR ANY OTHER SECURITY FOR THE OBLIGATIONS OR TO
ENFORCE A JUDGMENT OR OTHER COURT ORDER IN FAVOR OF THE DIP NOTE
AGENT OR ANY DIP NOTE PURCHASER.

     (f)  WAIVER     OF  VENUE.      BORROWER   IRREVOCABLY     AND
UNCONDITIONALLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY
APPLICABLE LAW, ANY OBJECTION THAT IT MAY NOW OR HEREAFTER HAVE TO
THE LAYING OF VENUE OF ANY ACTION OR PROCEEDING ARISING OUT OF OR
RELATING TO THIS AGREEMENT IN ANY COURT REFERRED TO IN SECTION 13(e).
EACH OF THE PARTIES HERETO HEREBY IRREVOCABLY WAIVES, TO THE FULLEST
EXTENT PERMITTED BY APPLICABLE LAW, THE DEFENSE OF AN INCONVENIENT
FORUM TO THE MAINTENANCE OF SUCH ACTION OR PROCEEDING IN ANY SUCH
COURT.

     (g)   SERVICE OF PROCESS.      EACH PARTY HERETO IRREVOCABLY
CONSENTS TO SERVICE OF PROCESS IN THE MANNER PROVIDED FOR NOTICES IN
SECTION 13(a). NOTHING IN THIS AGREEMENT WILL AFFECT THE RIGHT OF ANY
PARTY HERETO TO SERVE PROCESS IN ANY OTHER MANNER PERMITTED BY
APPLICABLE LAW.


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     (h)  WAIVER OF JURY TRIAL.        EACH PARTY HERETO HEREBY
IRREVOCABLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE
LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN ANY LEGAL PROCEEDING
DIRECTLY OR INDIRECTLY ARISING OUT OF OR RELATING TO THIS AGREEMENT
OR THE TRANSACTIONS CONTEMPLATED HEREBY (WHETHER BASED ON
CONTRACT, TORT OR ANY OTHER THEORY).

        (i)     Counterparts. This Agreement may be executed in any number of counterparts and
by the parties hereto in separate counterparts, each of which when so executed shall be deemed to
be an original and all of which taken together shall constitute one and the same agreement. A
facsimile copy of a signature hereto shall have the same effect as the original of such signature.

       (j)     Reinstatement. In the event that any payment hereunder, or any part thereof, is
rescinded, reduced, restored or returned, the Obligations shall be reinstated and deemed reduced
only by such amount paid and not so rescinded, reduced, restored or returned.

        (k)     Binding Agreement. Upon the entry of the Second Interim DIP Order and Final
Order, as applicable, this Agreement shall be binding upon Borrower, the estate of Borrower and
any trustee or successor in interest of Borrower in the Chapter 11 Case or any subsequent case
commenced under Chapter 7 of the Bankruptcy Code. Upon the entry of the Second Interim DIP
Order and Final Order, as applicable, this Agreement shall be binding upon, and inure to the benefit
of, the successors of the DIP Note Agent and any DIP Note Purchaser and its assigns, transferees
and endorsees. The super-priority claims and any Liens that may be created by this Agreement
and the Second Interim DIP Order and Final Order, as applicable, shall be and remain valid and
perfected in the event of the substantive consolidation or conversion of the Chapter 11 Case or any
other bankruptcy case of Borrower to a case under Chapter 7 of the Bankruptcy Code or in the
event of dismissal of any Chapter 11 Case or the release of any DIP Collateral from the jurisdiction
of the Bankruptcy Court for any reason, without the necessity that the DIP Note Agent file
financing statements or otherwise perfect any security interests or Liens under applicable law.

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        IN WITNESS WHEREOF, the parties have caused this Agreement to be duly executed
as of the date first above written.



                                 DIP NOTE AGENT

                                 EMPERY TAX EFFICIENT, LP

                                 By:
                                 Name:
                                 Title:



                                 DIP NOTE PURCHASERS

                                 EMPERY TAX EFFICIENT, LP

                                 By:
                                 Name:
                                 Title:



                                 [Ɣ]

                                 By:
                                 Name:
                                 Title:
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                          NOTE PARTIES:

                          BORROWER

                          MUSCLEPHARM CORPORATION



                          By:
                          Name:
                          Title:




                          GUARANTOR

                          CANADA MUSCLEPHARM ENTERPRISES
                          CORPORATION



                          By:
                          Name:
                          Title:
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                                 EXHIBIT A

                              Authorized Budget

                         [To come from Borrower and
                    be consented to by the DIP Note Agent]
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                                           EXHIBIT B

                         FORM OF NOTICE OF NOTE ISSUANCE

                                                        Date: ___________, 2023

To:    EMPERY TAX EFFICIENT, LP
       __________________________
       __________________________
       __________________________


Ladies and Gentlemen:

               Reference is made to that certain Debtor-in-Possession Notes Purchase Agreement,
dated as of January [Ɣ], 2023 (as amended, restated, extended, supplemented or otherwise
modified from time to time, the “Agreement;” the terms defined therein being used herein as
therein defined), among MusclePharm Corporation, as a debtor-in-possession and the Borrower,
the DIP Note Purchasers and the DIP Note Agent.

The undersigned hereby requests the issuance of DIP Notes:

       1.      On                                            (a Business Day).

       2.      In the amount of $

Borrower hereby certifies that as of the date hereof:

            (i)         no Default or Event of Default has occurred and is continuing or would
       result after giving effect to the requested DIP Notes;

           (ii)       each representation and warranty by Borrower set forth in the Agreement
       and the other DIP Documents is true and correct in all respects; and

          (iii)     the funds from the DIP Note purchase being requested shall be used in
       accordance with Section 6(f) of the Agreement and in a manner consistent with the
       Authorized Budget.
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                                BORROWER:

                                MusclePharm Corporation


                                By: _____________________________________
                                Name:
                                Title:
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                                          SCHEDULE I

                                       Notice Information


Borrower

MusclePharm Corporation
______________________
______________________
______________________
Attn: _________________
Email: ________________

With a copy to (which shall not constitute notice):

______________________
______________________
______________________
Attn: _________________
Email: ________________


DIP Note Agent

Empery Tax Efficient, LP
____________________
____________________
____________________
Attn: _______________
Email: ______________
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DIP Note Purchasers

Empery Tax Efficient, LP
____________________
____________________
____________________
Attn: _______________
Email: ______________

With copies to (which shall not constitute notice):

Garman Turner Gordon
7251 Amigo Street, Suite 210
Las Vegas, NV 89119
Attn: Gregory E. Garman & William Noall
Email: ggarman@gtg.legal & wnoall@gtg.legal


and


____________________
____________________
Attn: _______________
Email: ______________
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                                  SCHEDULE II

                      DIP Note Purchase Commitment Schedule


DIP Note Purchaser     DIP Note Purchase       Pro Rata Share of       Pro Rata Share
                     Commitment/Aggregate     Additional DIP Note     of DIP Inventory
                       DIP Note Purchase           Purchase           Acquisition Line
                         Commitment              Commitment               of Credit
Empery Tax
Efficient, LP
         [Ɣ]
                                                    100%                   100%
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                                                 SCHEDULE III1


                                                          Aggregate Principal            Aggregate
                                                           Amount, including     Principal Amount,
                                                             OID, of October      including OID, of
    Prepetition Purchaser                                       Notes (USD)       June Notes (USD)

    Altium Growth Fund, LP                                       1,384,300.00           156,250.00

    Anson Investments Master Fund LP                             1,038,225.00           312,500.00

    Bigger Capital Fund, LP                                        692,150.00           312,500.00

    CVI Investments, Inc.                                          692,150.00                  0.00

    District 2 Capital Fund LP                                   1,038,225.00           312,500.00

    Empery Debt Opportunities Fund,
    LP                                                           1,245,870.00           281,250.00

    Empery Master Onshore, LLC                                     924,712.40           208,750.00

    Empery Tax Efficient, LP                                       276,860.00            62,500.00

    Empery Tax Efficient III, LP                                   321,157.60            72,500.00

    HB Fund LLC                                                    692,150.00           156,250.00

    Intracostal Capital LLC                                         69,214.99                  0.00

    Ionic Ventures                                                 692,150.00           312,500.00

    L1 Capital Global Opportunities
    Master Fund                                                    692,150.00                  0.00

    Roth Capital Partners, LLC                                           0.00           269,375.00

    Walleye Opportunities Master Fund
    Ltd.                                                                 0.00           625,000.00

    TOTAL                                                        9,759,315.00          3,081,875.00




1
    Schedule III to be reviewed and updated, as needed.
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                                                         SCHEDULE IV

    Order      DIP Collateral    DIP              DIP Collateral    DIP Collateral     Third-Party      Unencumbered      Superpriority
    of         Consisting of     Collateral       Consisting of     Not Consisting     Encumbered       Assets            Claims
    Priority   Pre-Petition      Consisting of    Post-Petition     of Factored        Assets4
               Factoring         Post-Petition    DIP Inventory     Accounts or
               Priority          Factored         Acquisition       DIP Inventory
               Collateral2       Accounts         Line of Credit    Acquisition
                                                  Purchasers        Line of Credit
                                                  Financed          Purchasers
                                                  Inventory3        Financed
                                                                    Inventory

    1st        Carve-Out and     Carve-Out and    DIP Inventory     Carve-Out and      Third-Party      Carve-Out         Carve-Out and
               Permitted         Permitted        Acquisition       Permitted Liens    Existing Liens                     Permitted
               Liens5            Liens            Line of Credit                                                          Liens
                                                  Purchasers
                                                  Financed
                                                  Inventory
                                                  Liens

    2nd        Prestige Liens6   DIP Factoring    Carve-Out and     DIP Note Liens     Carve-Out        DIP Note Liens,   DIP Notes
                                 Liens            Permitted         and Prepetition                     DIP Factoring     Superpriority
                                                  Liens             Notes Adequate                      Liens, DIP        Claim and
                                                                    Protection Liens                    Inventory         DIP Factoring
                                                                                                        Acquisition       Superpriority
                                                                                                        Line of Credit    Claim, DIP
                                                                                                        Purchasers        Inventory
                                                                                                        Financed          Acquisition
                                                                                                        Inventory         Line of Credit
                                                                                                        Liens, and        Purchasers
                                                                                                        Prepetition       Financed
                                                                                                        Notes Adequate    Inventory
                                                                                                        Protection        Superpriority
                                                                                                        Liens             Claim

    3rd        DIP Note Liens,   DIP Note         DIP Note          DIP Factoring      DIP Note         Prestige          Prepetition
               DIP Factoring     Liens, DIP       Liens, DIP        Liens, DIP         Liens, DIP       Adequate          Notes
               Liens, DIP        Inventory        Factoring         Inventory          Factoring        Protection        Adequate
               Inventory         Acquisition      Liens, and        Acquisition        Liens, DIP       Liens7            Protection
               Acquisition       Line of Credit   Prepetition       Line of Credit     Inventory                          Claim and
               Line of Credit    Purchasers       Notes             Purchasers         Acquisition                        Prestige
               Purchasers        Financed         Adequate                             Line of Credit                     Adequate

2
          As defined in the Intercreditor Agreement, dated as of October 13, 2021 (the “Prestige Intercreditor
Agreement”), among Prestige, Empery, as Notes Representative on behalf of the Prepetition Noteholders and
Prepetition Collateral Agent, and the Note Parties.
3
          “DIP Note Purchasers Financed Inventory” shall mean DIP Collateral made up of the specific inventory
items financed by the DIP Inventory Acquisition Line of Credit.
4
          “Third-Party Encumbered Assets” shall mean DIP Collateral that was, as of the Petition Date, subject to
valid, properly perfected, non-avoidable, and senior liens or security interests (excluding subordinated liens pursuant
to existing agreements) (collectively, the “Third-Party Existing Liens”) other than the liens and security interests
granted pursuant to the Prepetition Security Agreement (the “Prepetition Notes Liens”) and the Prestige Liens (as
defined below).
5
          “Permitted Liens” shall mean any liens that are senior by operation of law (including any such liens that are
perfected subsequent to the Petition Date as permitted by section 546(b) of the Bankruptcy Code) or that were, as of
the Petition Date, valid, properly perfected, non-avoidable and senior in priority to the Prepetition Notes Liens and
Prestige Liens.
6
          “Prestige Liens” shall mean any valid, properly perfected and non-avoidable liens on or security interests in
the Factoring Collateral created by the Factoring Security Documents (each as defined in the Prestige Intercreditor
Agreement).
7
          Subject to Prestige’s rights under paragraph 20 of the Final Order.
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            Financed           Inventory        Protection       Financed          Purchasers             Protection
            Inventory Liens,   Liens            Liens            Inventory Liens   Financed               Claim
            and Prepetition                                                        Inventory
            Notes Adequate                                                         Liens and
            Protection Liens                                                       Prepetition
                                                                                   Notes
                                                                                   Adequate
                                                                                   Protection
                                                                                   Liens

    4th     Prepetition        Prestige         Prepetition      Prepetition       Prestige
            Notes Liens        Adequate         Notes Liens      Notes Liens       Adequate
                               Protection                                          Protection
                               Liens                                               Liens8



    5th                        Prepetition      Prestige         Prestige
                               Notes            Adequate         Adequate
                               Adequate         Protection       Protection
                               Protection       Liens9           Liens10
                               Liens

    6th                        Prepetition      Prestige Liens   Prestige Liens
                               Notes Liens




8
           Subject to Prestige’s rights under paragraph 20 of the Final Order.
9
           Subject to Prestige’s rights under paragraph 20 of the Final Order.
10
           Subject to Prestige’s rights under paragraph 20 of the Final Order.
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                                    SCHEDULE V

                         Scheduled Preexisting Indebtedness

                                 [See attached list.]




NTD: Attached list from Borrower’s bankruptcy schedules and statements, and add UCC-
1 filed by Crown Equipment Corp. against Borrower.
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                                    SCHEDULE VI

                             Scheduled Preexisting Liens

                                 [See attached list.]




NTD: Attached list from Borrower’s bankruptcy schedules and statements, and add UCC-
1 filed by Crown Equipment Corp. against Borrower.
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                                    DEBTOR-IN-POSSESSION

                 FACTORING PURCHASE AND SECURITYAGREEMENT

        This DEBTOR-IN-POSSESSION FACTORING PURCHASE AND SECURITY
AGREEMENT (this “Agreement”), dated as of February [Ɣ], 2023, is entered into by and among
MusclePharm Corporation, a Nevada corporation, as a debtor-in-possession (“Seller”), Canada
MusclePharm Enterprises Corporation (“Guarantor”), Empery Tax Efficient, LP (“Empery”), in
its capacity as a factoring purchaser, [Ɣ] (each, a “DIP Factoring Purchaser”, and collectively, the
“DIP Factoring Purchasers”), and Empery, in its capacity as collateral agent, its successors and
assigns (“DIP Factoring Agent”).

                                        W I T N E S S E T H:

        WHEREAS, on December 15, 2022 (the “Petition Date”), Seller commenced Chapter 11
Case No. 22-14422-nmc (the “Chapter 11 Case”) by filing a voluntary petition for relief under
Chapter 11 of Title 11 of the United States Code, 11 U.S.C. 101 et seq. (the “Bankruptcy Code”),
with the United States Bankruptcy Court for the District of Nevada (the “Bankruptcy Court”).
Seller continues to operate its business and manage its assets and liabilities as a debtor and debtor-
in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

         WHEREAS, Seller has requested that the DIP Factoring Purchasers provide a factoring
facility to Seller to purchase Seller’s rights, title and interest in and to (i) all eligible post-Petition
accounts, and (ii) to the extent provided in the Interim Period (as hereinafter defined), purchase
orders arising from the sale of any product or goods or the rendering of services by Seller in the
ordinary course of Seller’s business;

        WHEREAS, Seller is unable to obtain funds or credit on better terms;

       WHEREAS, each DIP Factoring Purchaser has agreed to purchase the DIP Accounts and
DIP Purchase Orders (each as hereinafter defined) from Seller on the terms and conditions
hereunder on a several basis in an amount equal to its DIP Factoring Purchase Commitment;

        WHEREAS, subject to Bankruptcy Court approval, Seller has agreed to provide the DIP
Factoring Purchasers super-priority administrative expense claims pursuant to Section 364(c)(1)
of the Bankruptcy Code, in the Chapter 11 Case, against the Seller for its obligations to the DIP
Factoring Purchasers under this Agreement, the Interim DIP Orders and the Final Order having
the priority specified in the Interim DIP Orders and the Final Order; and

        WHEREAS, subject to Bankruptcy Court approval, Seller has agreed to secure all of its
obligations under this Agreement by granting to the DIP Factoring Purchasers, under and pursuant
to the Interim DIP Orders and the Final Order, a security interest in and lien upon substantially all
of their assets having the priority specified in the Interim DIP Orders and the Final Order.

        NOW, THEREFORE, in consideration of the foregoing recitals, and of the mutual
covenants, conditions and provisions hereinafter set forth, and for other valuable consideration,
the receipt and sufficiency of which are hereby acknowledged, the DIP Factoring Agent, each DIP
Factoring Purchaser and Seller hereby agree as follows:
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        1.     Definitions. As used in this Agreement, the following terms shall have the
following meanings (such meanings to be equally applicable to both the singular and plural forms
of the terms defined):

       “Acceptable Plan” means a plan of reorganization or liquidation reasonably acceptable to
the DIP Note Agent, which shall (i) provide for repayment in full in cash of the obligations under
the DIP Note Facility, inclusive of the Roll-Up Amount, and (ii) be acceptable to the DIP Note
Agent, in its reasonable discretion, with respect to the treatment of the Prepetition Secured Parties,
DIP Note Purchasers and DIP Factoring Purchasers.

         “Affiliates” of any Person is a Person that owns or controls directly or indirectly the Person,
any Person that controls or is controlled by or is under common control with the Person, and each
of that Person’s senior executive officers, directors, partners and, for any Person that is a limited
liability company, that Person’s managers and members.

       “Aggregate DIP Factoring Purchase Commitments” means Ten Million Dollars
($10,000,000), as such amount may be increased or reduced from time to time pursuant to the
terms hereof.

       “Agreement” has the meaning set forth in the preamble of this Agreement.

       “Allowed Claim” means the claim of the Prepetition Secured Parties of an amount not less
than Twelve Million Eight Hundred Forty Thousand Dollars ($12,840,000), which is the principal
amount of the Prepetition Notes, including the original issue discount, in addition to the
Obligations under the DIP Factoring Facility and DIP Note Facility, and reasonable attorneys’ fees
and expenses.

        “Authorized Budget” means any Proposed Budget for which Seller has received written
consent from the DIP Note Agent approving such Proposed Budget; provided, that upon delivery
by Seller and consent of the DIP Note Agent of any subsequent revised budget, such revised budget
shall thereafter constitute the Authorized Budget. The Authorized Budget as of the date hereof is
attached hereto as Exhibit A.

       “Bankruptcy Code” has the meaning set forth in the recitals of this Agreement.

       “Bankruptcy Court” has the meaning set forth in the recitals of this Agreement.

       “Bankruptcy Orders” mean, collectively, the Interim DIP Orders and the Final Order.

       “Board of Directors” means Eric Hillman, Paul Karr and Nicolas Rubin, who replaced the
Interim Board of Directors of Borrower and serve as board of directors of Borrower upon entry of
the Second Interim DIP Order.

      “Business Day” means any day other than a Saturday, Sunday or a day on which banks in
Las Vegas, Nevada are required or permitted to be closed.

      “Carve-Out” means the payment of (a) subject to the Authorized Budget, the aggregate
amount of any budgeted and unpaid fees, costs and expenses allowed by an order of the Bankruptcy

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Court up to an aggregate amount not to exceed $250,000 that were accrued or incurred prior to the
DIP Notes Maturity Date by the professionals retained in the Chapter 11 Case by Seller or on
behalf of its estate (collectively, the “Seller Professionals”) and by the professionals retained in
the Chapter 11 Case by the Creditors’ Committee (collectively, the “Creditors Committee
Professionals”), respectively, but in no event shall such carve-out exceed the unpaid Budget
amounts (on a line by line basis) for the Seller Professionals and the Creditors Committee
Professionals, respectively, prorated up to the date in the Authorized Budget coinciding with an
Event of Default, and (b) in the absence of a Sale Transaction Notice, (i) the aggregate amount of
any unpaid fees, costs and expenses allowed by an order of the Bankruptcy Court up to an
aggregate amount not to exceed $125,000 that were incurred after an Event of Default by the Seller
Professionals, and (ii) the aggregate amount of any unpaid fees, costs and expenses allowed by an
order of the Bankruptcy Court up to an aggregate amount not to exceed $65,000 that were incurred
after an Event of Default by the Creditors Committee Professionals, and (c) in the event of a Sale
Transaction Notice, the aggregate amount of any unpaid fees, costs and expenses, incurred after
the delivery of a Sale Transaction Notice by the Seller Professionals and the Creditors Committee
Professionals, when allowed by an order of the Bankruptcy Court and when the Sale Transaction
is completed, from the $190,000 in funds expressly earmarked from the Sale Transaction to fund
such fees, costs and expenses of the Seller Professionals and the Creditors Committee
Professionals.

        “Cash Collateral” means all cash, negotiable instruments, documents of title, securities,
deposit accounts, or other cash equivalents whenever or wherever acquired in which the Seller and
an entity other than the Seller has an interest, whether existing before or after the commencement
of the Chapter 11 Case and inclusive of cash collateral as defined in Section 363 of the Bankruptcy
Code.

       “Cash Management Order” means that certain Order Authorizing Maintenance of Existing
Bank Accounts and Related Relief [ECF No. 75], entered by the Bankruptcy Court in the Chapter
11 Case on January 9, 2023, and as approved on a final basis on February 9, 2023 [ECF No. __].

       “Chapter 11 Case” has the meaning set forth in the recitals of this Agreement.

        “Contingent Obligation” means as to any Person (the “guaranteeing person”), any
obligation (determined without duplication) of the guaranteeing person (or any other Person
(including any bank under any letter of credit) if the guaranteeing person has issued a
reimbursement, counter indemnity or similar obligation in favor of such other Person)
guaranteeing or in effect guaranteeing any Indebtedness, leases, dividends or other obligations (the
“primary obligations”) of any other third Person (the “primary obligor”) in any manner, whether
directly or indirectly, including any obligation of the guaranteeing person, whether or not
contingent, (i) to purchase any such primary obligation or any property constituting direct or
indirect security therefor, (ii) to advance or supply funds (1) for the purchase or payment of any
such primary obligation or (2) to maintain working capital or equity capital of the primary obligor
or otherwise to maintain the net worth or solvency of the primary obligor, (iii) to purchase property,
securities or services primarily for the purpose of assuring the owner of any such primary
obligation of the ability of the primary obligor to make payment of such primary obligation or (iv)
otherwise to assure or hold harmless the owner of any such primary obligation against loss in
respect thereof provided, however, that the term Contingent Obligation shall not include

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endorsements of instruments for deposit or collection in the ordinary course of business consistent
with past practice. The amount of any Contingent Obligation of any guaranteeing person shall be
deemed to be the lesser of the maximum stated amount of the primary obligations relating to such
Contingent Obligation (or, if less, the maximum stated liability set forth in the instrument
embodying such Contingent Obligation), or in the absence of any such stated amount or stated
liability, the amount of such Contingent Obligation shall be such guaranteeing person’s maximum
reasonably anticipated liability in respect thereof as reasonably determined by the Seller in good
faith in accordance with GAAP.

        “Creditors’ Committee” means the Official Committee of Unsecured Creditors appointed
in the Chapter 11 Case by the U.S. Trustee pursuant to the Bankruptcy Code on January 4, 2023
[ECF No. 49].

        “Default” means any event or circumstance which, with the giving of notice, the lapse of
time, or both, would (if not cured or otherwise remedied during such time) constitute an Event of
Default.

        “Defaulting DIP Factoring Purchaser” means any DIP Factoring Purchaser which (i) has
failed to purchase all or any portion of its DIP Accounts or DIP Purchase Orders within three (3)
Business Days of the date such DIP Accounts or DIP Purchase Orders were required to be
purchased hereunder unless such DIP Factoring Purchaser notifies the DIP Factoring Agent and
the other DIP Factoring Purchasers, in writing, that such failure is the result of such DIP Factoring
Purchaser’s determination that one or more conditions precedent to the purchase (each of which
conditions precedent, together with any applicable default, shall be specifically identified in such
writing) has not been satisfied or (ii) has, or has any Affiliate that has, become the subject of an
Insolvency Event.

        “DIP Accounts” means those specific post-Petition eligible accounts receivable owing to
Seller together with all rights of action accrued or to accrue thereon, including without limitation,
full power to collect, sue for, compromise, assign or in any other manner enforce collection thereof,
which are at any time hereafter assigned by Seller, and accepted by DIP Factoring Agent, as
collateral agent on behalf of the DIP Factoring Purchasers, as set forth on the assignment forms
provided by DIP Factoring Agent (the “Assignments”).

       “DIP Agents” means, collectively, the DIP Factoring Agent and the DIP Note Agent.

         “DIP Collateral” means all present and after acquired property (whether tangible,
intangible, real, personal or mixed) of the Seller Parties, wherever located, including, without
limitation, all accounts, inventory, equipment, capital stock in subsidiaries of the Seller Parties,
including, for the avoidance of doubt, any equity or other interests in the Seller Parties’ non-Seller
and/or jointly-owned subsidiaries (if any), investment property, instruments, chattel paper, real
estate, leasehold interests, contracts, patents, copyrights, trademarks and other general intangibles,
including all causes of action under Section 541 of the Bankruptcy Code (including commercial
tort claims), and all additional and accessions thereto and all substitutions and replacements
thereof, and all products, accounts and proceeds thereof, including without limitation, all proceeds
and accounts from the sale or transfer of the DIP Collateral and of insurance covering the same


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and of any tort claims in connection therewith, excluding any causes of action under Bankruptcy
Code Sections 502(d), 544, 545, 547, 548, 549, 550 or 553, including the proceeds thereof.

      “DIP Consenting Secured Parties” means the DIP Factoring Agent, the DIP Note Agent
and Empery, in its capacity as a DIP Factoring Purchaser.

         “DIP Documents” means (i) this Agreement, (ii) the DIP Note Purchase Agreement, (iii)
(iii) the Assignments, (iv) the DIP Notes, (iv) the Guaranty, (v) the DIP Note Guaranty, (vi) the
Bankruptcy Orders, and (vii) all other security agreements, pledge agreements, patent, trademark
and copyright security agreements, control agreements and any other instruments and documents
creating or purporting to create a Lien and/or reasonably related to the foregoing, and all
amendments, restatements, modifications or supplements thereof or thereto.

        “DIP Facilities” means, collectively, the DIP Factoring Facility and the DIP Note Facility,
inclusive of the DIP Inventory Acquisition Line of Credit.

         “DIP Factoring Agent” means Empery Tax Efficient, LP, and its successors and assigns,
in its capacity as the sole collateral agent for the DIP Factoring Purchasers under this Agreement.

        “DIP Factoring Disbursement Account” means a debtor-in-possession deposit account of
Seller subject to a deposit account control agreement in favor of DIP Factoring Agent (or its
designated sub-agent) and pursuant to which DIP Factoring Agent (either itself or through its sub-
agent) maintains control and shall have a Lien pursuant to the Bankruptcy Orders.

        “DIP Factoring Facility” means the factoring facility whereby the DIP Factoring
Purchasers have agreed to purchase and receive from Seller, in an aggregate amount of up to Ten
Million Dollars ($10,000,000), all of Seller’s right, title and interest in and to the DIP Accounts
and during the Interim Period, the DIP Purchase Orders, pursuant to the terms and conditions set
forth in this Agreement.

        “DIP Factoring Purchase Commitment” means, for each DIP Factoring Purchaser, the
obligation of such DIP Factoring Purchaser to purchase the DIP Accounts and DIP Purchase
Orders from the Seller in the aggregate amount not exceeding the amount set forth on Schedule II
hereto.

       “DIP Factoring Purchasers” means Empery and [Ɣ].

       “DIP Inventory Acquisition Line Advance” means each advance of funds made available
to the Seller under the DIP Inventory Acquisition Line of Credit, on a revolving basis, in
accordance with the Authorized Budget and the terms and conditions of the DIP Note Purchase
Agreement, but in no event shall the aggregate DIP Inventory Acquisition Line Advances
outstanding at any time exceed the amount of the DIP Inventory Acquisition Line of Credit.

        “DIP Inventory Acquisition Line of Credit” means a revolving line-of-credit in an amount
up to One Million Dollars ($1,000,000) under the DIP Note Facility, available solely to fund
Seller’s acquisition of inventory for Seller’s business in accordance with the Authorized Budget
on an as needed basis.


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       “DIP Inventory Acquisition Line of Credit Purchasers” means Empery and [Ɣ].

        “DIP Inventory Acquisition Line of Credit Purchasers Financed Inventory” means that
certain inventory of Seller acquired in whole or in part by funds made available to Seller through
the DIP Inventory Acquisition Line of Credit.

        “DIP Inventory Acquisition Line of Credit Purchasers Financed Inventory Liens” means
the liens and security interests granted to secure the DIP Inventory Acquisition Line of Credit.

       “DIP Inventory Acquisition Line of Credit Purchasers Financed Inventory Proceeds”
means the proceeds of the DIP Collateral constituting the DIP Inventory Acquisition Line of Credit
Purchasers Financed Inventory.

       “DIP Motion” means the motion filed by Seller with the Bankruptcy Court in the Chapter
11 Case, together with all supplements and amendments thereto, seeking Bankruptcy Court
approval of the DIP Factoring Facility and the DIP Note Facility.

        “DIP Note Agent” means Empery Tax Efficient, LP, in its capacity as the sole collateral
agent for the DIP Note Purchasers under the DIP Note Agreement.

        “DIP Note Facility” means that certain super-priority senior secured multiple issuance note
facility in the aggregate principal amount of Five Million Five Hundred Thousand Dollars
($5,500,000), inclusive of the DIP Inventory Acquisition Line of Credit, but excluding the Roll-
Up Amount, entered into by and between Seller and the DIP Note Purchasers simultaneously
herewith, evidenced by, and subject to the terms and conditions of, the DIP Note Purchase
Agreement.

       “DIP Note Guaranty” means that certain Guaranty Agreement executed by Guarantor in
favor of the DIP Note Purchasers guaranteeing the DIP Note Facility.

       “DIP Note Purchase Agreement” means that certain Debtor-in-Possession Note Purchase
and Security Agreement entered into by and between Seller and the DIP Note Purchasers
evidencing the DIP Note Facility and the terms and conditions thereof.

       “DIP Note Purchasers” means Empery and [Ɣ].

       “DIP Notes” means each advance, including without limitation each Inventory Acquisition
Line Advance, made under that certain promissory note issued in accordance with the terms of the
DIP Note Purchase Agreement and stated on the addendum to such promissory note evidencing
the amount of each such advance made.

        “DIP Notes Maturity Date” means the earliest of (a) December 31, 2023 (the “Scheduled
Termination Date”), (b) the date of acceleration of the DIP Notes under the DIP Note Purchase
Agreement, (c) the date of the closing of a Sale Transaction or any other sale of all or substantially
all of Seller’s assets, including pursuant to Section 363 of the Bankruptcy Code, (d) the filing of a
chapter 11 plan with respect to Seller that is not an Acceptable Plan, and (e) the closing date for
debtor-in-possession financing with another lending source approved by the Final Order.


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        “DIP Purchase Orders” means those certain purchase orders of Seller arising from the sale
of any product or goods or the rendering of services by Seller in the ordinary course of the Seller’s
business that: (i) have been approved in writing by Eric Hillman; and (ii) JW has confirmed in
writing can be manufactured in accordance with the terms of such purchase order.

        “Equity Interests” means shares of capital stock, partnership interests, membership
interests in a limited liability company, beneficial interests in a trust or other equity ownership
interests in a Person, and any warrants, options or other rights entitling the holder thereof to
purchase or acquire any such equity interest.

       “Event of Default” has the meaning set forth in Section 7 of this Agreement.

       “Facility Fee” means fifty basis points (0.50%) of each DIP Account or DIP Purchase
Order purchased by DIP Factoring Purchasers, payable at the time of each such purchase.

        “Final Order” means, collectively, the order of the Bankruptcy Court entered in the Chapter
11 Case after a final hearing under Bankruptcy Rule 4001(c)(2) or such other procedures as
approved by the Bankruptcy Court approving the DIP Factoring Facility and the DIP Note Facility
and authorizing the execution and delivery of the DIP Documents by Seller, the issuance of the
DIP Notes and the purchase of the DIP Accounts and DIP Purchase Orders and the relief provided
for thereunder, and the Roll-Up Amount of the Prepetition Notes being converted on a cashless
basis into the DIP Notes with one dollar of principal due under the Prepetition Notes to roll-up and
convert for each dollar of principal amount drawn under the DIP Note Facility (exclusive of any
DIP Inventory Acquisition Line Advance), which order shall stipulate as to the amount and priority
of the Prepetition Note Liens and otherwise be reasonably satisfactory in form and substance to
the DIP Agents, together with all extensions, modifications and amendments thereto, which,
among other matters but not by way of limitation, authorizes Seller to obtain credit, incur and
guaranty debt, grant Liens and provide for the super priority administrative claim status of the DIP
Factoring Purchasers’ claims under this Agreement; provided such order has not been stayed or
modified (without the consent of the DIP Note Agent).

       “First Interim DIP Order” means that certain First Interim Order Pursuant to Emergency
Motion For Interim and Final Orders Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, and 364 and
Fed. R. Bankr. P. 4001(B) and 4001(D): (I) Authorizing the Debtor to Obtain Post-Petition
Financing, (II) Granting Priming Liens and Administrative Expense Claims, (III) Determining
Adequate Protection, (IV) Modifying the Automatic Stay, and (V) Granting Related Relief [ECF
No. 74], entered by the Bankruptcy Court in the Chapter 11 Case on January 9, 2023, authorizing
Borrower, among other things, to borrow up to One Hundred Fifty Thousand ($150,000) from
Empery on an interim basis.

        “GAAP” is generally accepted accounting principles set forth in the opinions and
pronouncements of the Accounting Principles Board of the American Institute of Certified Public
Accountants and statements and pronouncements of the Financial Accounting Standards Board or
in such other statements by such other Person as may be approved by a significant segment of the
accounting profession, which are applicable to the circumstances as of the date of determination.




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       “Governmental Authority” means any nation or government, any state, city, province or
other political subdivision thereof, and any agency, department or other entity exercising
executive, legislative, judicial, regulatory or administrative functions of or pertaining to
government.

       “Guarantor” has the meaning set forth in the preamble of this Agreement.

      “Guaranty” means that certain Guaranty Agreement executed by Guarantor in favor of the
DIP Factoring Purchasers guaranteeing the DIP Factoring Facility.

         “Indebtedness” of any Person means, without duplication, (a) all obligations of such Person
for borrowed money or with respect to deposits or advances of any kind, (b) all obligations of such
Person evidenced by bonds, debentures, notes or similar instruments, (c) all obligations of such
Person upon which interest charges are customarily paid, (d) all obligations of such Person under
conditional sale or other title retention agreements relating to property acquired by such Person,
(e) all obligations of such Person in respect of the deferred purchase price of property or services
(excluding current accounts payable incurred in the ordinary course of business), (f) all
Indebtedness of others secured by (or for which the holder of such Indebtedness has an existing
right, contingent or otherwise, to be secured by) any Lien on property owned or acquired by such
Person, whether or not the Indebtedness secured thereby has been assumed, (g) all Contingent
Obligations of such Person, (h) all capital lease obligations of such Person, (i) all obligations,
contingent or otherwise, of such Person as an account party in respect of letters of credit, letters of
guaranty, surety bonds and similar facilities or obligations, (j) all obligations, contingent or
otherwise, of such Person in respect of bankers’ acceptances and (k) all obligations of such Person
under sale and leaseback transactions.

       “Independent Director” means Nicholas Rubin, nominated by the Interim Board of
Directors, approved by the DIP Note Agent, and approved in the Second Interim DIP Order, to
serve on the Board of Directors of Seller.

        “Insolvency Event” means, as to any Person, that such Person has (i) become the subject
of a proceeding under the Bankruptcy Code or any other liquidation, conservatorship, bankruptcy,
assignment for the benefit of creditors, moratorium, rearrangement, receivership, insolvency,
reorganization, or similar debtor relief laws of the United States or other applicable jurisdictions
from time to time which proceeding is not dismissed within sixty (60) days after the
commencement of the same, (ii) had appointed for it a receiver, custodian, conservator, trustee,
administrator, assignee for the benefit of creditors or similar Person charged with reorganization
or liquidation of its business or assets, (iii) has taken any action in furtherance of, or indicated its
consent to, approval of or acquiescence in any such proceeding or appointment, (iv) become
insolvent or been determined by any Governmental Authority having regulatory authority over
such Person or its assets, to be insolvent, or the assets or management of which has been taken
over by any Governmental Authority, (v) is generally unable to pay its debts as they become due,
or has admitted in writing its inability to pay its debts as they become due or (vi) has made a
general assignment for the benefit of creditors.

       “Interest Rate” means nine and three-quarters of one percent (9.75%) per annum.


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        “Interim Board of Directors” means Paul Karr and Eric Hillman, who replaced all members
of Seller’s board of directors as of the Petition Date and serve as board of directors of Seller
through the date that the Second Interim DIP Order was entered.

       “Interim DIP Orders” means, collectively, the First Interim DIP Order and the Second
Interim DIP Order.

       “Interim Period” means the period of time between the First Interim DIP Order and the
Final Order.

        “Investment” of a Person means any loan, advance, extension of credit (other than accounts
receivable arising in the ordinary course of business on terms customary in the trade), deposit
account or contribution of capital by such Person to any other Person or any investment in
(including Contingent Obligations of such Person for the benefit of or to support any obligation of
such other Person), or purchase or other acquisition of Equity Interests, notes, debentures or other
debt or equity securities of any other Person made by such Person.

       “JW” means JW Nutritional, LLC.

        “Lien” means any mortgage, pledge, hypothecation, assignment, deposit arrangement,
encumbrance, lien (statutory or other), charge, or preference, priority or other security interest or
preferential arrangement of any kind or nature whatsoever (including, without limitation, the
interest of a vendor or lessor under any conditional sale, capitalized lease or other title retention
agreement or any financing lease having substantially the same economic effect as any of the
foregoing) and, in the case of debt, equity or similar instrument, any purchase option, call or similar
right of any Person (other than the issuer of such securities) with respect to such debt, equity or
similar instrument.

       “Milestone Requirements” shall mean each of the following:

           (a) The Bankruptcy Court shall enter the Final Order, which order shall be in form and
substance acceptable to the DIP Note Agent, approving the DIP Note Facility (including the Roll-
Up Amount) and the DIP Factoring Facility on a final basis no later than February 21, 2023 (unless
waived by the DIP Note Agent).

           (b) Seller shall file an Acceptable Plan by no later than September 30, 2023.

           (c) The Bankruptcy Court shall approve an Acceptable Plan by December 15, 2023.

            (d) In the event that Borrower fails to file an Acceptable Plan by September 30, 2023,
Borrower shall commence a Sale Transaction within fourteen (14) days of receipt of written notice
by the DIP Note Agent (the “Sale Transaction Notice”). In the event a Sale Transaction Notice is
given to Borrower, Borrower shall commence a Sale Transaction within five (5) days of receipt of
such Sale Transaction Notice. Unless otherwise waived by the DIP Note Agent, in its sole
discretion, a stalking horse for the Sale Transaction shall be selected within twenty-five (25) days
from receipt of the Sale Transaction Notice, and the Sale Transaction shall be completed within
sixty (60) days of the commencement of the Sale Transaction. Without limiting the foregoing, the


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procedure and timing of a Sale Transaction shall be satisfactory to the DIP Note Agent, in its sole
discretion.

       “Note Parties” means collectively, Seller and Guarantor.

        “Obligations” means all loans, advances, liabilities, obligations, covenants, duties, and
debts owing by Seller (or any one thereof) to the DIP Factoring Agent and/or any DIP Factoring
Purchaser, arising under or pursuant to this Agreement or any of the other DIP Documents, whether
or not evidenced by any note, or other instrument or document, whether arising from an extension
of credit, acceptance, loan, guaranty, indemnification, or otherwise, whether direct or indirect,
absolute or contingent, due or to become due, primary or secondary, as principal or guarantor, and
including all principal, interest, charges, expenses, fees, attorneys’ fees, filing fees, and any other
sums chargeable to Seller hereunder or under any of the other DIP Documents including, without
limitation, all debts, liabilities, and obligations of Seller now or hereafter arising from or in
connection with the DIP Factoring Facility, including without limitation, the reasonable fees and
expenses of the DIP Factoring Agent and each DIP Factoring Purchaser incurred in connection
with the DIP Factoring Facility.

       “Permitted Encumbrances” means:

              (a) Liens imposed by law for taxes, fees, assessments or other charges that are not
       yet due or are being contested in good faith;

              (b) Liens that are senior by operation of law (including any such liens that are
       perfected subsequent to the Petition Date as permitted by section 546(b) of the Bankruptcy
       Code); and

              (c) Liens that were, as of the Petition Date, valid, properly perfected, non-avoidable
       and senior in priority to the Prepetition Notes Liens and to any valid, properly perfected
       and non-avoidable liens on or security interests in collateral granted to Prestige Capital
       Finance, LLC, and its successors and assigns, in connection with its prepetition factoring
       agreement with Seller.

provided, that the term “Permitted Encumbrances” shall not include any Lien securing
Indebtedness other than as specifically provided in (b) and (c) above.

       “Person” means any individual, sole proprietorship, partnership, joint venture, trust,
unincorporated organization, association, corporation, limited liability company, institution,
public benefit corporation, other entity or Governmental Authority.

       “Petition Date” has the meaning set forth in the recitals of this Agreement.

        “Prepetition Collateral Agent” means Empery Tax Efficient, LP, in its capacity as collateral
agent for the Prepetition Purchasers.

        “Prepetition Note Liens” means the liens and security interests granted to secure the
Prepetition Notes.


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        “Prepetition Notes” means those certain Original Issue Discount Senior Secured Notes
dated as of October 13, 2021 (as amended, restated, supplemented or otherwise modified from
time to time) and Original Issue Discount Senior Secured Notes dated as of June 10, 2022 (as
amended, restated, supplemented or otherwise modified from time to time), in each case issued by
Seller, which Prepetition Notes are described in further detail on Schedule III hereto.

        “Prepetition Purchasers” means the holders of the Prepetition Notes as described in further
detail on Schedule III hereto.

        “Prepetition Secured Parties” means collectively, the Prepetition Purchasers and the
Prepetition Collateral Agent.

       “Prestige” means Prestige Capital Finance, LLC.

        “Proposed Budget” means a thirteen-week reasonably detailed forecast of Seller
commencing with the week in which the Petition Date occurs, setting forth on a line-item basis the
projected cash receipts and disbursements on a weekly basis and shall include separate line items
for each of the Seller’s Professionals and the Creditors Committee’s Professionals, prepared by
the Seller and submitted to the DIP Note Agent for its consent, and which budget shall be updated
on the one-week anniversary of the Second Interim DIP Order and every four weeks on Wednesday
(commencing with the Wednesday of the fourth full week commencing after the one-week
anniversary of the Second Interim DIP Order).

        “pro rata share” means, at any time for any DIP Factoring Purchaser, the ratio at such time
that such DIP Factoring Purchaser’s Commitment bears to the Aggregate DIP Factoring Purchase
Commitment which, as of the date hereof, is set forth on Schedule II hereto. If the DIP Factoring
Purchase Commitment of any DIP Factoring Purchaser has been terminated, the pro rata share of
such DIP Factoring Purchaser will be calculated with respect to the DIP Accounts and DIP
Purchase Orders of such DIP Factoring Purchaser outstanding immediately prior to such DIP
Factoring Purchase Commitment termination.

        “Purchase Price” means for any DIP Account and DIP Purchase Order sold hereunder, the
amount actually received in payment of such DIP Account and DIP Purchase Order; provided,
however, for purposes of the Aggregate Advances and the Reserves, the Purchase Price shall be
equal to the net face value of the DIP Accounts and the DIP Purchase Orders less the applicable
returns, credits, allowances, and discounts, and less all other sums charged or chargeable to
Seller’s DIP Accounts and DIP Purchase Orders.

        “Restricted Payment” means any dividend or other distribution (whether in cash, securities
or other property) with respect to any Equity Interests in Seller, or any payment (whether in cash,
securities or other property), including any distributions of cash in order to pay management fees
or taxes attributable to the income of Seller or any of its subsidiaries, and including any sinking
fund or similar deposit, on account of the purchase, redemption, retirement, acquisition,
cancellation or termination of any such Equity Interests in Seller or any option, warrant or other
right to acquire any such Equity Interests in Seller.

       “Roll-Up Amount” means up to Four Million Five Hundred Thousand Dollars
($4,500,000.) of principal due under the Prepetition Notes which shall be deemed to be Obligations
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under the DIP Note Facility, in a principal amount equal to $1.00 of the Prepetition Notes principal
amount outstanding for each $1.00 drawn under the DIP Note Facility (exclusive of any DIP
Inventory Acquisition Line Advance), subject to a Disallowed Claim during the Challenge Period,
in which case if the Allowed Claim, after being reduced by the amount of the Disallowed Claim,
is less than the Roll-Up Amount, then the Roll-Up Amount shall be reduced such that the Roll-Up
Amount equals the Allowed Claim.

       “Sale Transaction” means a sale under Section 363 of the Bankruptcy Code.

       “Scheduled Preexisting Indebtedness” means that certain secured Indebtedness specifically
and solely to the extent as set forth on Schedule V hereto which was preexisting as of the date of
this Agreement.

        “Scheduled Preexisting Liens” means those certain Liens specifically and solely to the
extent as set forth on Schedule VI hereto which were preexisting as of the date of this Agreement.

        “Second Interim DIP Order” means the Second Interim Order Pursuant to Emergency
Motion for Interim and Final Orders Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, and 364 and
Fed. R. Bankr. P. 4001(B) and 4001(D): (I) Authorizing the Debtor to Obtain Post-Petition
Financing, (II) Granting Priming Liens and Administrative Expense Claims, (III) Determining
Adequate Protection, (IV) Modifying the Automatic Stay, and (V) Granting Related Relief [ECF
No. 139] of the Bankruptcy Court entered in the Chapter 11 Case on January 23, 2023, approving
the terms set forth in the term sheet presented by Borrower to the Bankruptcy Court for hearing on
the DIP Note Facility and DIP Factoring Facility and authorizing up to Seven Hundred Fifty
Thousand Dollars ($750,000) to be made available in one or more issuances of the DIP Notes and
up to Ten Million Dollars ($10,000,000) under the DIP Factoring Facility, with up to Two Million
Dollars ($2,000,000) of the Ten Million Dollars ($10,000,000) available for the purchase of
purchase orders during the Interim Period and the relief provided for thereunder, together with all
extensions, modifications and amendments thereto, which, among other matters but not by way of
limitation, authorizes Borrower to obtain credit, incur and guaranty debt, grant senior Liens and
provide for the super priority administrative claim status of the DIP Factoring Purchasers’ claims
under this Agreement; provided such order has not been stayed or modified (without the consent
of the DIP Note Agent).

       “Section 541 Proceeds” means the proceeds of the DIP Collateral constituting causes of
action which are property of the estate under Section 541 of the Bankruptcy Code owned by Seller.

       “Seller” has the meaning set forth in the preamble of this Agreement.

       “Seller Parties” means collectively, Seller and Guarantor.

       “Termination Date” means the earliest of (a) December 31, 2023, (b) the date of
acceleration of any of the Obligations pursuant to Section 8, (c) the date of the closing of a Sale
Transaction or any other sale of all or substantially all of Seller’s assets pursuant to Section 363 of
the Bankruptcy Code, (d) the filing of a chapter 11 plan with respect to Borrower that is not an
Acceptable Plan, and (e) the closing date for debtor-in-possession financing with another lending
source approved by the Final Order.


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   2.      DIP Factoring Purchase Facility.

   (a)     DIP Factoring Purchase.

          (i)     Subject to all of the terms and conditions of this Agreement and the
   Bankruptcy Orders, each DIP Factoring Purchaser severally agrees to purchase from Seller,
   and Seller hereby agrees to sell, transfer and assign all of Seller’s right, title and interest in
   and to each of those certain DIP Accounts and DIP Purchase Orders set forth on the
   Assignments, together with all rights of action accrued or to accrue thereon, including
   without limitation, full power to collect, sue for, compromise, assign or in any other manner
   enforce collection thereof, to the DIP Factoring Purchasers, either in their name or in the
   DIP Factoring Agent’s name of behalf of such DIP Factoring Purchaser, in an aggregate
   amount not to exceed its DIP Factoring Purchase Commitment.

           (ii)     Upon the entry of the Second Interim DIP Order, during the Interim Period,
   Seller shall be entitled, subject to the terms and conditions of this Agreement, to sell DIP
   Accounts and DIP Purchase Orders in an amount at any time outstanding not to exceed the
   lesser of (i) the amount permitted by the Second Interim DIP Order and (ii) Ten Million
   Dollars ($10,000,000), with up to Two Million Dollars ($2,000,000) of the Ten Million
   Dollars ($10,000,000) available with respect to any DIP Purchase Orders (provided that
   when such DIP Purchase Orders convert to DIP Accounts, the DIP Factoring Facility shall
   not exceed Ten Million Dollars ($10,000,000)). It is understood and agreed that Seller
   shall only be entitled to sell, and the DIP Factoring Purchasers shall only be entitled to
   purchase, DIP Purchase Orders, during the Interim Period only and not after the entry of
   the Final Order, and the DIP Factoring Purchasers will only factor up to $2,000,000 of DIP
   Purchase Orders during the Interim Period.

          (iii) Upon the entry of the Final Order, Seller shall be entitled, subject to the
   terms and conditions of this Agreement, to sell DIP Accounts in an amount at any time
   outstanding not to exceed the lesser of (i) the amount permitted by the Final Order and (ii)
   the Aggregate DIP Factoring Purchase Commitment.

          (iv)    The DIP Factoring Purchasers, in the sole discretion of the DIP Factoring
   Agent, may advance up to (i) one hundred percent (100%) of the face amount of the DIP
   Accounts and DIP Purchase Orders up to the first One Million Dollars ($1,000,000)
   purchased, and (ii) eighty percent (80%) of the face amount of the DIP Accounts purchased
   in excess of One Million Dollars ($1,000,000), less the Facility Fee (each a “Down
   Payment” and collectively the “Aggregate Advances”). Notwithstanding anything to the
   contrary contained in this Agreement, the maximum Aggregate Advances shall not exceed
   the Aggregate DIP Factoring Purchase Commitment.

           (v)     The purchase of the DIP Accounts and DIP Purchase Orders shall be made
   ratably by the DIP Factoring Purchasers in accordance with their respective pro rata shares.

          (vi)    Subject to the prior satisfaction of all other applicable conditions to the sale
   and purchase of the DIP Accounts and DIP Purchase Orders set forth in this Agreement,
   for purposes of each Assignment, Seller shall notify the DIP Factoring Purchasers of DIP

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   Accounts and DIP Purchase Orders to be sold not less than three (3) Business Days prior
   to the proposed date of the Assignment. Immediately upon receipt of any such written
   notice, the DIP Factoring Agent shall confirm receipt of such written notice by each of the
   DIP Factoring Purchasers. DIP Factoring Purchasers will fund the purchase of the DIP
   Accounts and DIP Purchase Orders by wire transfer to the DIP Factoring Disbursement
   Account. To the extent the DIP Factoring Purchasers provide funds to the DIP Factoring
   Agent, the DIP Factoring Agent will make the funds so received from the DIP Factoring
   Purchasers available to Seller by wire transfer to the DIP Factoring Disbursement Account.

           (vii) The DIP Factoring Agent and the DIP Factoring Purchasers, or any of its or
   their agents, may at any time verify the DIP Accounts and DIP Purchase Orders by any
   means deemed appropriate by DIP Factoring Agent and the DIP Factoring Purchasers.

          (viii) The DIP Factoring Agent shall record on its books the Purchase Price of the
   DIP Accounts and DIP Purchase Orders purchased by each DIP Factoring Purchaser from
   time to time. In addition, each DIP Factoring Purchaser is authorized, at such DIP
   Factoring Purchaser’s option, to note the date and amount of each payment of collection of
   such DIP Factoring Purchaser’s DIP Accounts and DIP Purchase Orders in its books and
   records, including computer records, such books and records constituting presumptive
   evidence, absent manifest error, of the accuracy of the information contained therein.

           (ix)    Once DIP Factoring Purchasers have purchased the DIP Accounts and DIP
   Purchase Orders, the payment from account debtors relative to the DIP Accounts and DIP
   Purchase Orders is the sole property of the DIP Factoring Purchasers. Any interference by
   Seller with this payment may result in civil and/or criminal liability.

        (x)   IT IS THE INTENTION OF THE PARTIES THAT AS TO ALL DIP
   ACCOUNTS AND DIP PURCHASE ORDERS (DURING THE INTERIM PERIOD)
   THAT DIP FACTORING PURCHASERS ELECT TO PURCHASE SHALL
   CONSTITUTE A TRUE PURCHASE AND SALE OF ACCOUNT(S) UNDER § 9-318
   OF THE UNIFORM COMMERCIAL CODE AND AS SUCH, THE SELLER SHALL
   HAVE NO LEGAL OR EQUITABLE INTEREST IN THE DIP ACCOUNTS AND DIP
   PURCHASE ORDERS SOLD.

   (b)    Interest.

           (i)     The Aggregate Advances made in accordance with this Agreement shall
   bear interest from the date of disbursement until the date of collection with respect to each
   DIP Account and DIP Purchase Order. Interest shall accrue on such Aggregate Advances
   from time to time outstanding hereunder at the Interest Rate.

           (ii)    Interest on the Aggregate Advances shall accrue based on a year of 360 days
   and actual days elapsed. All accrued and outstanding interest will be due and payable on
   the earlier to occur of the (i) date of collection with respect to each DIP Account and DIP
   Purchase Order, or (ii) the Termination Date.

          (iii) Upon the occurrence and during the continuance of an Event of Default, the
   outstanding amount of the Aggregate Advances (and any accrued but unpaid interest) shall
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       bear interest at the Interest Rate plus 2.0% per annum, computed as provided above and
       payable in immediately available funds on demand.

            (iv)    In no event shall the interest rate under this paragraph (b) exceed the
       maximum rate permitted under applicable law.

        (c)    Reserve. DIP Factoring Agent, in its sole discretion, may elect to maintain a reserve
from each Down Payment (“Reserve”) of an amount not to exceed twenty percent (20%) of the
Aggregate Advances (the “Reserve Cap”). As a general rule, although not a requirement, it is
intended that Reserves on paid invoices are released, less any sums due to the DIP Factoring
Purchasers, upon the request of the Seller or when the DIP Factoring Purchasers’ next purchase of
DIP Accounts or DIP Purchase Orders from Seller is funded. However, DIP Factoring Agent may
increase or decrease the amount of such Reserve, up to the Reserve Cap, at any time and from time
to time if it deems it necessary in order to protect its interest and to protect DIP Factoring
Purchasers from losses or potential losses that DIP Factoring Purchasers may reasonably anticipate
might arise in the future due to contingencies, disputes, potential breach of warranties or other
potential non-payments, reductions or losses from the purchase of DIP Accounts or DIP Purchase
Orders under the Aggregate Advances.

       (d)     Recourse; Charge-Back.

                (i)     In the event that (a) a DIP Account or DIP Purchase Order (during the
       Interim Period) purchased by DIP Factoring Purchasers is not paid in full by the account
       debtor, on or before the date when due in accordance with its terms, (b) an account debtor
       objects to the property sold or service performed by Seller, or rejects or revokes acceptance
       or fails or refuses to accept or receive any such property or services, (c) an account debtor
       suspends business, requests a general extension of time within which to pay debts, makes
       an assignment for the benefit of creditors or becomes a debtor or alleged debtor in any
       bankruptcy case, or if an event occurs amounting to a general business failure of an account
       debtor, (d) payment by an account debtor on a DIP Account or DIP Purchase Order must
       be disgorged after receipt for any reason, or (e) DIP Factoring Agent in its reasonable
       discretion determines that any DIP Account or DIP Purchase Order is or may become
       uncollectible (collectively, a “Worthless Account”), the DIP Factoring Agent may require
       the Seller promptly to repurchase such DIP Account or DIP Purchase Order, it being the
       intent of the parties that the DIP Factoring Purchasers shall have recourse against Seller for
       Down Payments made on any such Worthless Account with such credit risk on the DIP
       Accounts and DIP Purchase Orders to be borne by the Seller and not the DIP Factoring
       Purchasers.

               (ii)    Seller acknowledges that all amounts chargeable to Seller’s account under
       this Agreement shall be payable by Seller within three (3) Business Days after Seller’s
       receipt of notice of the same. Upon satisfaction of a chargeback of any DIP Account or
       DIP Purchase Order and provided there are no other outstanding chargebacks or defaults
       at such time, DIP Factoring Purchasers shall assign all of their title, rights and interests in
       and to such DIP Account or DIP Purchase Order to Seller.



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       (e)     Defaulting DIP Factoring Purchaser. Notwithstanding anything to the contrary
contained in this Agreement, if any DIP Factoring Purchaser becomes a Defaulting DIP Factoring
Purchaser, then, until such time as such DIP Factoring Purchaser is no longer a Defaulting DIP
Factoring Purchaser (or to the extent permitted by applicable law):

              (i)    Such Defaulting DIP Factoring Purchaser shall have no right to approve or
       disapprove any amendment, waiver or consent with respect to this Agreement.

              (ii)   The remaining DIP Factoring Purchasers shall have the right to purchase
       and fund the Defaulting DIP Factoring Note Purchaser’s pro-rata share of any DIP
       Accounts or DIP Purchase Orders, as applicable, on a pro-rata basis (the “Defaulting DIP
       Factoring Purchaser’s Pro-Rata Share”).

               (iii) The payment waterfall set forth in Section 3(c) below shall be modified such
       that the Defaulting DIP Factoring Purchaser shall not participate in any payments received
       and the Defaulting DIP Factoring Purchaser’s pro-rata share of payments received from
       Borrower shall be paid on a pro-rata basis to the remaining DIP Factoring Purchasers who
       purchased and funded the Defaulting DIP Factoring Purchaser’s Pro-Rata Share. Further
       notwithstanding anything to the contrary contained in this Agreement, no Defaulting DIP
       Factoring Purchaser shall be entitled to participate in the receipt of payments under the
       payment waterfall set forth in Section 3(c) below, until (A) such Defaulting DIP Factoring
       Purchaser is no longer a Defaulting DIP Factoring Purchaser, and (B) the remaining DIP
       Factoring Purchasers who funded the Defaulting DIP Factoring Purchaser’s Pro-Rata Share
       pursuant to Section 2(e)(ii) above have been repaid in full, including for such funding of
       Defaulting DIP Factoring Purchaser’s Pro-Rata Share.

       (f)    Term. This Agreement will remain in effect through the Termination Date.

       (g)    Disputes.

              (i)     Seller must immediately notify DIP Factoring Agent and the DIP Factoring
       Purchasers of any disputes between any account debtor and Seller.

              (ii)   Upon ten (10) days’ written notice to Seller, DIP Factoring Agent and the
       DIP Factoring Purchasers may, at its and their reasonable option, settle any dispute with
       any account debtor. Such settlement does not relieve Seller of any of its obligations under
       this Agreement.

       (h)    Power of Attorney. In order to implement this Agreement, Seller irrevocably
appoints DIP Factoring Agent its special attorney in fact or agent with power to:

              (i)    Strike out Seller’s address on any correspondence to any account debtor and
       put on DIP Factoring Agent’s address;

              (ii)    Receive and open all mail addressed to Seller via DIP Factoring Agent’s
       address;



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              (iii) Endorse the name of Seller or Seller’s trade name or the name of Seller’s
       sub-agent, if applicable, on any checks or other evidences of payment that may come into
       the possession of DIP Factoring Agent in connection with the DIP Accounts and DIP
       Purchase Orders;

               (iv)   In Seller’s name, or otherwise, demand, sue for, collect any and all monies
       due in connection with the DIP Accounts and DIP Purchase Orders; and

               (v)   Compromise, prosecute or defend any action, claim or proceeding relative
       to the DIP Accounts and DIP Purchase Orders.

The authority granted to DIP Factoring Agent shall remain in full force and effect until the DIP
Accounts and DIP Purchase Orders are paid in full and the entire indebtedness of Seller to DIP
Factoring Agent and DIP Factoring Purchasers is discharged.

        (i)    No Assumption. Nothing contained in this Agreement shall be deemed to impose
any duty or obligation upon DIP Factoring Agent or the DIP Factoring Purchasers in favor of any
account debtor and/or any other party in connection with the DIP Accounts and the DIP Purchase
Orders.

       3.      Collections Generally.

         (a)    Payments Held in Trust. Seller will hold in trust and safekeeping, as the property
of the DIP Factoring Purchasers and immediately turnover to the DIP Factoring Agent, on behalf
of the DIP Factoring Purchasers, the original check or other form of payment received by Seller if
payment on the DIP Accounts or DIP Purchase Orders comes into Seller’s possession. Should
Seller come into possession of a check comprising payments owing to both Seller and DIP
Factoring Purchasers, Seller shall turnover said check to DIP Factoring Agent, on behalf of the
DIP Factoring Purchasers. In the event Seller receives a payment, in the form of a check, for a
DIP Account or DIP Purchase Order and it is improperly deposited into Seller’s bank account or
in the event Seller fails to turnover to DIP Factoring Agent, on behalf of the DIP Factoring
Purchasers, a wire transfer or ACH payment it receives from DIP Account or DIP Purchase Order
within three (3) Business Days of receipt, then DIP Factoring Agent, on behalf of the DIP Factoring
Purchasers, reserves the right to impose liquidated damages upon Seller of up to twenty percent
(20%) of the amount of any payment so improperly retained. Notwithstanding the foregoing, with
respect to the improperly deposited checks, DIP Factoring Purchasers agree to waive the
aforementioned charge on the first two (2) occasions provided that on such occasions Seller remits,
in full, the improperly deposited funds to DIP Factoring Agent, on behalf of the DIP Factoring
Purchasers within 48 hours of receipt. In the event the DIP Factoring Agent or the DIP Factoring
Purchasers receive a payment for a non-DIP Account or non-DIP Purchase Order of Seller, the
DIP Factoring Agent and/or DIP Factoring Purchaser, as applicable, shall wire transfer such
payment to Seller within three (3) Business Days of receipt.

       (b)    Collections on Purchased DIP Accounts and DIP Purchase Orders. All payments
and collections received on DIP Accounts and DIP Purchase Orders purchased by the DIP
Factoring Purchasers hereunder, including without limitation all collections of the Aggregate
Advances and payments of interest on the Aggregate Advances, shall be made to the DIP Factoring

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Agent in immediately available funds by wire transfer to an account as directed by DIP Factoring
Agent pursuant to wire instructions designated by DIP Factoring Agent. All payments and
collections shall be applied in the manner set forth in Section 3(c) below.

       (c)    Payment Waterfall.

               (i)     All payments and collections received on DIP Accounts and DIP Purchase
       Orders purchased by the DIP Factoring Purchasers hereunder, including without limitation
       all collections of the Aggregate Advances and payments of interest on the Aggregate
       Advances and all proceeds of DIP Collateral, other than the DIP Inventory Acquisition
       Line of Credit Purchasers Financed Inventory Proceeds and Section 541 Proceeds and
       subject to any payments made in accordance with the lien priorities described in Schedule
       IVhereto, shall be applied as follows:

                    (A)    First, to the payment of accrued and unpaid interest on the
              Aggregate Advances on a pro-rata basis;

                    (B)    Second, to the collections of the amount outstanding of the
              Aggregate Advances until paid in full on a pro-rata basis; and

                     (C)    Third, payment of all other amounts owing to the DIP Factoring
              Purchasers hereunder and under the other applicable DIP Documents on a pro rata
              basis.

               (ii)    All proceeds of the Section 541 Proceeds shall be applied pari-passu to (i)
       the Bankruptcy Court approved fees and costs of the Seller’s Professionals and the
       Creditors Committee’s Professionals, respectively, not to exceed the amounts set forth in
       the Authorized Budget for each of the Seller’s Professionals and the Creditors Committee’s
       Professionals, to the extent not otherwise satisfied by the Carve-Out, and (ii) the
       outstanding amount due under the DIP Note Facility (exclusive of the DIP Inventory
       Acquisition Line of Credit), the DIP Factoring Facility and the DIP Inventory Acquisition
       Line of Credit, respectively; with any remaining proceeds after payment in full of (i) and
       (ii) above, being paid to the Seller’s bankruptcy estate.

       4.     Conditions.

        (a)     Conditions to Effectiveness. This Agreement shall become effective as of the date
first above written upon, and the obligation of each DIP Factoring Purchaser to purchase its pro
rata share of the DIP Accounts and/or DIP Purchase Orders for each Assignment during the Interim
Period is subject to, satisfaction of each of the following (unless otherwise waived by the DIP
Factoring Purchasers):

              (i)     Approvals. The DIP Factoring Purchasers shall have received satisfactory
       evidence that Seller has obtained all required consents and approvals of all Persons,
       including all requisite Governmental Authorities, in connection with the filing of the
       Chapter 11 Case, and there shall not be any pending or threatened litigation, governmental,
       administrative or judicial action that could reasonably be expected to restrain, prevent or
       impose burdensome conditions on the transactions contemplated hereby.

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          (ii)   Second Interim DIP Order. On or prior to the date of this Agreement, the
   Second Interim DIP Order, in form and substance satisfactory to the DIP Note Agent, was
   entered by the Bankruptcy Court and shall not have been vacated, reversed, modified,
   amended or stayed in any manner adverse to the DIP Factoring Purchasers or DIP Note
   Purchasers without the written consent of the DIP Note Agent, or to the extent adversely
   and disproportionately affecting any particular DIP Factoring Purchaser or DIP Note
   Purchaser, such adversely affected DIP Factoring Purchaser or DIP Note Purchaser.

           (iii) Automatic Stay. The automatic stay shall have been modified to permit the
   creation and perfection of the DIP Factoring Purchasers’ Liens and security interests, as
   more fully set forth in the Second Interim DIP Order.

           (iv)   Orders. All “first day orders” and “second day orders” and any final
   versions thereof sought to be entered by any of Seller shall be in form and substance
   satisfactory to the DIP Note Agent, including without limitation, any such orders
   permitting the payment by Seller and its subsidiaries of any prepetition amounts then (or
   thereafter becoming) due and owing.

           (v)     Liens. Upon the entry of the Second Interim DIP Order, the DIP Factoring
   Agent shall, for the benefit of the DIP Factoring Purchasers, have valid, binding,
   enforceable, non-avoidable, and automatically and properly perfected liens on the DIP
   Collateral to the extent set forth in the Second Interim DIP Order, subject to the priorities
   described in Schedule IVhereto, and all filing and recording fees and taxes with respect to
   such liens and security interests that are then due and payable shall have been duly paid.

           (vi)   Deliveries. The DIP Factoring Agent and the DIP Factoring Purchasers
   shall have received the following supporting documents with respect to Seller:

                  (A)    a copy of its articles of incorporation certified as of a date within
          thirty (30) days of the date of this Agreement, as applicable, to be a true and
          accurate copy by the Secretary of State of Nevada;

                 (B)     a certificate of the Secretary of State of Nevada, dated as of a date
          within thirty (30) days of the date of this Agreement, to its existence and (if
          available) good standing;

                 (C)    a copy of its bylaws, certified by its secretary, to be a true and
          accurate copy of its bylaws in effect on the date of this Agreement;

                  (D)    true and correct copies of the corporate resolutions, duly adopted,
          approved or otherwise delivered by the directors, officers and shareholders (to the
          extent necessary and applicable), each of which is certified to be in full force and
          effect on the date of this Agreement, as applicable, authorizing the execution and
          delivery by the Seller of this Agreement and any other DIP Documents delivered
          on the date of this Agreement, as applicable to which it is a party and the
          performance by it of all its obligations thereunder; and



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                      (E)     such additional supporting documents and other information with
               respect to its operations and affairs as the DIP Factoring Agent or any DIP
               Factoring Purchaser may reasonably request.

              (vii) Miscellaneous. Delivery of such other DIP Documents (including a deposit
       account control agreement for the DIP Factoring Disbursement Account) as the DIP
       Factoring Agent may require evidencing the Liens on the DIP Collateral and customary
       closing deliverables.

        (b)    Conditions to Each Assignment Following the Interim Period. The obligation of
each DIP Factoring Purchaser to purchase its pro rata share of DIP Accounts for each Assignment
following the expiration of the Interim Period is subject to satisfaction of each of the following
(unless otherwise waived by the DIP Factoring Purchasers):

              (i)    Interim DIP Orders. The Interim DIP Orders shall not have been vacated,
       reversed, modified, amended or stayed in any manner adverse to the DIP Factoring
       Purchasers or DIP Note Purchasers without the written consent of the DIP Note Agent, or
       to the extent adversely and disproportionately affecting any particular DIP Factoring
       Purchaser or DIP Note Purchaser, such adversely affected DIP Factoring Purchaser or DIP
       Note Purchaser.

              (ii)    Final Order. On or prior to February 21, 2023 (unless waived by the DIP
       Note Agent), the Final Order, in form and substance satisfactory to the DIP Factoring
       Purchasers shall have been entered by the Bankruptcy Court and shall not have been
       vacated, reversed, modified, amended or stayed in any manner adverse to the DIP Factoring
       Purchasers or DIP Note Purchasers without the written consent of the DIP Note Agent, or
       to the extent adversely and disproportionately affecting any particular DIP Factoring
       Purchaser or DIP Note Purchaser, such adversely affected DIP Factoring Purchaser or DIP
       Note Purchaser.

               (iii) Automatic Stay. The automatic stay shall have been modified to permit the
       creation and perfection of the DIP Factoring Purchasers’ Liens and security interests, as
       more fully set forth in the Final Order.

               (iv)    Liens. Upon the entry of the Final Order, the DIP Factoring Agent shall,
       for the benefit of the DIP Factoring Purchasers, have valid, binding, enforceable, non-
       avoidable, and automatically and properly perfected liens on the DIP Collateral to the
       extent set forth in the Final Order, subject to the priorities described in Schedule IVhereto,
       and all filing and recording fees and taxes with respect to such liens and security interests
       that are then due and payable shall have been duly paid.

              (v)     No Default. No Default or Event of Default has occurred and is continuing
       or would result after giving effect to the DIP Factoring Purchase.

               (vi)    Representations and Warranties. Each representation and warranty by
       Seller set forth in this Agreement is true and correct in all respects.



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              (vii) Insurance. DIP Factoring Agent shall be reasonably satisfied with the
       amount, types and terms and conditions of all insurance and bonding maintained by Seller
       and its subsidiaries. DIP Factoring Agent shall receive endorsements naming DIP
       Factoring Agent as an additional insured and loss payee under all insurance policies to be
       maintained with respect to the properties of Seller and its subsidiaries forming part of the
       DIP Collateral.

Assignment by Seller of any DIP Account and any DIP Purchase Order shall be deemed to
constitute a representation and warranty by Seller on the date thereof as to satisfaction of each of
the conditions specified in this Section 4(b).

       5.     Representations and Warranties. Seller hereby represents and warrants to each DIP
Factoring Purchaser, as of the date hereof, and as of the date of each Assignment of a DIP Account
or DIP Purchase Order to the DIP Factoring Purchasers, that:

       (a)      Existence. Seller is duly organized, validly existing and in good standing under the
laws of the jurisdiction of its incorporation.

       (b)     Power and Authority. Subject to the entry of the Interim DIP Orders and Final
Order, as applicable, by the Bankruptcy Court, Seller has (i) the power and authority and (ii) all
governmental licenses, authorizations, consents and approvals to own its assets, carry on its
business and execute, deliver, and perform its obligations under this Agreement and the other DIP
Documents.

        (c)     No Conflict. Subject to the entry of the Interim DIP Orders and Final Order, as
applicable, by the Bankruptcy Court, the execution, delivery and performance by Seller of this
Agreement and the other DIP Documents has been duly authorized by all necessary action on the
part of such Seller, and does not and will not (i) contravene the terms of any of such Seller’s
corporate documents, (ii) violate, conflict with or result in any material breach or contravention
of, or result in the creation of any Lien under, any indenture, agreement and other instrument
binding upon it or its property the effect of which has not been stayed by the automatic stay or the
Bankruptcy Court or (iii) violate or conflict with any law, regulation or order of any Governmental
Authority applicable to it or its property.

       (d)     Governmental Authorization. Other than the entry of the Second Interim DIP Order
and Final Order, as applicable, by the Bankruptcy Court, no approval, consent, exemption, or
authorization of, or other action by, or notice to, or filing, declaration, recording or registration
with, any Governmental Authority is necessary or required in connection with the execution,
delivery or performance by, or enforcement against, Seller of this Agreement.

        (e)    Due Execution; Binding Effect. Each of this Agreement and the other DIP
Documents have been (or upon execution and delivery will be) duly executed and delivered by the
Seller. Subject to the entry of the Second Interim DIP Order and Final Order, as applicable, by
the Bankruptcy Court, each of this Agreement and the other DIP Documents constitutes the legal,
valid and binding obligation of Seller, enforceable against such Seller in accordance with its terms,
except as enforceability may be limited by applicable bankruptcy, insolvency, or similar laws



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affecting the enforcement of creditors’ rights generally or by equitable principles relating to
enforceability.

       (f)     No Default. No Default or Event of Default has occurred and is continuing.

        (g)    Budget. To the best information and belief of Seller, the Authorized Budget
attached hereto as Exhibit A and all projected consolidated balance sheets, income statements and
cash flow statements of Seller in connection with a Proposed Budget delivered to the DIP Factoring
Agent and/or the DIP Factoring Purchasers pursuant to Section 6(a)(ii) reasonably presents (or will
present), in all material respects, on a pro forma basis, the projected cash receipts and
disbursements of Seller for the period specified therein and such projections, in the reasonable
view of the Independent Director of Seller, are (or will be) reasonably achievable based upon
reasonable assumptions and other information available to Seller as of the date hereof (or thereof).

        (h)     Disclosure. To the best information and knowledge of Seller, no representation or
warranty by Seller in this Agreement or in any other DIP Document and no certificate, schedule,
exhibit, report or other document provided or to be provided by Seller in connection with the
transactions contemplated hereby or thereby (including, without limitation, the negotiation of and
compliance with the DIP Documents) contains any untrue statement of a material fact, or omits to
state a material fact necessary to make the statements contained therein, in light of the
circumstances in which they are made, not misleading.

         (i)     Chapter 11 Case Matters. Pursuant to and to the extent permitted in the Second
Interim DIP Order and Final Order, as applicable, the Obligations will constitute allowed super-
priority administrative expense claims in the Chapter 11 Case having priority above all other
administrative expense claims (other than the Carve-Out (as defined in the Final Order)) as set
forth in the Final Order. After the entry of the Second Interim DIP Order and Final Order, as
applicable, the Obligations will be secured by a valid and perfected, enforceable and unavoidable
first priority Lien on the DIP Collateral as more fully set forth in the Second Interim DIP Order
and Final Order, as applicable. The Second Interim DIP Order and Final Order, as applicable, is
in full force and effect and has not been reversed, stayed, modified or amended without the prior
written consent of the DIP Note Agent. Subject to the Second Interim DIP Order and Final Order,
as applicable, notwithstanding the provisions of Section 362 of the Bankruptcy Code, upon the
maturity (whether by acceleration or otherwise) of any of the Obligations, the DIP Factoring Agent
and the DIP Note Purchasers shall be entitled to immediate payment of such Obligations and to
enforce the remedies provided for hereunder and under applicable law, without further application
to or order by the Bankruptcy Court, as more fully set forth in the Final Order.

       (j)     DIP Accounts and DIP Purchase Orders.

              (i)    Seller is the sole and absolute owner of the DIP Accounts and DIP Purchase
       Orders and has the full legal right to make said sale, assignment and transfer.

               (ii)    The correct amount of each DIP Account and each DIP Purchase Order will
       be set forth on the Assignments.




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           (iii) Each DIP Account and each DIP Purchase Order is an accurate and
   undisputed statement of indebtedness from an account debtor for a sum certain, without
   offset or counterclaim and which is due and payable in ninety days or less.

           (iv)    Each DIP Account and each DIP Purchase Order is an accurate statement
   of a bona fide sale, delivery and acceptance of merchandise or performance of service by
   Seller to an account debtor.

          (v)     Seller does not own, control or exercise dominion in any way whatsoever,
   over the business of any account debtor.

           (vi)    Seller will not under any circumstance or in any manner whatsoever,
   interfere with any of DIP Factoring Agent’s or DIP Factoring Purchasers’ rights under this
   Agreement.

           (vii) Seller has not and will not, at any time, permit any lien, security interest or
   encumbrance to be created upon any of its accounts receivable and/or its inventory without
   the prior written consent of the DIP Consenting Secured Parties except as provided in the
   Final Order.

           (viii) Seller will not enter into any agreement for a “Merchant Cash Advance” or
   similar product without the prior written consent of the DIP Factoring Agent and DIP
   Factoring Purchasers.

          (ix)   Seller will not change or modify the terms of the DIP Accounts and DIP
   Purchase Orders with any account debtor unless the DIP Factoring Agent and DIP
   Factoring Purchasers first consents, in writing.

           (x)     Seller will notify the DIP Factoring Agent and DIP Factoring Purchasers,
   in advance of: any change in Seller’s place of business; Seller having or acquiring more
   than one place of business; any change in Seller’s chief executive office; and/or any change
   in the office or offices where Seller’s books and records concerning accounts receivable
   are kept.

           (xi)   Seller will notify the DIP Factoring Agent and DIP Factoring Purchasers,
   in writing, in advance of any planned temporary or permanent closure or cessation of
   Seller’s business.

           (xii) Seller will immediately notify the DIP Factoring Agent and DIP Factoring
   Purchasers of any proposed or actual change of the Seller’s and/or any account debtor’s
   identity, legal entity or corporate structure.

           (xiii) A notification letter from Seller and/or all invoices will state on their face
   that the DIP Accounts and the DIP Purchase Orders represented thereby have been assigned
   to the DIP Factoring Purchasers and are to be paid as directed by the DIP Factoring Agent,
   as collateral agent on the behalf of the DIP Factoring Purchasers.



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               (xiv) No DIP Account nor DIP Purchase Order shall be on a bill-and-hold,
       guaranteed sale, sale-and-return, sale on approval, consignment or any other repurchase or
       return basis.

        (k)     Resignations. Prior to the effective date of this Agreement, Ryan Drexler resigned
from all offices of Seller and from the board of directors of Seller, and Eric Hillman was appointed
as the Chief Executive Officer of Seller.

       (l)     Board of Directors.

               (i)   Interim Board of Directors. The board of directors of the Seller as of the
       Petition Date shall have resigned and the Interim Board of Directors shall have been
       appointed and shall have served as the board of directors of Seller through the date the
       Second Interim DIP Order is entered by the Bankruptcy Court.

              (ii)    Independent Director. Upon entry of the Second Interim DIP Order by the
       Bankruptcy Court, or sooner, the Independent Director shall be Nicolas Rubin, with sole
       and exclusive responsibility for the Seller for the following:

                         (A)      Protect and recover the assets of Seller, including determine whether
               it is in the best interest of Seller to reorganize under Section 1129 of the Bankruptcy
               Code, or sell its assets in accordance with Section 363 of the Bankruptcy Code;

                      (B)     Review and approve the ultimate debtor-in-possession financing
               incurred by the bankruptcy estate, as negotiated by the Seller’s restructuring
               professionals, which will be approved as part of the Final Order;

                       (C)  Except as otherwise provided in this Agreement, investigate and
               determine which estate causes of action, if any, should be pursued, prosecuted, or
               settled; and

                       (D)    Maximize value for all stakeholders.

      6.       Covenants. Seller hereby covenants and agrees that from the date hereof until
payment in full of all the Obligations and termination of all DIP Factoring Purchase Commitments
that:

       (a)     Reporting.

              (i)      Bankruptcy Matters. Seller shall provide to the DIP Factoring Agent and
       the Creditors’ Committee, copies of all projections or other information respecting Seller’s
       business or financial condition, provided by or to the U.S. Trustee (or any monitor or
       interim receiver, if any, appointed in the Chapter 11 Cases) or any creditors’ committee, at
       the time such document is provided by or to the U.S. Trustee (or any monitor or interim
       receiver, if any appointed in the Chapter 11 Cases) or such committee.

            (ii)   Proposed Budget. Every four weeks on Wednesday commencing with the
       Wednesday of the fourth full week commencing after the one-week anniversary of the

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   Second Interim DIP Order, Seller shall prepare and deliver to the DIP Note Agent, the DIP
   Factoring Agent and the Creditors’ Committee for review, and for DIP Note Agent’s
   consent, in DIP Note Agent’s sole but reasonable discretion, a Proposed Budget updating
   the Authorized Budget then in effect at such time. At such time that such Proposed Budget
   is consented to by the DIP Note Agent in writing it shall become the Authorized Budget.
   To the extent any updated Proposed Budget is not acceptable to the DIP Note Agent, the
   then-existing Authorized Budget will remain the Authorized Budget until replaced by an
   updated Proposed Budget that is acceptable to the DIP Note Agent. Upon request of the
   DIP Factoring Purchasers, Seller shall deliver the Proposed Budget to the DIP Factoring
   Purchasers for their review.

          (iii)   Intentionally Omitted.

           (iv)   Budget Reconciliation. Compliance with the Authorized Budget shall be
   reviewed on Monday of every other week on a bi-weekly basis, with such reviews to be
   conducted on the Monday following each of the second and fourth weeks of the Authorized
   Budget (each, a “Weekly Review Period”) and thereafter on a rolling 4-week basis (the
   “Cumulative Review Period” and together with the Weekly Review Period, the “Review
   Periods”). Beginning on the second Monday following the Second Interim DIP Order and
   every other Monday thereafter, the Seller shall deliver to the DIP Factoring Agent and the
   Creditors’ Committee, not later than 4:00 p.m. Pacific time on each Monday (commencing
   with the Monday after the one-week anniversary of the Second Interim DIP Order), a
   weekly line-by-line variance report (the “Variance Report”), which Variance Report shall
   compare actual cash receipts and disbursements of the Seller with corresponding amounts
   provided for in the Authorized Budget on a line-by-line basis for the prior week and the
   applicable Review Period (or such shorter period as may have elapsed from the Petition
   Date), including written descriptions in reasonable detail explaining any material positive
   or negative variances, and otherwise in form and substance reasonably acceptable to the
   DIP Note Agent.

           (v)    Financial and Restructuring Advisor Reports. The Seller Parties shall
   deliver to the DIP Note Agent and the Creditors’ Committee copies of all non-privileged
   reports of the financial and restructuring advisors of the Seller Parties as reasonably
   requested by the DIP Note Agent, including but not limited to:

                         i.      Any analysis of cash flows, forecasts, and potential cost
                                 savings initiatives;

                         ii.     Transaction marketing material (CIMs / MPs);

                         iii.    Investor outreach list;

                         iv.     Sale process updates in accordance with the terms of this
                                 Agreement and the Bankruptcy Orders; and

                         v.      Proposed sources and uses at emergence.



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              (vi)   Financial Records. Seller shall furnish on a monthly basis to DIP Factoring
       Agent bank statements, accounts receivable aging and accounts payable aging monthly.

              (vii) Factoring Reports. Seller, or another party designated by Seller and the DIP
       Factoring Agent, shall provide a weekly factoring report to the DIP Agents and the
       Creditors’ Committee identifying each DIP Account purchased, the amount of the Down
       Payment on the DIP Account, the date the DIP Account is due and the days overdue of any
       overdue DIP Account, the amount of the DIP Account due, and any payments received.
       The DIP Agents shall confirm whether or not DIP Agents agree with the information in
       each weekly factoring report.

               (viii) Additional Information. Seller shall, promptly following reasonable
       advance notice to Seller, provide (i) the DIP Factoring Purchasers such additional business,
       financial, collateral and other information as the DIP Factoring Purchasers may from time
       to time reasonably request and (ii) participate in bi-weekly conference calls between the
       directors or other reasonably requested management representatives of Seller and the Note
       Agent during normal business hours at a time to be mutually agreed upon to discuss the
       business affairs and performance of Seller (including the Chapter 11 Cases).

        (b)     Notice of Event of Default. Seller shall, promptly upon obtaining knowledge
thereof, notify the DIP Factoring Agent and the DIP Factoring Purchasers of the occurrence or
existence of any Default or Event of Default.

       (c)     Existence. Seller shall preserve and maintain in full force and effect its
organizational existence and good standing under the laws of its jurisdiction of incorporation.

        (d)    Compliance with Laws. Seller will comply with all laws, rules, regulations and
orders of any Governmental Authority applicable to it or its property.

       (e)     Intentionally Omitted.

        (f)     Chief Restructuring Officer/Financial Advisor. Seller may, at Seller’s election and
subject to the approval of the Bankruptcy Court, engage a Chief Restructuring Officer or financial
advisor (the “CRO”) reasonably satisfactory to the DIP Note Agent pursuant to an engagement
letter with a scope and compensation reasonably satisfactory to the DIP Note Agent and otherwise
be in form and substance satisfactory to the DIP Note Agent. All fees and expenses of (and
otherwise relating to) the CRO shall be the sole responsibility of Seller. The CRO shall not be
removed without order of the Bankruptcy Court. Furthermore, the CRO’s fees and costs shall not
exceed $50,000 per month, except as otherwise approved by the Board of Directors.

        (g)     Access to Information. At the request of the DIP Factoring Agent, the Seller Parties
shall (i) arrange for the DIP Factoring Agent to join the bi-weekly conference calls between
representatives of the Seller Parties, the CRO, if engaged, and the DIP Note Agent (which may, to
the extent practicable, be the same bi-weekly conference that may be requested pursuant to Section
6(a)(vi) above), which shall occur during normal business hours at a time to be mutually agreed
for purposes of providing information regarding the status of the Chapter 11 Case, Seller’s business
operations, the preparation, filing, and confirmation of an Acceptable Plan, and a Sale Transaction
process that, if a stalking horse bidder is part of the sale process, would not be deemed to provide
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preferential treatment to such bidder; provided that, for the avoidance of doubt, information
regarding the number and identity of the parties contacted and the overview of the marketing
efforts undertaken in connection with a Sale Transaction shall not be deemed to provide
preferential treatment and shall be disclosed; (ii) at all times provide the DIP Note Agent and its
professional advisors with access to any data room established for purposes of allowing potential
purchasers to evaluate a Sale Transaction; and (iii) provide the DIP Note Agent and its professional
advisors with all materials and other communications regarding a Sale Transaction process
provided and available to all bidders at the time of distribution to any or all bidders. If at any time
the stalking horse bidder is not part of the sale process, then Seller shall arrange and cause to be
held weekly conference calls between representatives of the Seller Parties, the CRO, if engaged,
and the DIP Note Agent (which may, to the extent practicable, be the same bi-weekly conference
that may be requested pursuant to Section 6(a)(vi) above), which shall occur during normal
business hours at a time to be mutually agreed for purposes of providing full and complete
information regarding a Sale Transaction process to the DIP Note Agent.

        (h)     Use of Proceeds. Seller shall utilize the proceeds of the DIP Factoring Purchases
and Cash Collateral solely to fund, and in each case solely in accordance with the Authorized
Budget, this Agreement the Interim DIP Orders and the Final Order, (i) fees, interest, payments,
and expenses associated with this Agreement and the DIP Factoring Facility, and the DIP Note
Purchase Agreement and the DIP Note Facility, (ii) the ongoing working capital and capital
expenditure needs of the Seller Parties during the pendency of the Chapter 11 Case, (iii) the Carve-
Out, (iv) the Forensic Accountant (if retained), and (v) approved expenses of the administration of
the Chapter 11 Case (including the payment of the Seller’s Professional Fees, and the Creditor’s
Committee’s Professional Fees), and similar costs, with any unpaid amounts in this category (v)
subordinated in priority to (i)- (iv) above if the DIP Factoring Facility terminates and Seller lacks
sufficient funds to pay in full all amounts required under (i)-(iv) above. Except as set forth in the
Second Interim DIP Order or the Final Order, the Seller Parties shall not be permitted to use
proceeds of the DIP Factoring Purchases or Cash Collateral (i) for payment of interest or principal
with respect to any Indebtedness (other than the Obligations pursuant to this Agreement and the
DIP Note Purchase Agreement), (ii) to finance in any way any action, suit, arbitration, proceeding,
application, motion or other litigation challenging, or to object, contest or raise any defense to, the
amount, validity, perfection, priority, extent or enforceability of, or to assert any defense,
counterclaims or offset to, the Obligations or the Liens and security interests of the DIP Factoring
Agent and/or the DIP Factoring Purchasers on or in the DIP Collateral or any amount due under,
or the liens or claims granted under or in connection with the DIP Factoring Facility, DIP Note
Facility or the Prepetition Notes or the Prepetition Note Liens, (iii) to assert any claims,
counterclaims, defenses, causes of action, objections or contests (including, without limitation,
any claims or causes of action arising under chapter 5 of the Bankruptcy Code) against the DIP
Factoring Purchasers or the DIP Factoring Agent or any of their agents, affiliates, representatives,
attorneys or advisors, arising out of the Prepetition Notes or the Prepetition Note Liens or this
Agreement, (iv) to seek to modify any of the rights granted to the DIP Factoring Purchasers or DIP
Factoring Agent under this Agreement, the DIP Documents, or related documents or (vi) to make
any Restricted Payment or Investment.

       (i)    Indebtedness. The Seller Parties shall not create, incur, assume or permit to exist
any Indebtedness, except the Obligations and the Scheduled Preexisting Indebtedness.


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      (j)    Liens. No Seller Party shall create, incur, assume or permit to exist any Lien on
any property or asset now owned or hereafter acquired by it, other than the Permitted
Encumbrances and the Scheduled Preexisting Liens.

      (k)      Restricted Payments. The Seller Parties shall not declare or make, or agree to pay
or make, directly or indirectly, any Restricted Payment.

       (l)     Investments. The Seller Parties shall not make, or agree to make, any Investments.

       (m)     Cash Collateral. The Cash Collateral shall be used only in accordance with Section
6(h) hereto and in a manner consistent with the Authorized Budget.

        (n)    Cash Management. Until the indefeasible repayment of the Obligations in full in
cash and the termination of all DIP Factoring Purchase Commitments under this Agreement,
Seller’s cash and cash equivalents shall only be used in accordance with Section 6(i) hereto and
the Authorized Budget.

         (o)    Dispositions. No Seller Party shall sell, lease, transfer, assign or otherwise dispose
of any of its assets or properties other than in the ordinary course of such Seller Party’s business
without the prior written consent of the DIP Consenting Secured Parties, and Seller acknowledges
that any DIP Collateral that is the subject of any sale, lease transfer or assignment that is not sold
in in the ordinary course of Seller’s business or does not receive such written consent shall continue
to be subject to all Liens of the DIP Factoring Agent for the benefit of the DIP Factoring
Purchasers.

       (p)    Forensic Accounting. At the request of the DIP Note Agent and approval of the
Board of Directors, the Seller shall retain a forensic accountant reasonably acceptable to the DIP
Note Agent (the “Forensic Accountant”) to review and analyze all Seller’s bank statements for
three (3) or more years prior to the Petition Date and any other documents and information
necessary to investigate payments and transfers from Seller to render an opinion regarding
whether they are avoidable under federal and state law.

        (q)      Budget Variance. Following the one-week anniversary of the Second Interim DIP
Order, the Seller Parties shall perform in accordance with the Authorized Budget, subject to the
following with respect to any Review Period: (i) the Seller Parties’ actual cash receipts shall not
be less than 90% of the projected amounts therefor set forth in the Authorized Budget on a
cumulative basis; and (ii) the Seller Parties’ actual cash disbursements shall not be greater than
110% of the projected amounts therefor set forth in the Authorized Budget on a cumulative basis
(such variance, the “Permitted Variances”). Notwithstanding the foregoing, during any Review
Period occurring prior to March 15, 2023, the DIP Note Purchasers waive all defaults of the Seller
Parties for failing to comply with the Authorized Budget, including the Permitted Variances, solely
with respect to (i) top line gross revenue and cash receipts and (ii) all cost of goods sold, including
shipping.

       (r)    Chapter 11 Case Pleadings. Seller shall provide DIP Factoring Agent as soon as is
reasonably practical in advance of filing with the Bankruptcy Court, any draft of any motions,
orders, amendments, supplements or other pleadings that Seller proposes to file with the
Bankruptcy Court seeking approval of the DIP Facilities. Seller shall file all pleadings with the
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Bankruptcy Court as are necessary or appropriate to secure entry of the DIP Documents, shall
serve all parties entitled to notice of such pleadings under applicable provisions of the Bankruptcy
Code and all related rules and shall diligently pursue the obtaining of such orders. Seller shall
oppose and seek the dismissal of any appeal (including a petition for certiorari, motion for
rehearing, reargument, reconsideration or revocation) if any challenge to such DIP Documents is
filed. Seller shall reasonably cooperate with DIP Factoring Agent with respect to all such filings
and incorporate any reasonable comments of DIP Factoring Agent and its counsel into such order,
amendment, supplement, motion or pleading. Each party hereto shall promptly notify the other
party if at any time such party becomes aware that any information provided to the Bankruptcy
Court contains any untrue statement of a material fact or omits to state a material fact required to
be stated therein or necessary to make the statements contained therein, in light of the
circumstances under which they were made, not misleading.

       (s)     Asset Sale and Unconditional Right to Credit Bid.

               (i)     Seller shall consent to (i) the DIP Note Agent submitting a credit bid of the
       Obligations under the DIP Facilities (the “DIP Agent Credit Bid Obligations”), and (ii)
       subject to the express limitations contained in Section 10(i) of this Agreement, the
       Prepetition Collateral Agent submitting a credit bid of an amount not less than the Allowed
       Claim, which is the principal amount of the Prepetition Notes, including the original issue
       discount, or such greater amount as allowed by the Bankruptcy Court (the “Prepetition
       Collateral Agent Credit Bid Obligations” and together with the DIP Agent Credit Bid
       Obligations, the “Credit Bid Obligations”), in connection with the sale of any asset of the
       Seller Parties (in whole or in part), including without limitation, sales occurring pursuant
       to Section 363 of the Bankruptcy Code or included as part of any restructuring plan subject
       to confirmation under Section 1129(b)(2)(A)(ii)-(iii) of the Bankruptcy Code and any
       motion filed by Seller seeking approval of bid procedures shall contain a request for
       approval of the right of the DIP Note Agent and Prepetition Collateral Agent, as applicable,
       to credit bid the Credit Bid Obligations and Seller shall not object to such a provision.

               (ii)     Without limiting the foregoing, if, pursuant to a sale order issued by the
       Bankruptcy Court, the DIP Note Agent, as collateral agent for the DIP Note Purchasers, or
       its designee, is the winning bidder, either the assets of Seller shall be sold to the DIP Note
       Agent, as collateral agent for the DIP Note Purchasers, or its designee, pursuant to a Sale
       Transaction, which sale may or may not be a component of the Accepted Plan, for the
       consideration set forth in the winning bid or a transaction having substantially the same
       effect shall be consummated as a restructuring of Seller pursuant to an Accepted Plan;
       provided, however, that if an Event of Default occurs under this Agreement or the DIP
       Documents, then, if the DIP Note Agent, as collateral agent for the DIP Note Purchasers,
       so elects, the assets of Seller shall be sold to the highest and best offer pursuant to a sale
       order as a Sale Transaction outside of an Accepted Plan for the consideration set forth in
       the winning bid. Any Sale Transaction, similar transaction or an Accepted Plan having the
       same effect, shall permit the DIP Note Agent, as collateral agent for the DIP Note
       Purchasers to credit bid as set forth in subsection (s)(i) above. The DIP Note Agent, as
       collateral agent for the DIP Note Purchasers, is and shall be a qualified bidder under any
       auction or sale procedures and may participate at any auction, sale or other restructuring
       transaction.

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              (iii) No Seller Party shall file or support any plan of reorganization that seeks to
       impair the DIP Note Agent’s credit bid rights or terms-out, crams-down or extends the
       Obligations under the DIP Facilities under Bankruptcy Code section 1129(b) or otherwise.

       (t)     Exclusive Period of Time to Confirm Plan of Reorganization. No Seller Party may
seek extension of the exclusive periods of Seller to confirm an Acceptable Plan without the prior
written approval of the DIP Note Agent, which approval shall not be unreasonably withheld,
conditioned, or delayed.

       (u)   Book Entry. Seller will immediately, upon the sale of the DIP Accounts and DIP
Purchase Orders, make the proper entry on its books and records disclosing the absolute sale of
such DIP Accounts and/or DIP Purchase Orders to the DIP Factoring Purchasers.

         (v)     Intercreditor Agreement. Upon request of either DIP Agent, Seller shall fully
cooperate with such DIP Agent and use its best efforts in assisting such DIP Agent to obtain an
intercreditor agreement from each Prepetition Purchaser and Prestige (or its successor in interest)
with respect to the priority of the Liens and Permitted Encumbrances on the DIP Collateral, which
intercreditor agreements shall be consistent with the priority of such Liens and Permitted
Encumbrances set forth on Schedule IV and the Final Order and satisfactory to such DIP Agent in
its sole discretion.

       (w)     Further Assurances.

               (i)     Promptly upon request by the DIP Factoring Agent, Seller shall take such
       additional actions and execute such documents as the DIP Factoring Purchasers may
       reasonably require from time to time in order (i) to carry out more effectively the purposes
       of this Agreement, (ii) to subject to the Liens created by the Second Interim DIP Order and
       Final Order, as applicable, any of the properties, rights or interests covered by the Final
       Order, (iii) to perfect and maintain the validity, effectiveness and priority of any of the
       Liens created by the Second Interim DIP Order and Final Order, as applicable, and (iv) to
       better assure, convey, grant, assign, transfer, preserve, protect and confirm to the DIP
       Factoring Agent and the DIP Factoring Purchasers the rights granted or now or hereafter
       granted to the DIP Factoring Agent and the DIP Factoring Purchasers under this Agreement
       and the Interim DIP Orders and Final Order, as applicable. All documented expenses of
       the DIP Factoring Agent and the DIP Factoring Purchasers incurred pursuant to this
       Section 6(u) shall constitute Obligations under this Agreement.

              (ii)    Without limiting Section 6(u)(i) above, the Seller Parties shall execute and
       deliver to the DIP Factoring Agent security agreements, pledge agreements, control
       agreements or any such other documents, instruments or agreements as the DIP Factoring
       Agent or such DIP Factoring Purchasers shall reasonably request to further evidence the
       Liens and security interests in respect of the DIP Collateral. All of the documents delivered
       pursuant to this Section 6(u)(ii) shall be in form and substance reasonably satisfactory to
       the DIP Consenting Secured Parties.

              (iii) Each of the Seller Parties hereby authorizes the DIP Factoring Agent to
       prepare and file and/or record UCC-1 financing statements with respect to that portion of

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        the DIP Collateral for which the Liens and security interests secure the Obligations can be
        perfected by such filing or recordation.

                 (iv)   The Seller Parties shall deliver to the DIP Factoring Agent control
        agreements in form and substance reasonably acceptable to the DIP Factoring Agent and
        the DIP Consenting Secured Parties, with respect to the DIP Factoring Disbursement
        Account and each account where such Seller has cash and cash equivalents. Seller shall
        maintain all cash and cash equivalents of Seller in the DIP Factoring Disbursement
        Account or, solely to the extent approved by the Cash Management Order or the Final
        Order, other segregated accounts consistent with either the Cash Management Order or the
        Final Order and applicable Bankruptcy Rules and regulations. Each control agreement
        shall provide, among other things, that, upon notice from the DIP Factoring Agent to the
        applicable financial institution that an Event of Default exists hereunder, such financial
        institution shall only take instructions with respect to the applicable account from the DIP
        Factoring Agent and Seller shall not have access to such account.

       7.      Events of Default. Each of the following events, if it occurs before all of the
Obligations have been paid in full and all of the DIP Factoring Purchase Commitments have been
terminated, shall be referred to herein as an “Event of Default”:

        (a)    failure of Seller to make any payment or any fees under this Agreement or the DIP
Facilities when due and payable;

        (b)     (i) failure of Seller to perform or observe any term, covenant or agreement
contained in Section 6(a)(ii), (iii), (iv), (b), (g), (h), (i), (j), (k), (l), (m), (n), (o), (s) or (u), or (ii)
failure of Seller or any other Seller Party to perform or observe any other term, covenant or
agreement contained in this Agreement, any other DIP Document, the Interim DIP Orders, or the
Final Order and, in the case of the foregoing clause (ii), such default shall continue unremedied
for a period of five (5) Business Days from the earlier of the date that (i) any Seller Party obtains
knowledge of such breach and (ii) any Seller Party receives written notice of such default from
any DIP Consenting Secured Party;

        (c)    any representation, warranty or certification by any Seller Party made herein, in
any DIP Documents or in any report, certificate, financial or similar statement or other document
or instrument furnished in connection with this Agreement or the other DIP Documents shall prove
to have been incorrect or misleading in any material respect on or as of the date made or deemed
made;

        (d)    any Seller Party shall have failed to receive, as and when required, any consent or
approval from any Governmental Authority necessary in order for such Seller Party to perform its
obligations hereunder in accordance with all applicable laws, rules and regulations;

       (e)     the DIP Factoring Agent shall cease to have continuing, valid, binding, enforceable,
non-avoidable, and automatically and properly perfected senior liens on and security interests in
the DIP Collateral with the priorities described in Schedule IV hereto (other than upon a release
by reason of a transaction that is permitted under the DIP Documents);



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        (f)     any Seller Party or equity holder or Affiliate thereof (other than White Winston
and/or Ryan Drexler as otherwise permitted herein) (i) contesting the validity or enforceability of
any DIP Document in writing or denying in writing that it has any further liability thereunder or
(ii) contesting the validity or perfection of the Liens and security interests securing the DIP
Facilities;

       (g)   any attempt by any Seller Party or any equity holder or Affiliate thereof (other than
White Winston and/or Ryan Drexler as otherwise permitted herein) to invalidate or otherwise
impair the DIP Facilities or the Liens granted to the DIP Factoring Purchasers or DIP Note
Purchasers;

        (h)    The Independent Director shall cease to serve as a director on the board of directors
of Seller pursuant to its corporate documents unless the resignation or removal of the Independent
Director and the selection of its successor is made in accordance with the corporate documents of
Seller and is approved in advance by the DIP Note Agent, which approval shall not be
unreasonably withheld, conditioned or delayed;

       (i)     an “Event of Default” occurs under this Agreement, the Interim DIP Orders, Final
Order or any other DIP Documents, including without limitation, the failure by any Seller Party to
comply with the Interim DIP Orders or Final Order, as applicable;

       (j)    the filing by any Seller Party of any motion or proceeding, or the entry of an order
by the Bankruptcy Court, which could reasonably be expected to result in material impairment of
the DIP Factoring Agent’s or any DIP Factoring Purchaser’s rights under the DIP Documents, the
Interim DIP Orders or the Final Order;

       (k)     the failure to meet any Milestone Requirement;

       (l)     the occurrence of any of the following in any Chapter 11 Case:

               (i)      the Interim DIP Orders or the Final Order, as applicable, at any time ceases
       to be in full force and effect;

              (ii)    the entry of an order by a court of competent jurisdiction amending,
       supplementing, staying, vacating, reversing or otherwise modifying this Agreement, the
       other DIP Documents, the Interim DIP Orders, the Final Order, as applicable, without the
       express written consent of the DIP Note Agent;

               (iii) the appointment of an interim or permanent trustee or the appointment of a
       responsible person or an examiner with expanded powers to operate or manage the
       financial affairs, the business, or reorganization of Seller (powers beyond those expressly
       set forth in Section 1106(a)(3) and (4) of the Bankruptcy Code) under Sections 1104(d)
       and 1106(b) of the Bankruptcy Code;

              (iv)    (x) the dismissal of, or the filing of any motion by any Seller Party or equity
       holder or Affiliate thereof (other than White Winston and/or Ryan Drexler as otherwise
       permitted herein) to dismiss, the Chapter 11 Case or (y) the conversion of, or the filing of
       any motion by any Seller Party or equity holder or Affiliate thereof (other than White

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   Winston and/or Ryan Drexler as otherwise permitted herein) to convert, the Chapter 11
   Case from one under Chapter 11 to one under Chapter 7 of the Bankruptcy Code;

           (v)     the entry of an order by the Bankruptcy Court granting relief from or
   modifying the automatic stay of Section 362 of the Bankruptcy Code (x) to allow any
   creditor to execute upon or enforce a Lien on any DIP Collateral, including without
   limitation, to permit foreclosure (or the granting of a deed in lieu of foreclosure or the like)
   on any such DIP Collateral having a fair market value in excess of an amount to be agreed
   in writing by the DIP Note Agent, or (y) to permit the perfection of any Lien on the DIP
   Collateral unless such Lien is or shall be junior in priority to the Liens securing the
   Obligations;

         (vi)  the entry of an order avoiding or requiring repayment of any portion of the
   payments made on account of the Obligations owing under this Agreement;

          (vii) the entry of an order granting any super-priority administrative claim (other
   than the Carve-Out) or Lien (including adequate protection Liens) which are equal or
   superior to that provided to the DIP Factoring Purchasers, other than with respect to the
   Lien priorities set forth on Schedule IV hereof;

          (viii) the filing of any pleading by Seller seeking or otherwise consenting to or
   supporting any of the matters set forth in clauses (iii), (iv), (v), (vi) or (vii) of this
   Section 7(l);

           (ix)   any sale or disposition, other than the Sale Transaction, of all or a material
   portion of the DIP Collateral securing the DIP Facilities pursuant to Section 363 of the
   Bankruptcy Code other than as permitted by the Bankruptcy Orders (or pursuant to a
   transaction that is permitted under the DIP Documents)

         (x)     the filing of any plan of reorganization or a plan of liquidation that is not an
   Acceptable Plan;

           (xi)   the termination or lapse of Seller’s “exclusive period” under Section 1121
   of the Bankruptcy Code for the filing of a plan of reorganization without the prior written
   consent of the DIP Note Agent;

          (xii) the grant of any adequate protection rights to any holder of a pre-petition
   claim or interest, unless otherwise consented to by the DIP Note Agent;

           (xiii) a Seller Party engages in or supports any challenge to the validity,
   perfection, priority, extent or enforceability of this Agreement or any other DIP Document
   or the Liens on or security interests in the assets of Seller securing the Obligations;

         (xiv) the allowance of any claim or claims under section 506(c) or 552(b) of the
   Bankruptcy Code against or with respect to any of the DIP Collateral;




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              (xv) Seller moves the Bankruptcy Court to enter, modify or amend any
       Bankruptcy Order without the prior written consent of the DIP Note Agent to the form and
       substance of the proposed order;

             (xvi) the entry by the Bankruptcy Court of a debtor-in-possession financing order
       or amendment thereto, the form and substance of which is not consented to by the DIP
       Note Agent;

              (xvii) Seller shall make any payment of principal or interest on any pre-petition
       Indebtedness, except for any payments on any pre-petition Indebtedness permitted to be
       made under the Final Order;

               (xviii) termination by the Bankruptcy Court of the use of Cash Collateral; or

               (xix) the Bankruptcy Court enters an order granting relief from the automatic stay
       to any Person asserting a claim or other right against any of Seller relating to any alleged
       pre-petition actions or omissions unless otherwise consented to by the DIP Note Agent.

       8.      Remedies.

        (a)     Certain Actions Following a Default. If any Event of Default shall occur and be
continuing, upon compliance with the terms and conditions of the Interim DIP Orders or Final
Order, as applicable, then the DIP Factoring Agent, solely with the consent of the DIP Consenting
Secured Parties, shall (i) reduce the amount of, or terminate, any or all of the Aggregate DIP
Factoring Purchase Commitment of the DIP Factoring Purchasers, (ii) terminate this Agreement
upon written notice to Seller, (iii) declare all or any part of the unpaid balance of the Obligations
then outstanding to be immediately due and payable, (iv) notify any account debtor to make
payment on any of Seller’s open invoices to DIP Factoring Agent on behalf of the DIP Factoring
Purchasers, and (v) exercise any rights and remedies provided to the DIP Factoring Purchasers
under this Agreement, under the Interim DIP Orders, under the Final Order, under any other DIP
Document or at law or equity, including, without limitation, to seek relief from the automatic stay
to foreclose on all or any portion of the DIP Collateral, and apply the proceeds thereof to the
obligations arising under the DIP Documents.

        (b)     Cumulative Remedies. To the extent not prohibited by the provisions of applicable
law which cannot be waived, all of the DIP Factoring Purchasers’ rights hereunder and under any
other document between the DIP Factoring Purchasers and Seller shall be cumulative. No failure
to exercise and no delay in exercising, on the part of the DIP Factoring Agent or any DIP Factoring
Purchaser, any right, remedy, power or privilege hereunder, shall operate as a waiver thereof; nor
shall any single or partial exercise of any right, remedy, power or privilege hereunder preclude any
other or further exercise thereof or the exercise of any other right, remedy, power or privilege.

        (c)     Waivers. To the extent that such waiver is not prohibited by the provisions of
applicable law that cannot be waived, Seller hereby waives (1) all presentments, demands for
performance, notices of nonperformance (except to the extent required by this Agreement),
protests, notices of protest and notices of dishonor; (2) any requirement of diligence or promptness
on the part of the DIP Factoring Agent or any DIP Factoring Purchaser in the enforcement of its
rights under this Agreement; (3) any and all notices of every kind and description which may be
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required to be given by any statute or rule of law; and (4) any defense (other than indefeasible
payment in full) which it may now or hereafter have with respect to its liability under this
Agreement.

       9.      Creation of Security Interest.

        (a)     Grant of Security Interest. To secure the payment and performance in full of all of
the Obligations, the Note Parties hereby grant to the DIP Factoring Agent, as collateral agent for
the DIP Factoring Purchasers, a continuing first priority security interest in, and pledge to Lender,
the DIP Collateral, wherever located, whether now owned or hereafter acquired or arising, and all
proceeds and products thereof. Each Note Party represents, warrants, and covenants that the
security interest granted herein is and shall at all times continue to be a first priority perfected
security interest in the DIP Collateral (subject only to the Carve-Out and the lien priority set forth
on Schedule IV attached hereto). Upon payment in full of the Obligations (other than
indemnification obligations for which no claim has been made) and at such time as DIP Factoring
Purchasers’ obligation to purchase DIP Accounts and/or DIP Purchase Orders has terminated, DIP
Factoring Agent shall release and terminate its liens and security interests in the DIP Collateral.

        (b)    Subordination of Prepetition Obligations. Subject to Schedule IV and the Final
Order, all obligations judicially determined to be due and owing on account of the Prepetition
Notes, the Prepetition Note Liens and/or the prepetition factoring facility, if any, and liens granted
in the DIP Collateral shall be subject to this Agreement and shall be subordinate in all ways to the
Lender’s liens on the DIP Collateral hereunder.

        (c)    Authorization to File Financing Statements. The Note Parties hereby authorize DIP
Factoring Agent to file financing statements or other security documents, without notice to the
Note Parties, with all appropriate jurisdictions to perfect or protect DIP Factoring Agent’s and DIP
Factoring Purchasers’ interest or rights hereunder, including a notice that any disposition of the
DIP Collateral (other than in accordance with this Agreement or order of the Bankruptcy Court),
by either Seller or any other Note Party, shall be deemed to violate the rights of DIP Factoring
Agent and DIP Factoring Purchasers under the Code. Without limiting the foregoing, the Note
Parties hereby authorize DIP Factoring Agent to file financing statements and other security
documents which describe the collateral as “all assets” and/or “all personal property” of the Note
Parties or words of similar import. Nothing in this Agreement shall limit the effectiveness of DIP
Factoring Agent’s and DIP Factoring Purchasers’ liens and claims pursuant to the Second Interim
DIP Order or the Final Order.

       10.     Administrative Priority; Lien Priority; Adequate Protection.

        (a)     The Obligations of Seller will, at all times, constitute allowed administrative
expenses in the Chapter 11 Case, having priority in payment over all other administrative expenses
and unsecured claims against Seller now existing or hereafter arising, of any kind or nature
whatsoever, including without limitation all administrative expenses of the kind specified in, or
arising or ordered under, Sections 105, 326, 327, 328, 330, 503(b), 506(c), 507(a), 507(b), 546(c),
726 and 1114 of the Bankruptcy Code, except as to the Carve-Out and the co-priority and
subordination of Liens set forth on Schedule IV attached hereto and the Final Order.


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        (b)    Pursuant to Section 364(d)(1) of the Bankruptcy Code, the Second Interim Order
and the Final Order, all Obligations will be secured by a perfected priming first priority Lien on
the DIP Collateral, except as to the Carve-Out and the co-priority and subordination of Liens set
forth on Schedule IV attached hereto and the Final Order.

        (c)     The Prepetition Collateral Agent, on behalf of the Prepetition Secured Parties, shall
receive, to the extent of any aggregate diminution in the value of their collateral, subject to the
Carve-Out: (a) valid, binding, enforceable, and automatically and properly perfected replacement
liens on and security interests in the DIP Collateral (the “Prepetition Notes Adequate Protection
Liens”), subject to the co-priority and subordination of Liens described in Schedule IV attached
hereto (which is reflective of existing intercreditor and subordination agreements which shall
remain binding with respect to such lien priority) and the Final Order; and (b) allowed super-
priority administrative expense claims in the Chapter 11 Case having priority over all
administrative expenses of the kind specified in, or ordered pursuant to, section 364(c)(1) of the
Bankruptcy Code (the “Prepetition Notes Adequate Protection Claims”), subject to the co-priority
and subordination of Liens described in Schedule IV attached hereto (which is reflective of
existing intercreditor and subordination agreements which shall remain binding with respect to
such lien priority) and the Final Order.

        (d)     Prestige (or its successor-in-interest) shall receive, to the extent of any aggregate
diminution in the value of its pre-petition collateral, subject to the Carve-Out: (a) valid, binding,
enforceable, and automatically and properly perfected replacement liens on and security interests
in the DIP Collateral (the “Prestige Adequate Protection Liens”), subject to the co-priority and
subordination of Liens described in Schedule IV attached hereto (which is reflective of existing
intercreditor and subordination agreements which shall remain binding with respect to such lien
priority) and the Final Order; and (b) allowed super-priority administrative expense claims in the
Chapter 11 Case having priority over all administrative expenses of the kind specified in, or
ordered pursuant to, section 364(c)(1) of the Bankruptcy Code (the “Prestige Adequate Protection
Claims”), subject to the co-priority and subordination of Liens described in Schedule IV attached
hereto (which is reflective of existing intercreditor and subordination agreements which shall
remain binding with respect to such lien priority) and the Final Order.

       (e)    The Prepetition Collateral Agent shall be entitled to reimbursement of its
reasonable and documented fees and out- of-pocket expenses.

       (f)     The Prepetition Collateral Agent shall be entitled to reimbursement of its respective
reasonable and documented fees and out-of-pocket expenses of one primary counsel and one local
counsel (if applicable), and one financial advisor.

        (g)     The Prepetition Collateral Agent, on behalf of itself and the Prepetition Secured
Parties, shall be entitled to performance of the Milestone Requirements.

       (h)    Interest at the default rate specified in the Prepetition Notes shall continue to accrue
under the terms of the Prepetition Notes.

       (i)     The Creditors Committee shall have until April 10, 2023 to investigate and
challenge and otherwise object to the allowance of the Allowed Claim (the “Creditors’ Committee

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Challenge Period”). White Winston shall have until March 9, 2023 to investigate and challenge
and otherwise object to the allowance of the Allowed Claim (other than challenges and objections
based upon Seller’s bankruptcy estate’s claims) (“White Winston Challenge Period” and, together
with the Creditors’ Committee Challenge Period, the “Challenge Period”). To the extent the
principal amount of the Allowed Claim is successfully challenged (such amount, the “Disallowed
Claim”) such that the Allowed Claim is less than the Roll-Up Amount, then the Roll-Up Amount
shall be reduced by the amount of the Disallowed Claim such that the Roll-Up Amount equals the
Allowed Claim. If an objection to the Prepetition Secured Parties’ prepetition claim is timely filed
during the applicable Challenge Period in the Bankruptcy Court, then: (i) the Prepetition Secured
Parties’ prepetition claim shall not be deemed an “allowed claim” to the extent objected to in such
objection absent the Prepetition Collateral Agent obtaining a further order of the Bankruptcy
Court, unless the objection is withdrawn; (ii) the Prepetition Collateral Agent shall not be entitled
to the Prepetition Collateral Agent Credit Bid Obligations unless the Prepetition Collateral Agent
obtains a further order of the Bankruptcy Court, unless the objection is withdrawn; (iii) if a sale of
Seller’s assets occurs before such claim objection is resolved, such sale proceeds will be held by
the estate to the extent of the objection unless the Prepetition Collateral Agent obtains a further
order of the Bankruptcy Court, unless the objection is withdrawn; and (iv) the releases set forth in
Section 11(c) of this Agreement are not a defense to such claim objection brought by White
Winston in the Bankruptcy Court (if such objection is brought during the Challenge Period). The
Creditors’ Committee may use up to Fifty Thousand Dollars ($50,000) of the fees and costs of the
Creditors’ Committee in the Authorized Budget to investigate, challenge, object to or contest the
validity, security, perfection, priority, extent or enforceability of any amount due under, or the
liens under the Prepetition Notes. The DIP Note Agent reserves its’ right to respond to any
challenge raised by the Creditors’ Committee, White Winston or any other party. For the
avoidance of doubt, a challenge by either the Seller or the Creditors’ Committee of the Prepetition
Secured Parties’ prepetition claims in excess of Twelve Million Eight Hundred Forty Thousand
Dollars ($12,840,000) is not limited by the Challenge Period.

         (j)    Subject to the express limitations contained in Section 10(i) above, Seller agrees
that in any sale of the DIP Collateral, the Prepetition Collateral Agent, on behalf of the Prepetition
Secured Parties, shall have the right to credit bid an amount not less than Twelve Million Eight
Hundred Forty Thousand Dollars ($12,840,000) which is the principal amount of the Prepetition
Notes, including the original issue discount, in addition to the obligations under the DIP Facilities,
or such greater amount as allowed by the Bankruptcy Court, in accordance with section 363(k) of
the Bankruptcy Code, and that any motion filed by Seller seeking approval of bid procedures shall
contain a request for approval of the right of the Prepetition Collateral Agent to credit bid the
obligations of the Prepetition Purchasers; provided, however, the DIP Note Agent, the Creditors’
Committee and White Winston’s rights shall be reserved with respect to the terms of this Section
10(j).

        (k)      Except to the extent of the Carve-Out, no costs or expenses of administration or
other charge, lien, assessment or claim incurred on or after the Petition Date of any Person or entity
shall be imposed against the DIP Factoring Purchasers, the DIP Note Purchasers or the DIP
Factoring Agent, their respective claims or the Prepetition Notes or Prepetition Note Liens under
section 506(c) of the Bankruptcy Code or otherwise, and Seller hereby irrevocably waives any and
all such rights, remedies and benefits under section 506(c) of the Bankruptcy Code.


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       11.     Indemnification; Expenses; Releases; Waivers.

         (a)     Indemnification. The Seller Parties agree, joint and severally, to indemnify and
hold and save harmless the DIP Agents, each DIP Factoring Purchaser, each DIP Note Purchaser,
its and their respective Affiliates and each of their respective directors, officers, employees, agents,
advisors, or representatives (collectively, “Indemnitees”) from and against any and all losses,
damages, claims, actions, demands, liabilities or out-of-pocket costs and expenses of any kind
whatsoever (including reasonable and documented attorneys’ fees and expenses) (collectively,
“Claims”) incurred by or asserted or awarded against any Indemnitee (including in connection
with any investigation, litigation or proceeding or the preparation of a defense in connection
therewith) arising in any way directly or indirectly out of the transactions contemplated by this
Agreement, the DIP Documents, and the transactions contemplated by this Agreement and the DIP
Documents and any actual or proposed use of the proceeds from the sale and purchase of any DIP
Account or DIP Purchase Order under this DIP Factoring Facility, provided that no such person
will be indemnified for such Claims to the extent determined by a final, non-appealable judgment
of a court of competent jurisdiction to have been incurred solely by reason of the gross negligence
or willful misconduct of such person, and further, provided, the foregoing indemnity shall exclude
out-of-pocket costs and expenses (including but not limited to reasonable and documented legal
fees and expenses) arising out of post-petition litigation between the DIP Note Agent, on the one
hand, and White Winston and/or Ryan Drexler, on the other hand, regarding the Prepetition Notes
or claims between those parties that are not the Seller’s or the Seller’s bankruptcy estate’s claims,
including any claims that may be prosecuted in the Chapter 11 Case. For the avoidance of doubt,
the excluded out-of-pocket costs and expenses are intended to be inclusive of discovery concerning
claims related to the Prepetition Notes of the DIP Note Agent, on the one hand, and White Winston
and/or Ryan Drexler, on the other hand, conducted by 2004 examination. The foregoing indemnity
shall be effective whether or not such any such investigation, litigation, or other proceeding to
which the indemnity applies is brought by any Seller Party, any of their respective directors,
officers, managers, security holders, creditors, an Indemnified Party or any other Person and
whether or not an Indemnified Party is otherwise a party thereto and whether or not the transactions
contemplated hereby are consummated.

        (b)     Expenses. The Seller Parties shall pay, in connection with the Chapter 11 Case and
the negotiation and documentation of the DIP Facilities and restructuring matters with respect to
the Seller Parties, all incurred (i) reasonable and documented legal fees and out-of-pocket expenses
of counsel for the DIP Agents and reasonable and documented legal fees and out-of-pocket
expenses of Schulte Roth & Zabel, LLP and Garman Turner Gordon LLP, counsel for Empery, in
its capacity as a DIP Note Purchaser, DIP Factoring Purchaser, and the DIP Agents; and (ii)
reasonable and documented fees and out-of-pocket expenses of any financial advisor for the DIP
Agents. In addition, the Seller Parties shall pay, in connection with workout proceedings and
enforcement costs associated with the DIP Facilities, all incurred (i) reasonable and documented
legal fees and out-of-pocket expenses of counsel for the DIP Agents and reasonable and
documented legal fees and out-of-pocket expenses legal fees and out-of-pocket expenses of
Schulte Roth & Zabel, LLP and Garman Turner Gordon LLP, counsel for Empery, in its capacity
as a DIP Note Purchaser; and (ii) reasonable and documented fees and out-of-pocket expenses of
any financial advisor for the DIP Agents. Such fees and expenses shall be part of the Obligations
and the DIP Note Purchaser, DIP Factoring Purchaser, and the DIP Agents’ claim(s).


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        (c)      Releases. Pursuant to the Final Order, for good and valuable consideration,
including facilitation of the DIP Facilities, the Note Parties, on behalf of themselves, and Seller,
on behalf of its bankruptcy estate (collectively, the “Releasors”), hereby release any and all claims,
obligations, rights, suits, damages, causes of action, remedies and liabilities whatsoever, including
any derivative claims asserted or which could be asserted on behalf of the Releasors, whether
known or unknown, foreseen or unforeseen, existing in law, equity or otherwise, that the Releasors
would have been legally entitled to assert in their own right, whether individually or collectively,
including claims based on or relating to, or in any manner arising from, in whole or in part, the
Chapter 11 Case restructuring, the Chapter 11 Case, the purchase, sale or rescission of the purchase
or sale of any security of the Seller Parties, the subject matter of, or the transactions or events
giving rise to, any claim or equity security, or any other act or omission, transaction, agreement,
event or other occurrence relating to the Seller, the Prepetition Notes or the Prepetition Liens,
taking place on or before the date of this Agreement, against the DIP Note Agent in its capacity as
such, the DIP Note Purchasers in their capacities as such, the DIP Factoring Purchasers in their
capacities as such, and, except to the extent successfully challenged in a challenge brought in the
applicable Challenge Period, the Prepetition Collateral Agent in its capacity as such, and the
Prepetition Purchasers in their capacities as such (collectively, the “Releasees”). The foregoing
releases shall not be a defense to an objection to the prepetition claims of the Prepetition Collateral
Agent in its capacity as such and the Prepetition Purchasers in their capacity as such brought in
the Bankruptcy Court, provided such objection is timely brought during the applicable Challenge
Period. Any claims arising out of the breach of this Agreement by any party are excluded from
the releases provided in this Section 11(c), and, in the event of any such breach, the non-breaching
party shall be entitled to pursue any and all rights, claims and damages that it may have against
the other party as a result of such breach.

        (d)     DIP Waivers. Pursuant to the Final Order, the Releasors hereby waive (i) any and
all claims of the Seller Parties, on behalf of themselves, and Seller, on behalf of its bankruptcy
estate, arising from or related to (A) the DIP Agents or any DIP Note Purchaser or any DIP
Factoring Purchaser, in each of their respective capacities as such, or (B) the DIP Documents;
including, without limitation, the waiver of any and all rights to challenge the validity, perfection,
priority, extent or enforceability of the claims or Liens securing the Obligations, including without
limitation seeking to equitably subordinate or avoid the Liens securing the Obligations, (ii) the
“equities of the case” exception to Section 552(b) of the Bankruptcy Code, (iii) the ability to
surcharge the DIP Collateral, and subject to entry of the Final Order, the collateral securing the
Prepetition Notes, including under Section 506(c) of the Bankruptcy Code, and (iv) the equitable
doctrine of “marshaling” with respect to the DIP Collateral, and subject to entry of the Final Order,
the collateral securing the Prepetition Notes.

       12.     The DIP Factoring Agent.

       (a)     Appointment and Authorization. Each DIP Factoring Purchaser hereby designates
and appoints the DIP Factoring Agent as its DIP Factoring Agent and collateral agent under this
Agreement and the other DIP Documents and each DIP Factoring Purchaser hereby irrevocably
authorizes the DIP Factoring Agent to take such action on its behalf under the provisions of this
Agreement and each other DIP Document and to exercise such powers and perform such duties as
are expressly delegated to it by the terms of this Agreement or any other DIP Document, together
with such powers as are reasonably incidental thereto. The DIP Factoring Agent agrees to act as

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such on the express conditions contained in this Section 12. The provisions of this Section 12 are
solely for the benefit of the DIP Factoring Agent and the DIP Factoring Purchasers and no Seller
Party shall have any rights as a third party beneficiary of any of the provisions contained herein.
Notwithstanding any provision to the contrary contained elsewhere in this Agreement or in any
other DIP Document, the DIP Factoring Agent shall not have any duties or responsibilities, except
those expressly set forth herein, nor shall the DIP Factoring Agent have or be deemed to have any
fiduciary relationship with any DIP Factoring Purchaser, and no implied covenants, functions,
responsibilities, duties, obligations, or liabilities shall be read into this Agreement or any other DIP
Document or otherwise exist against the DIP Factoring Agent. Instead, such term is used merely
as a matter of market custom, and is intended to create or reflect only an administrative relationship
between independent contracting parties. Except as expressly otherwise provided in this
Agreement, the DIP Factoring Agent shall have and may use its sole discretion with respect to
exercising or refraining from exercising any discretionary rights or taking or refraining from taking
any actions which the DIP Factoring Agent is expressly entitled to take or assert under this
Agreement and the other DIP Documents, including the exercise of rights and remedies pursuant
to Section 8, and any action so taken or not taken shall be deemed consented to by the DIP
Factoring Purchasers.

        (b)    Delegation of Duties. The DIP Factoring Agent may execute any of its duties under
this Agreement or any other DIP Document by or through agents, sub-agents, employees, or
attorneys-in-fact and shall be entitled to advice of counsel concerning all matters pertaining to such
duties. The DIP Factoring Agent shall not be responsible for the negligence or misconduct of any
agent, sub-agent, employee, or attorney-in-fact that it selects as long as such selection was made
without gross negligence or willful misconduct.

         (c)     Liability of the DIP Factoring Agent. The DIP Factoring Agent shall not (x) be
liable for any action taken or omitted to be taken by it under or in connection with this Agreement
or any other DIP Document or the transactions contemplated hereby (except for its own gross
negligence or willful misconduct as determined by a final, non-appealable judgment of a court of
competent jurisdiction), or (y) be responsible in any manner to any of the DIP Factoring Purchasers
for any recital, statement, representation, or warranty made by Seller contained in this Agreement
or in any other DIP Document, or in any certificate, report, statement, or other document referred
to or provided for in, or received by the DIP Factoring Agent under or in connection with, this
Agreement or any other DIP Document, or the validity, effectiveness, genuineness, enforceability,
or sufficiency of this Agreement or any other DIP Document, or for any failure of Seller to perform
its obligations hereunder or thereunder. The DIP Factoring Agent shall not be under any obligation
to any DIP Factoring Purchaser to ascertain or to inquire as to the observance or performance of
any of the agreements contained in, or conditions of, this Agreement or any other DIP Document,
or to inspect the properties, books, or records of Seller or any affiliate of Seller.

        Without limiting the generality of the foregoing, the DIP Factoring Agent: (i) shall have
no duty to take any discretionary action or exercise any discretionary powers, except discretionary
rights and powers expressly contemplated hereby or by the other DIP Documents that the DIP
Factoring Agent is required to exercise as directed in writing by the DIP Consenting Secured
Parties; provided that the DIP Factoring Agent shall not be required to take any action that, in its
judgment or the judgment of its counsel, may expose such Person to liability or that is contrary to
any DIP Document or applicable requirements of law; and (ii) shall, except as expressly set forth

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herein and in the other DIP Documents, have no duty to disclose, and shall not be liable for the
failure to disclose, any information relating to Seller or any of their affiliates that is communicated
to or obtained by the Person serving as DIP Factoring Agent or any of its affiliates in any capacity.

       (d)     Reliance by the DIP Factoring Agent.

                (i)     The DIP Factoring Agent shall be entitled to rely, and shall be fully
       protected in relying, upon any writing, resolution, notice, consent, certificate, affidavit,
       letter, e-mail, facsimile, telex, or telephone message, statement, or other document or
       conversation believed by it to be genuine and correct and to have been signed, sent, or
       made by the proper Person or Persons, and upon advice and statements of legal counsel
       (including, without limitation, counsel to Seller), independent accountants, and other
       experts. The DIP Factoring Agent shall be fully justified in failing or refusing to take any
       action under this Agreement or any other DIP Document unless it shall first receive such
       advice or concurrence of the DIP Consenting Secured Parties as it deems appropriate and,
       if it so requests, it shall first be indemnified to its satisfaction by the DIP Factoring
       Purchasers against any and all liability and expense which may be incurred by it by reason
       of taking or continuing to take any such action. The DIP Factoring Agent shall in all cases
       be fully protected in acting, or in refraining from acting, under this Agreement or any other
       DIP Document in accordance with a request or consent of the DIP Consenting Secured
       Parties (or all DIP Factoring Purchasers if so required by the terms of this Agreement) and
       such request and any action taken or failure to act pursuant thereto shall be binding upon
       all of the DIP Factoring Purchasers.

               (ii)    For purposes of determining compliance with the conditions specified in
       Section 4, each DIP Factoring Purchaser that has executed this Agreement shall be deemed
       to have consented to, approved, or accepted or to be satisfied with, each document or other
       matter either sent by the DIP Factoring Agent to such DIP Factoring Purchaser for consent,
       approval, acceptance, or satisfaction, or required thereunder to be consented to or approved
       by or acceptable or satisfactory to such DIP Factoring Purchaser.

        (e)     Notice of Default. The DIP Factoring Agent shall not be deemed to have
knowledge or notice of the occurrence of any Default or Event of Default, unless the DIP Factoring
Agent shall have received written notice from a DIP Factoring Purchaser or Seller Party referring
to this Agreement, describing such Default or Event of Default and stating that such notice is a
“notice of default.” The DIP Factoring Agent will notify the DIP Factoring Purchasers of its
receipt of any such notice.

         (f)    Credit Decision. Each DIP Factoring Purchaser acknowledges that the DIP
Factoring Agent has not made any representation or warranty to it, and that no act by the DIP
Factoring Agent hereinafter taken, including any review of the affairs of Seller and their affiliates,
shall be deemed to constitute any representation or warranty by the DIP Factoring Agent to any
DIP Factoring Purchaser. Each DIP Factoring Purchaser represents to the DIP Factoring Agent
that it has, independently and without reliance upon the DIP Factoring Agent and based on such
documents and information as it has deemed appropriate, made its own appraisal of an
investigation into the business, prospects, operations, property, financial and other condition, and
creditworthiness of Seller and their affiliates and made its own decision to enter into this

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Agreement and to extend credit to Seller. Each DIP Factoring Purchaser also represents that it
will, independently and without reliance upon the DIP Factoring Agent and based on such
documents and information as it shall deem appropriate at the time, continue to make its own credit
analysis, appraisals, and decisions in taking or not taking action under this Agreement and the
other DIP Documents, and to make such investigations as it deems necessary to inform itself as to
the business, prospects, operations, property, financial and other condition, and creditworthiness
of Seller. Except for notices, reports, and other documents expressly herein required to be
furnished to the DIP Factoring Purchasers by the DIP Factoring Agent, the DIP Factoring Agent
shall not have any duty or responsibility to provide any DIP Factoring Purchaser with any credit
or other information concerning the business, prospects, operations, property, financial and other
condition, or creditworthiness of Seller which may come into the possession of the DIP Factoring
Agent.

       (g)     The DIP Factoring Agent in Individual Capacity. With respect to its DIP Accounts
and DIP Purchase Orders, the DIP Factoring Agent as a DIP Factoring Purchaser shall have the
same rights and powers under this Agreement as any other DIP Factoring Purchaser and may
exercise the same as though it were not the DIP Factoring Agent, and the terms “DIP Factoring
Purchaser” and “DIP Factoring Purchasers” include the DIP Factoring Agent in its individual
capacity as a DIP Factoring Purchaser hereunder.

        (h)      Successor DIP Factoring Agent. The DIP Factoring Agent may resign as the DIP
Factoring Agent upon thirty (30) days’ notice to the DIP Factoring Purchasers and Seller, such
resignation to be effective, subject to the next succeeding paragraph of this Section 12(h), upon
the acceptance of a successor agent to its appointment as DIP Factoring Agent. If the DIP
Factoring Agent resigns under this Agreement, the DIP Consenting Secured Parties shall appoint
a successor agent for the DIP Factoring Purchasers. Upon the acceptance of its appointment as
successor agent hereunder, such successor agent shall succeed to all the rights, powers, and duties
of the retiring DIP Factoring Agent and the term “DIP Factoring Agent” shall mean such successor
agent and the retiring DIP Factoring Agent’s appointment, powers, and duties as the DIP Factoring
Agent shall be terminated. After any retiring DIP Factoring Agent’s resignation hereunder as DIP
Factoring Agent, the provisions of this Section 12(h) shall inure to its benefit as to any actions
taken or omitted to be taken by it while it was the DIP Factoring Agent under this Agreement.

        If no such successor DIP Factoring Agent shall have been so appointed by the DIP
Factoring Purchasers and shall have accepted such appointment within thirty (30) days after the
retiring DIP Factoring Agent gives notice of its resignation then such resignation shall nonetheless
become effective in accordance with such notice and (1) the retiring DIP Factoring Agent shall be
discharged from its duties and obligations hereunder and under the other DIP Documents (except
that in the case of any DIP Collateral held by the DIP Factoring Agent on behalf of the DIP
Factoring Purchasers under any of the DIP Documents, the retiring DIP Factoring Agent shall
continue to hold such DIP Collateral as nominee until such time as a successor DIP Factoring
Agent is appointed) and (2) all payments, communications and determinations provided to be
made by, to or through an DIP Factoring Agent shall instead be made by or to each DIP Factoring
Purchaser directly, until such time as the DIP Factoring Purchasers appoint a successor DIP
Factoring Agent as provided for above in this Section 12(h).



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              (i)     After the replaced or retiring DIP Factoring Agent’s replacement or
       resignation hereunder and under the other DIP Documents, the provisions of this
       Section 12 and Section 11 shall continue in effect for the benefit of such replaced or retiring
       DIP Factoring Agent and its sub-agents in respect of any actions taken or omitted to be
       taken by any of them while the replaced or retiring DIP Factoring Agent was acting as DIP
       Factoring Agent.

       (i)     Restrictions on Actions by the DIP Note Purchasers; Sharing of Payments.

               (i)     Each DIP Factoring Purchaser hereby waives any and all rights to set-off
       against the Obligations, any amounts owing by such DIP Factoring Purchaser to Seller or
       any accounts unrelated to the DIP Factoring Facility of Seller now or hereafter maintained
       with such DIP Factoring Purchaser. Each of the DIP Factoring Purchasers further agrees
       that it shall not take or cause to be taken any action to enforce its rights under this
       Agreement or against Seller, including the commencement of any legal or equitable
       proceedings, to foreclose any Lien on, or otherwise enforce any security interest in, any of
       the DIP Collateral.

                (ii)    If at any time or times any DIP Factoring Purchaser shall receive (i) by
       payment, foreclosure, setoff or otherwise, any proceeds of DIP Collateral or any payments
       with respect to the Obligations owing to such DIP Factoring Purchaser arising under, or
       relating to, this Agreement or the other DIP Documents, except for any such proceeds or
       payments received by such DIP Factoring Purchaser from the DIP Factoring Agent
       pursuant to the terms of this Agreement, or (ii) payments from the DIP Factoring Agent in
       excess of such DIP Factoring Purchaser’s pro rata share of all such distributions by the DIP
       Factoring Agent, such DIP Factoring Purchaser shall promptly turn the same over to the
       DIP Factoring Agent, in kind, and with such endorsements as may be required to negotiate
       the same to the DIP Factoring Agent, or in same day funds, as applicable, for the account
       of all of the DIP Factoring Purchasers and for application to the Obligations in accordance
       with the applicable provisions of this Agreement.

        (j)     Agency for Perfection. Each DIP Factoring Purchaser hereby appoints each other
DIP Factoring Purchaser as agent for the purpose of perfecting the DIP Factoring Purchasers’
security interest in assets which, in accordance with Article 9 of the UCC, can be perfected by
possession. Should any DIP Factoring Purchaser (other than the DIP Factoring Agent) obtain
possession of any such DIP Collateral, such DIP Note Purchaser shall notify the DIP Factoring
Agent thereof, and, promptly upon the DIP Factoring Agent’s request therefor shall deliver such
DIP Collateral to the DIP Factoring Agent or otherwise deal with such DIP Collateral in
accordance with the DIP Factoring Agent’s instructions.

        (k)     Payments by the DIP Factoring Agent to the DIP Note Purchasers. All payments
to be made by the DIP Factoring Agent to the DIP Factoring Purchasers shall be made by bank
wire transfer of immediately available funds to each DIP Factoring Purchaser pursuant to wire
transfer instructions delivered in writing to the DIP Factoring Agent on or prior to the date hereof,
or pursuant to such other wire transfer instructions as each party may designate for itself by written
notice to the DIP Factoring Agent. Concurrently with each such payment, the DIP Factoring Agent


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shall identify what such payment (or any portion thereof) represents, whether for payment of fees,
or whether being made on account of a DIP Account or DIP Purchase Order, or otherwise.

        (l)     Concerning the DIP Collateral and the Related DIP Documents. Each DIP
Factoring Purchaser authorizes and directs the DIP Factoring Agent to enter into this Agreement
and the other DIP Documents relating to the DIP Collateral for the benefit of the DIP Factoring
Agent and the DIP Factoring Purchasers. Each DIP Factoring Purchaser agrees that any action
taken by the DIP Factoring Agent in accordance with the terms of this Agreement or the other DIP
Documents relating to the DIP Collateral, and the exercise by the DIP Factoring Agent of its
respective powers set forth therein or herein, together with such other powers that are reasonably
incidental thereto, shall be binding upon all of the DIP Factoring Purchasers.

       13.     Miscellaneous.

       (a)     Notices.

               (i)     Any communication, notice or demand required or permitted to be given
       hereunder shall be in writing and shall be delivered by hand or overnight courier service,
       or mailed by certified or registered mail or via email (with a copy to follow via another
       approved method above) at the address set forth in Schedule I hereto. Notices sent by hand
       or overnight courier service shall be deemed to have been given one (1) Business Day after
       sent; notices mailed by certified or registered mail, shall be deemed to have been given
       three (3) Business Days after sent; and notices sent by email shall be deemed to have been
       given on the same Business Day if sent during regular business hours, or one (1) Business
       Day if sent after regular business hours, in either case so long as the sender does not receive
       a bounce-back of such email (by automated generated message of non-delivery to such
       recipient or otherwise).

                (ii)    The DIP Factoring Agent, any DIP Factoring Purchaser or Seller may, in its
       discretion, agree to accept notices and other communications to it hereunder by electronic
       communications pursuant to procedures approved by it; provided that approval of such
       procedures may be limited to particular notices or communications. All such notices and
       other communications sent to an e-mail address shall be deemed received upon delivery
       (provided that the send does not receive an automated rejection notice); provided that if
       not given during the normal business hours of the recipient, such notice or communication
       shall be deemed to have been given at the opening of business on the next Business Day
       for the recipient. Empery, until further notice to the other parties hereto, requires all
       documentation hereunder to be sent via electronic mail to the email address set forth in
       Schedule I hereto with the subject line “MusclePharm Corporation DIP Facility/ and the
       topic (i.e., Notice of Payment, Proposed Budget, Budget Reconciliation, etc. as applicable)
       with a copy sent to the other addresses for the DIP Factoring Purchasers pursuant to Section
       13(a)(i) above.

               (iii) Any party, by notice to the other parties hereto in accordance with this
       Section 13(a), may designate additional or different addresses from those described in
       clause (i) hereof for subsequent notices or communications.


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               (iv)   Notwithstanding anything in this Agreement to the contrary, any reporting
       to be provided and delivered under Section 6(a) of this Agreement or bankruptcy pleadings
       under Section 6(r) of this Agreement may be sent via email without a copy to follow via
       another approved method pursuant to Section 13(a)(i) above.

       DIP Factoring Agent shall provide notice of any communication, notice or demand it
       receives from Seller to the DIP Consenting Secured Parties within one (1) Business Day
       of receipt.

        (b)     Entire Agreement; Severability. This Agreement together with the DIP Note
Purchase Agreement, the other DIP Documents, the Interim DIP Orders and the Final Order, sets
forth the parties’ entire agreement and understanding in respect of the subject matter contained
herein. Notwithstanding the foregoing, however, the Interim DIP Orders and the Final Order, as
applicable, shall continue to govern the terms and conditions of the transactions contemplated
hereby to the extent materially inconsistent with, or address matters not addressed in, this
Agreement or the other DIP Documents. It shall not be deemed a material inconsistency as a result
of this Agreement or the other DIP Documents including additional terms and provisions not
included in the Final Order and the failure specifically to include any particular provisions of this
Agreement or the other DIP Documents in the Final Order shall not diminish or impair the
effectiveness of such provision, it being the intent of the Bankruptcy Court, the Seller Parties, the
DIP Note Agent and the DIP Note Purchasers that this Agreement, the DIP Documents and the
Final Order be read together and consistent with one another. If any term or provision hereof, or
its application to any Person or circumstance, shall to any extent be invalid or unenforceable, the
remainder of this Agreement, or the application of such terms to Persons or circumstances other
than those as to which it is invalid or unenforceable, shall not be affected thereby and each term
hereof shall be valid and enforceable to the fullest extent permitted by applicable law.

        (c)     Assignment. Neither this Agreement nor any of the rights, interests or obligations
of Seller hereunder shall be assigned or otherwise transferred by such Seller, nor may Seller
delegate performance hereunder, except with each DIP Factoring Purchaser’s prior written
consent. Each DIP Factoring Purchaser shall be permitted to assign all or any part of its rights and
obligations hereunder to any affiliate of such DIP Factoring Purchaser, bank, financial institution
or other entity. Upon such assignment, such affiliate, bank, financial institution, or entity will
become a DIP Factoring Purchaser for all purposes under the DIP Documents. Notwithstanding
the foregoing, no assignment shall be made or participation sold to the Seller, any subsidiary of
the Seller or an Affiliate of any of the foregoing.

       (d)     Amendments; Waivers. All amendments, supplements or other modifications to
this Agreement or any other DIP Document must be in writing signed by Seller and the DIP
Consenting Secured Parties (or the DIP Factoring Agent solely at the direction of the DIP
Consenting Secured Parties); provided, that, no such amendment, supplement or other
modification shall, without the prior written consent of (a) each DIP Factoring Purchaser affected
thereby, (i) change the definition of DIP Consenting Secured Parties, (ii) increase the DIP
Factoring Purchase Commitment of any DIP Factoring Purchaser (it being understood that waivers
or modifications of conditions precedent, covenants or Defaults or Events of Default, or a waiver
of a mandatory prepayment shall not constitute an increase in the DIP Factoring Purchase
Commitment of any DIP Factoring Purchaser), (iii) consent to the assignment by Seller of their

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rights and obligations hereunder, (iv) release Seller from its Obligations owing to such DIP
Factoring Purchaser or all or substantially all of the DIP Collateral or (v) change the super-priority
status of the Obligations owing to such DIP Factoring Purchaser and (b) the DIP Factoring Agent,
amend, supplement or otherwise modify Section 12 of this Agreement.

      (e)   APPLICABLE LAW. THIS AGREEMENT SHALL BE GOVERNED BY, AND
CONSTRUED AND ENFORCED IN ACCORDANCE WITH, THE INTERNAL LAWS OF
THE STATE OF NEVADA, WITHOUT REGARD TO THE CONFLICT OF LAW PRINCIPLES
THEREOF. EACH PARTY HERETO HEREBY CONSENTS AND AGREES THAT THE SO
LONG AS THE BANKRUPTCY COURT HAS JURISDICTION OVER THE CHAPTER 11
CASE, THE BANKRUPTCY COURT SHALL HAVE EXCLUSIVE JURISDICTION TO HEAR
AND DETERMINE ANY CLAIMS OR DISPUTES BETWEEN ANY DIP NOTE PURCHASER
AND SELLER PERTAINING TO THIS AGREEMENT OR TO ANY MATTER ARISING OUT
OF OR RELATING TO THIS AGREEMENT; PROVIDED, THAT THE DIP FACTORING
PURCHASERS AND SELLER ACKNOWLEDGE THAT ANY APPEALS FROM THE
BANKRUPTCY COURT MAY HAVE TO BE HEARD BY A COURT OTHER THAN THE
BANKRUPTCY COURT; PROVIDED FURTHER, THAT AFTER THE CHAPTER 11 CASE
IS CLOSED, THE STATE AND FEDERAL COURTS LOCATED IN THE COUNTY OF NEW
YORK, STATE OF NEW YORK SHALL HAVE EXCLUSIVE JURISDICTION TO HEAR
AND DETERMINE ANY CLAIMS OR DISPUTES BETWEEN ANY DIP FACTORING
PURCHASER AND SELLER PERTAINING TO THIS AGREEMENT OR TO ANY MATTER
ARISING OUT OF OR RELATING TO THIS AGREEMENT, AND PROVIDED FURTHER,
THAT NOTHING IN THIS AGREEMENT SHALL BE DEEMED OR OPERATE TO
PRECLUDE THE DIP FACTORING AGENT OR ANY DIP FACTORING PURCHASER
FROM BRINGING SUIT OR TAKING OTHER LEGAL ACTION IN ANY OTHER
JURISDICTION TO REALIZE ON ANY DIP COLLATERAL OR ANY OTHER SECURITY
FOR THE OBLIGATIONS OR TO ENFORCE A JUDGMENT OR OTHER COURT ORDER
IN FAVOR OF THE DIP FACTORING AGENT OR ANY DIP FACTORING PURCHASER.

     (f)  WAIVER OF VENUE. SELLER IRREVOCABLY AND UNCONDITIONALLY
WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY
OBJECTION THAT IT MAY NOW OR HEREAFTER HAVE TO THE LAYING OF VENUE
OF ANY ACTION OR PROCEEDING ARISING OUT OF OR RELATING TO THIS
AGREEMENT IN ANY COURT REFERRED TO IN SECTION 13(e). EACH OF THE
PARTIES HERETO HEREBY IRREVOCABLY WAIVES, TO THE FULLEST EXTENT
PERMITTED BY APPLICABLE LAW, THE DEFENSE OF AN INCONVENIENT FORUM TO
THE MAINTENANCE OF SUCH ACTION OR PROCEEDING IN ANY SUCH COURT.

     (g)   SERVICE OF PROCESS.      EACH PARTY HERETO IRREVOCABLY
CONSENTS TO SERVICE OF PROCESS IN THE MANNER PROVIDED FOR NOTICES IN
SECTION 13(a). NOTHING IN THIS AGREEMENT WILL AFFECT THE RIGHT OF ANY
PARTY HERETO TO SERVE PROCESS IN ANY OTHER MANNER PERMITTED BY
APPLICABLE LAW.

     (h)  WAIVER OF JURY TRIAL.        EACH PARTY HERETO HEREBY
IRREVOCABLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE
LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN ANY LEGAL PROCEEDING

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DIRECTLY OR INDIRECTLY ARISING OUT OF OR RELATING TO THIS AGREEMENT
OR THE TRANSACTIONS CONTEMPLATED HEREBY (WHETHER BASED ON
CONTRACT, TORT OR ANY OTHER THEORY).

        (i)     Counterparts. This Agreement may be executed in any number of counterparts and
by the parties hereto in separate counterparts, each of which when so executed shall be deemed to
be an original and all of which taken together shall constitute one and the same agreement. A
facsimile copy of a signature hereto shall have the same effect as the original of such signature.

       (j)     Reinstatement. In the event that any payment hereunder, or any part thereof, is
rescinded, reduced, restored or returned, the Obligations shall be reinstated and deemed reduced
only by such amount paid and not so rescinded, reduced, restored or returned.

       (k)      Binding Agreement. Upon the entry of the Interim DIP Order and Final Order, as
applicable, this Agreement shall be binding upon Seller, the estate of Seller and any trustee or
successor in interest of Seller in the Chapter 11 Case or any subsequent case commenced under
Chapter 7 of the Bankruptcy Code. Upon the entry of the Second Interim DIP Order and Final
Order, as applicable, this Agreement shall be binding upon, and inure to the benefit of, the
successors of the DIP Factoring Agent and any DIP Factoring Purchaser and its assigns, transferees
and endorsees. The super-priority claims and any Liens that may be created by this Agreement
and the Second Interim DIP Order and Final Order, as applicable, shall be and remain valid and
perfected in the event of the substantive consolidation or conversion of the Chapter 11 Case or any
other bankruptcy case of Seller to a case under Chapter 7 of the Bankruptcy Code or in the event
of dismissal of any Chapter 11 Case or the release of any DIP Collateral from the jurisdiction of
the Bankruptcy Court for any reason, without the necessity that the DIP Factoring Agent file
financing statements or otherwise perfect any security interests or Liens under applicable law.

                       [The remainder of this page is intentionally blank.]




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        IN WITNESS WHEREOF, the parties have caused this Agreement to be duly executed
as of the date first above written.



                                 DIP FACTORING AGENT

                                 EMPERY TAX EFFICIENT, LP

                                 By:
                                 Name:
                                 Title:



                                 DIP FACTORING PURCHASERS

                                 EMPERY TAX EFFICIENT, LP

                                 By:
                                 Name:
                                 Title:



                                 [Ɣ]

                                 By:
                                 Name:
                                 Title:
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                           SELLER PARTIES:



                           SELLER

                           MUSCLEPHARM CORPORATION



                           By:
                           Name:
                           Title:




                           GUARANTOR

                           CANADA MUSCLEPHARM ENTERPRISES
                           CORPORATION



                           By:
                           Name:
                           Title:
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                                  EXHIBIT A

                                Authorized Budget

                            [To come from Seller and
                     be consented to by the DIP Note Agent]
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                               EXHIBIT B
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                                          SCHEDULE I

                                       Notice Information


Seller

MusclePharm Corporation
______________________
______________________
______________________
Attn: _________________
Email: ________________

With a copy to (which shall not constitute notice):

______________________
______________________
______________________
Attn: _________________
Email: ________________


DIP Factoring Agent

Empery Tax Efficient, LP
____________________
____________________
____________________
Attn: _______________
Email: ______________
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DIP Factoring Purchasers

Empery Tax Efficient, LP
____________________
____________________
____________________
Attn: _______________
Email: ______________

With copies to (which shall not constitute notice):

Garman Turner Gordon
7251 Amigo Street, Suite 210
Las Vegas, NV 89119
Attn: Gregory E. Garman & William Noall
Email: ggarman@gtg.legal & wnoall@gtg.legal


and


____________________
____________________
Attn: _______________
Email: ______________
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                                      SCHEDULE II

                      DIP Factoring Purchase Commitment Schedule


  DIP Factoring Purchaser        DIP Factoring Purchase   Pro Rata Share of Additional
                               Commitment/Aggregate DIP     DIP Factoring Purchase
                                   Factoring Purchase            Commitment
                                      Commitment
Empery Tax Efficient, LP
           [Ɣ]
                                                                      100%
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                                                 SCHEDULE III1


                                                          Aggregate Principal            Aggregate
                                                           Amount, including     Principal Amount,
                                                             OID, of October      including OID, of
    Prepetition Purchaser                                       Notes (USD)       June Notes (USD)

    Altium Growth Fund, LP                                       1,384,300.00           156,250.00

    Anson Investments Master Fund LP                             1,038,225.00           312,500.00

    Bigger Capital Fund, LP                                        692,150.00           312,500.00

    CVI Investments, Inc.                                          692,150.00                  0.00

    District 2 Capital Fund LP                                   1,038,225.00           312,500.00

    Empery Debt Opportunities Fund,
    LP                                                           1,245,870.00           281,250.00

    Empery Master Onshore, LLC                                     924,712.40           208,750.00

    Empery Tax Efficient, LP                                       276,860.00            62,500.00

    Empery Tax Efficient III, LP                                   321,157.60            72,500.00

    HB Fund LLC                                                    692,150.00           156,250.00

    Intracostal Capital LLC                                         69,214.99                  0.00

    Ionic Ventures                                                 692,150.00           312,500.00

    L1 Capital Global Opportunities
    Master Fund                                                    692,150.00                  0.00

    Roth Capital Partners, LLC                                           0.00           269,375.00

    Walleye Opportunities Master Fund
    Ltd.                                                                 0.00           625,000.00

    TOTAL                                                        9,759,315.00          3,081,875.00




1
    Schedule III to be reviewed and updated, as needed.
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                                                         SCHEDULE IV

    Order      DIP Collateral    DIP              DIP Collateral   DIP Collateral     Third-Party      Unencumbered      Superpriority
    of         Consisting of     Collateral       Consisting of    Not Consisting     Encumbered       Assets            Claims
    Priority   Pre-Petition      Consisting of    Post-Petition    of Factored        Assets4
               Factoring         Post-Petition    DIP Inventory    Accounts or
               Priority          Factored         Acquisition      DIP Inventory
               Collateral2       Accounts         Line of Credit   Acquisition
                                                  Purchasers       Line of Credit
                                                  Financed         Purchasers
                                                  Inventory3       Financed
                                                                   Inventory

    1st        Carve-Out and     Carve-Out and    DIP Inventory    Carve-Out and      Third-Party      Carve-Out         Carve-Out and
               Permitted         Permitted        Acquisition      Permitted Liens    Existing Liens                     Permitted
               Liens5            Liens            Line of Credit                                                         Liens
                                                  Purchasers
                                                  Financed
                                                  Inventory
                                                  Liens

    2nd        Prestige Liens6   DIP Factoring    Carve-Out and    DIP Note Liens     Carve-Out        DIP Note Liens,   DIP Notes
                                 Liens            Permitted        and Prepetition                     DIP Factoring     Superpriority
                                                  Liens            Notes Adequate                      Liens, DIP        Claim and
                                                                   Protection Liens                    Inventory         DIP Factoring
                                                                                                       Acquisition       Superpriority
                                                                                                       Line of Credit    Claim, DIP
                                                                                                       Purchasers        Inventory
                                                                                                       Financed          Acquisition
                                                                                                       Inventory         Line of Credit
                                                                                                       Liens, and        Purchasers
                                                                                                       Prepetition       Financed
                                                                                                       Notes Adequate    Inventory
                                                                                                       Protection        Superpriority
                                                                                                       Liens             Claim

    3rd        DIP Note Liens,   DIP Note         DIP Note         DIP Factoring      DIP Note         Prestige          Prepetition
               DIP Factoring     Liens, DIP       Liens, DIP       Liens, DIP         Liens, DIP       Adequate          Notes
               Liens, DIP        Inventory        Factoring        Inventory          Factoring        Protection        Adequate
               Inventory         Acquisition      Liens, and       Acquisition        Liens, DIP       Liens7            Protection
               Acquisition       Line of Credit   Prepetition      Line of Credit     Inventory                          Claim and
               Line of Credit    Purchasers       Notes            Purchasers         Acquisition                        Prestige
               Purchasers        Financed         Adequate                            Line of Credit                     Adequate

2
          As defined in the Intercreditor Agreement, dated as of October 13, 2021 (the “Prestige Intercreditor
Agreement”), among Prestige, Empery, as Notes Representative on behalf of the Prepetition Noteholders and
Prepetition Collateral Agent, and the Note Parties.
3
          “DIP Note Purchasers Financed Inventory” shall mean DIP Collateral made up of the specific inventory
items financed by the Inventory Acquisition Line of Credit.
4
          “Third-Party Encumbered Assets” shall mean DIP Collateral that was, as of the Petition Date, subject to
valid, properly perfected, non-avoidable, and senior liens or security interests (excluding subordinated liens pursuant
to existing agreements) (collectively, the “Third-Party Existing Liens”) other than the liens and security interests
granted pursuant to the Prepetition Security Agreement (the “Prepetition Notes Liens”) and the Prestige Liens (as
defined below).
5
          “Permitted Liens” shall mean any liens that are senior by operation of law (including any such liens that are
perfected subsequent to the Petition Date as permitted by section 546(b) of the Bankruptcy Code) or that were, as of
the Petition Date, valid, properly perfected, non-avoidable and senior in priority to the Prepetition Notes Liens and
Prestige Liens.
6
          “Prestige Liens” shall mean any valid, properly perfected and non-avoidable liens on or security interests in
the Factoring Collateral created by the Factoring Security Documents (each as defined in the Prestige Intercreditor
Agreement).
7
          Subject to Prestige’s rights under paragraph 20 of the Final Order.
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             Financed           Inventory        Protection       Financed          Purchasers             Protection
             Inventory Liens,   Liens            Liens            Inventory Liens   Financed               Claim
             and Prepetition                                                        Inventory
             Notes Adequate                                                         Liens and
             Protection Liens                                                       Prepetition
                                                                                    Notes
                                                                                    Adequate
                                                                                    Protection
                                                                                    Liens

    4th      Prepetition        Prestige         Prepetition      Prepetition       Prestige
             Notes Liens        Adequate         Notes Liens      Notes Liens       Adequate
                                Protection                                          Protection
                                Liens                                               Liens8



    5th                         Prepetition      Prestige         Prestige
                                Notes            Adequate         Adequate
                                Adequate         Protection       Protection
                                Protection       Liens9           Liens10
                                Liens

    6th                         Prepetition      Prestige Liens   Prestige Liens
                                Notes Liens




8
            Subject to Prestige’s rights under paragraph 20 of the Final Order.
9
            Subject to Prestige’s rights under paragraph 20 of the Final Order.
10
            Subject to Prestige’s rights under paragraph 20 of the Final Order.
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                                    SCHEDULE V

                         Scheduled Preexisting Indebtedness




                                   [See attached list.]




NTD: Attached list from Borrower’s bankruptcy schedules and statements, and add UCC-
1 filed by Crown Equipment Corp. against Borrower.
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                                    SCHEDULE VI

                             Scheduled Preexisting Liens

                                   [See attached list.]




NTD: Attached list from Borrower’s bankruptcy schedules and statements, and add UCC-
1 filed by Crown Equipment Corp. against Borrower.
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